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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :        Chapter 11 Case No.
                                                               :
MOTORS LIQUIDATION COMPANY, et al., :                                   09-50026 (REG)
                f/k/a General Motors Corp., et al.             :
                                                               :
                                    Debtors.                   :         (Jointly Administered)
                                                               :
---------------------------------------------------------------x

     ORDER PURSUANT TO FED. R. BANKR. P. 9019 AND FED. R. CIV. P. RULE 23
     APPROVING AGREEMENT RESOLVING PROOF OF CLAIM NO. 51095 AND
         IMPLEMENTING MODIFIED DEX-COOL CLASS SETTLEMENT

                  Upon the Motion, dated March 24, 2011 (the “Motion”),1 of Motors Liquidation

Company (f/k/a General Motors Corporation) and its affiliated debtors, as debtors in possession

(collectively, the “Debtors”), pursuant to Rule 9019 of the Federal Rules of Bankruptcy

Procedure and Federal Rule of Civil Procedure 23, for entry of an order approving the

Agreement Resolving Proof of Claim No. 51095 and Implementing Modified Dex-Cool Class

Settlement (the “Agreement”), attached to the Motion as Exhibit “A,” implementing a

settlement between the Debtors and class action plaintiffs (the “Dex-Cool Plaintiffs”), on behalf

of themselves and all others similarly situated (collectively, the “Dex-Cool Class”) as more fully

set forth in the Motion; and due and proper notice of the Motion having been provided, and it

appearing that no other or further notice need be provided to any party; and the Court having

found and determined that (i) the relief sought in the Motion is in the best interests of the

Debtors, their estates, creditors, and all parties in interest; (ii) the Agreement is fair, reasonable,

adequate, and in the best interest of the Dex-Cool Class considering the complexity, expense,



1
          Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such
terms in the Motion.

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and likely duration of the Dex-Cool Class Action litigation; the reaction of the Dex-Cool Class to

the proposed settlement; the stage of the proceedings and the amount of discovery completed; the

risk of establishing liability and damages and maintaining the class through trial; the ability of

the Debtors to withstand a greater judgment; and the range of reasonableness of the settlement in

light of the best possible recovery and all the attendant risks of litigation; (iii) the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; (iv) the

settlement and compromise embodied in the Agreement is within the range of reasonableness;

(v) the Agreement was not the product of collusion between the parties and their respective

counsel, but was the result of bona fide, good faith, arms-length negotiations between

experienced counsel after sufficient discovery was obtained; (vi) and the Notice of Settlement

previously provided to the Dex-Cool Class was adequate and satisfied the Federal Rules of Civil

Procedure and no additional notice of the Agreement is required; and after due deliberation and

sufficient cause appearing therefore, it is

                  ORDERED that the Motion is granted as provided herein; and it is further

                  ORDERED that the Debtors’ entry into the Agreement is in the best interests of

the Debtors and their estates; and it is further

                  ORDERED that the Debtors’ entry into the Agreement is authorized, ratified, and

directed; and it is further

                  ORDERED that the Court will apply Rule 7023 of the Federal Rules of

Bankruptcy Procedure solely for the purposes of settlement in granting the Motion; and it is

further

                  ORDERED that the Court adopts the California and Missouri Courts’ certification

of the Dex-Cool Class solely for the purposes of settlement; and it is further


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                  ORDERED that the Resubmitting Participating Class Members shall be awarded

an allowed general unsecured claim in the amount of $2,205,570.00 (the “Total Allowed

Unsecured Claim”) and it is hereby determined that such amount is fair and reasonable; and it is

further

                  ORDERED that the Claim and the Dex-Cool Proof of Claim shall be superseded

and replaced by the Total Allowed Unsecured Claim; and it is further

                  ORDERED that Co-Lead Class Counsel is specifically authorized and directed to

administer the proceeds resulting from the Total Allowed Unsecured Claim and otherwise make

pro rata distributions of the cash proceeds to the Resubmitting Participating Class Members in

accordance with the Agreement and as follows:

                  (i)      Co-Lead Class Counsel is authorized to (i) sell, transfer, assign, and/or

otherwise monetize the Total Allowed Unsecured Claim, either individually or through a broker,

and/or (ii) monetize any shares, warrants, options, or other property received from Debtors as

part of any chapter 11 plan in any commercially reasonable manner;

                  (ii)     Cash distributions to Resubmitting Participating Class Members will be

made on a pro rata basis from cash proceeds resulting from the Total Allowed Unsecured Claim

and will be allocated in accordance with the Agreement and the Plan of Allocation contained

therein; and it is further

                  ORDERED that no further notice of (i) the Agreement, (ii) Co-Lead Class

Counsels’ and the Debtors’ entry into the Agreement, or (iii) the representative plaintiffs’ entry

into the Agreement on behalf of the Dex-Cool Class is required; and it is further

                  ORDERED that upon entry of this Order, all terms and conditions of the

Agreement shall become effective; and it is further


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                  ORDERED that to the extent any conflict exists between the terms and conditions

of the Agreement and this Order, this Order shall control; and it is further

                  ORDERED that no member of the Dex-Cool Class shall have any claim against

the Debtors or Debtors’ Counsel based on implementation of the Agreement or distributions

made from cash proceeds resulting from the Total Allowed Unsecured Claim; and it is further

                  ORDERED that Co-Lead Class Counsel shall be solely responsible for costs

associated with administration and implementation of the Agreement and distribution of the cash

proceeds resulting from the Total Allowed Unsecured Claim; and it is further

                  ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, and/or enforcement of this

Order.

Dated: New York, New York
       May 3, 2011


                                                                     /s/ Robert E. Gerber
                                                                     United States Bankruptcy Judge




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                                             Pg 6 AND TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
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                                      OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)



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Attorneys for Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :       Chapter 11 Case No.
                                                               :
MOTORS LIQUIDATION COMPANY, et al., :                                  09-50026 (REG)
                f/k/a General Motors Corp., et al.             :
                                                               :
                                    Debtors.                   :       (Jointly Administered)
                                                               :
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                         NOTICE OF HEARING ON MOTION
                OF DEBTORS FOR ENTRY OF ORDER PURSUANT TO
       FED. R. BANKR. P. 9019 AND FED. R. CIV. P. 23 APPROVING AGREEMENT
          RESOLVING PROOF OF CLAIM NO. 51095 AND IMPLEMENTING
                   MODIFIED DEX-COOL CLASS SETTLEMENT

                    PLEASE TAKE NOTICE that upon the annexed Motion, dated March 24, 2011

(the “Motion”), of Motors Liquidation Company (f/k/a General Motors Corporation) and its

affiliated debtors, as debtors in possession (the “Debtors”), for an order, pursuant to Rule 9019

of the Federal Rules of Bankruptcy Procedure and Rule 23 of the Federal Rules of Civil

Procedure approving the Agreement Resolving Proof of Claim No. 51095 (the “Agreement”),

attached to the Motion as Exhibit “A” implementing a settlement between class action plaintiffs

(the “Dex-Cool Plaintiffs”), on behalf of themselves and all others similarly situated

(collectively, the “Dex-Cool Class”), and the Debtors, as defined and as more fully set forth in



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the Motion, a hearing will be held before the Honorable Robert E. Gerber, United States

Bankruptcy Judge, in Room 621 of the United States Bankruptcy Court for the Southern District

of New York, One Bowling Green, New York, New York 10004, on April 26, 2011 at 9:45 a.m.

(Eastern Time), or as soon thereafter as counsel may be heard.

                    PLEASE TAKE FURTHER NOTICE that any responses or objections to the

Motion must be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and the

Local Rules of the Bankruptcy Court, and shall be filed with the Bankruptcy Court (a)

electronically in accordance with General Order M-399 (which can be found at

www.nysb.uscourts.gov) by registered users of the Bankruptcy Court’s filing system, and (b) by

all other parties in interest, on a CD-ROM or 3.5 inch disk, in text-searchable portable document

format (PDF) (with a hard copy delivered directly to Chambers), in accordance with the

customary practices of the Bankruptcy Court and General Order M-399, to the extent applicable,

and served in accordance with General Order M-399 and on (i) Weil, Gotshal & Manges LLP,

attorneys for the Debtors, 767 Fifth Avenue, New York, New York 10153 (Attn: Harvey R.

Miller, Esq., Stephen Karotkin, Esq., and Joseph H. Smolinsky, Esq.); (ii) the Debtors, c/o

Motors Liquidation Company, 401 South Old Woodward Avenue, Suite 370, Birmingham,

Michigan 48009 (Attn: Thomas Morrow); (iii) General Motors LLC, 400 Renaissance Center,

Detroit, Michigan 48265 (Attn: Lawrence S. Buonomo, Esq.); (iv) Cadwalader, Wickersham &

Taft LLP, attorneys for the United States Department of the Treasury, One World Financial

Center, New York, New York 10281 (Attn: John J. Rapisardi, Esq.); (v) the United States

Department of the Treasury, 1500 Pennsylvania Avenue NW, Room 2312, Washington, D.C.

20220 (Attn: Joseph Samarias, Esq.); (vi) Vedder Price, P.C., attorneys for Export Development

Canada, 1633 Broadway, 47th Floor, New York, New York 10019 (Attn: Michael J. Edelman,




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Esq. and Michael L. Schein, Esq.); (vii) Kramer Levin Naftalis & Frankel LLP, attorneys for the

statutory committee of unsecured creditors, 1177 Avenue of the Americas, New York, New York

10036 (Attn: Thomas Moers Mayer, Esq., Robert Schmidt, Esq., Lauren Macksoud, Esq., and

Jennifer Sharret, Esq.); (viii) the Office of the United States Trustee for the Southern District of

New York, 33 Whitehall Street, 21st Floor, New York, New York 10004 (Attn: Tracy Hope

Davis, Esq.); (ix) the U.S. Attorney’s Office, S.D.N.Y., 86 Chambers Street, Third Floor, New

York, New York 10007 (Attn: David S. Jones, Esq. and Natalie Kuehler, Esq.); (x) Caplin &

Drysdale, Chartered, attorneys for the official committee of unsecured creditors holding

asbestos-related claims, 375 Park Avenue, 35th Floor, New York, New York 10152-3500 (Attn:

Elihu Inselbuch, Esq. and Rita C. Tobin, Esq.) and One Thomas Circle, N.W., Suite 1100,

Washington, DC 20005 (Attn: Trevor W. Swett III, Esq. and Kevin C. Maclay, Esq.); (xi)

Stutzman, Bromberg, Esserman & Plifka, A Professional Corporation, attorneys for Dean M.

Trafelet in his capacity as the legal representative for future asbestos personal injury claimants,

2323 Bryan Street, Suite 2200, Dallas, Texas 75201 (Attn: Sander L. Esserman, Esq. and Robert

T. Brousseau, Esq.); and (xii) Girard Gibbs LLP, Co-Lead Class Counsel for the Dex-Cool

Plaintiffs and the Dex-Cool Class, 601 California Street, Suite 1400, San Francisco, California

94108 (Attn: Eric H. Gibbs, Esq. and A. J. De Bartolomeo, Esq.), so as to be received no later

than April 19, 2011 at 4:00 p.m. (Eastern Time) (the “Response Deadline”).

                    PLEASE TAKE FURTHER NOTICE that if no objections are timely filed and

served with respect to the Motion, the Debtors may, on or after the Objection Deadline, submit to

the Bankruptcy Court an order substantially in the form of the proposed order annexed to the

Motion as Exhibit “B,” which order may be entered with no further notice or opportunity to be

heard offered to any party.




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Dated: New York, New York
       March 24, 2011

                                               /s/ Joseph H. Smolinsky
                                               Harvey R. Miller
                                               Stephen Karotkin
                                               Joseph H. Smolinsky
                                               WEIL, GOTSHAL & MANGES LLP
                                               767 Fifth Avenue
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                                               Facsimile: (212) 310-8007

                                               Attorneys for Debtors
                                               and Debtors in Possession




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                                            Pg 10AND  TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
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                                      OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)




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Attorneys for Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :       Chapter 11 Case No.
                                                               :
MOTORS LIQUIDATION COMPANY, et al., :                                  09-50026 (REG)
                f/k/a General Motors Corp., et al.             :
                                                               :
                                    Debtors.                   :       (Jointly Administered)
                                                               :
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                 MOTION OF DEBTORS FOR ENTRY OF ORDER
           PURSUANT TO FED. R. BANKR. P. 9019 AND FED. R. CIV. P. 23
            APPROVING AGREEMENT RESOLVING PROOF OF CLAIM
   NO. 51095 AND IMPLEMENTING MODIFIED DEX-COOL CLASS SETTLEMENT

TO THE HONORABLE ROBERT E. GERBER,
UNITED STATES BANKRUPTCY JUDGE:




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                    Motors Liquidation Company (f/k/a General Motors Corporation) (“MLC”) and

its affiliated debtors, as debtors in possession (collectively, the “Debtors”), respectfully

represent:

                                            I. Relief Requested1

                    1.         Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”), the

Debtors respectfully request entry of that certain proposed Order Pursuant to Fed. R. Bankr. P.

9019 and Fed. R. Civ. P. Rule 23 Approving Agreement Resolving Proof of Claim No. 51095

and Implementing Modified Dex-Cool Class Settlement (the “Order”), approving and ratifying

that certain modified settlement agreement (the “Agreement”) between class action plaintiffs

(the “Dex-Cool Plaintiffs”), on behalf of themselves and all others similarly situated

(collectively, the “Dex-Cool Class”), and the Debtors (collectively, the Dex-Cool Plaintiffs, the

Dex-Cool Class, and the Debtors, the “Parties”). The Agreement is attached hereto as Exhibit

“A” and the Order is attached hereto as Exhibit “B.”

                    2.         Among other things, the Agreement sets forth the proposed settlement and

resolution of Claim No. 51095 (the “Dex-Cool Proof of Claim”), which is based on previous

settlements (collectively, the “Dex-Cool Class Action Settlement”) reached in class action

lawsuits brought by the Dex-Cool Plaintiffs, on behalf of themselves and the Dex-Cool Class,

against General Motors Corporation (“GM”) in, among other courts, the Superior Court of the

State of California, County of Alameda (the “California Court”) and the Circuit Court of

Jackson County, Missouri at Independence (the “Missouri Court”), alleging, among other



1
       All capitalized terms not otherwise defined in this Motion shall have the meanings ascribed to them in the
Agreement (defined below).


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things, that “Dex-Cool” extended life engine coolants corroded and sludged various engine and

cooling system components leading to expensive repairs for class members (the “Dex-Cool

Class Actions”).2 Entry of the Order will result in: (i) the resolution of approximately

$3,000,000.00 in claims against the Debtors’ estates; and (ii) the alleviation of the financial

burden, time, and uncertainty associated with litigation of the Dex-Cool Proof of Claim and the

Dex-Cool Class Actions.

                                         II. Preliminary Statement

                    3.         By this Motion of Debtors for Entry of Order Pursuant to Fed. R. Bankr.

P. 9019 and Fed. R. Civ. P. 23 Approving Agreement Resolving Proof of Claim No. 51095 and

Implementing Modified Dex-Cool Class Settlement (the “Motion”), the Debtors seek to

complete implementation of the Dex-Cool Class Action Settlement previously reached and

approved by the California and Missouri Courts, with the requested modifications described

herein. The Dex-Cool Class already has been certified by the California and Missouri Courts;

extensive notice of the Dex-Cool Class Action Settlement was previously given to the Dex-Cool

Class; members of the Dex-Cool Class already have submitted claims for settlement benefits;

GM previously funded $6,127,758.00 to pay Dex-Cool Class members who submitted valid

claims for reimbursement prior to the original claims date (and prior to the filing date); certain

members of the Dex-Cool Class who previously submitted deficient claims already have been

notified of the deficiency and given the opportunity to resubmit their claims for reimbursement;

nearly one-half of the Dex-Cool Class members who were notified of a deficient claim

resubmitted their claims; and the Dex-Cool Class Action Settlement was approved by the

2
         The Dex-Cool Class Actions include those actions covered by two class action settlement agreements; one
that was approved by the California Court (as to forty-nine states and concerning a nationwide class inclusive of all
states but Missouri) and one that was approved by the Missouri Court (as to the State of Missouri and inclusive of a
Missouri state-wide class).


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California and Missouri Courts under code provisions that are patterned after Rule 23 of the

Federal Rules of Civil Procedure.

                    4.         On June 1, 2009, before the terms of the settlements could be fully

implemented and those members of the Dex-Cool Class who resubmitted claims for

reimbursement (e.g., to correct initial deficiencies) and now hold valid claims could be paid (the

“Resubmitting Participating Class Members”), certain of the Debtors commenced voluntary

cases under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), which

stayed the further implementation of the Dex-Cool Class Action Settlement.

                    5.         As a result of the commencement of these chapter 11 cases, the Debtors

are unable to provide the exact consideration contemplated under the Dex-Cool Class Action

Settlement to the Resubmitting Participating Class Members, but the Parties have reached an

agreement to provide alternative consideration that is fair and reasonable to the Resubmitting

Participating Class Members under the circumstances of these chapter 11 cases. The Agreement

itself is thus fair, reasonable, and adequate and meets the standards of Rule 23. Moreover, the

Agreement will result in a reduction of general unsecured claims against the Debtors’ estates.

The Agreement and proposed order are the result of a collaborative effort between the Parties

and the statutory committee of unsecured creditors (the “Creditors’ Committee”) in these

chapter 11 cases and is submitted to the Court for approval with the Creditors’ Committee’s

support and consent. Entry of the Order, thus, is in the best interest of the Dex-Cool Class, the

Debtors, and the Debtors’ creditors. Accordingly, the Debtors respectfully request that this

Motion be granted.




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                                              III. Jurisdiction

                    6.         This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                                              IV. Background

A.        The Dex-Cool Class Actions.

                    7.         On April 11, 2003, the same counsel filed cases in California and Missouri

state courts related to Dex-Cool coolants. The California case was dismissed without prejudice

in deference to the action formerly pending before the California Court, Sadowski v. General

Motors Corp., No. HGO-3093843. The Missouri case, formerly pending in the Missouri Court,

is captioned Gutzler v. General Motors Corp., No. 03CV208786. Similar cases were then filed

by more than a dozen different law firms in state and federal courts throughout the country,

including in Illinois, Texas, New York, New Jersey, and Pennsylvania. The complaints filed in

all of these cases allege that Dex-Cool, which GM started using as a factory-fill coolant starting

with their 1995 model-year vehicles, caused problems with the engines or cooling systems. The

complaints also assert claims for breach of warranty, violations of unfair business practices

statutes, and related causes of action.

                    8.         GM removed most of the state actions to federal court and filed a petition

with the Judicial Panel on Multidistrict Litigation (the “MDL Panel”) to transfer and consolidate

them into a federal multidistrict litigation. After months of briefing motions to remand, the

parties reached an agreement on consolidation. The cases originally filed in state court in

California (including the Sadowski action), Missouri (the Gutzler action), and Texas (Longoria v.

General Motors Corp., No. 03-03140-D) were remanded back to state court. By order of the

MDL Panel, all other cases either originally filed in or removed to federal court were



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consolidated for pretrial purposes in the United States District Court for the Southern District of

Illinois, under the caption In re DEX-COOL Products Liability Litigation. As part of this

consolidation and coordination process, most of the law firms representing plaintiffs in the Dex-

Cool litigation agreed to jointly prosecute these cases and agreed to a structure for delegating and

allocating the work among the firms. The firms also agreed that Girard Gibbs LLP and Shughart

Thomson & Kilroy, P.C. would serve as “Co-Lead Counsel” for the group, and the two firms

were subsequently appointed Co-Lead Counsel in the various courts where the Dex-Cool Class

Actions were being prosecuted (collectively, “Co-Lead Class Counsel”).

                    9.         During late 2003 and continuing into late 2007, the parties engaged in

extensive discovery in the various actions. GM deposed more than forty of the named plaintiffs.

The plaintiffs took twenty-six depositions of current and former GM employees. The plaintiffs

and GM also deposed seven third-party witnesses. In addition, they exchanged over 700

interrogatories, over 300 requests for production of documents, and almost 100 requests for

admissions. Furthermore, GM produced, and the plaintiffs’ counsel reviewed, roughly a million

pages of documents and over three gigabytes of electronic data.

                    10.        The parties also engaged in extensive expert discovery. Both the fact and

expert discovery undertaken by the parties led to several discovery disputes, some of which were

resolved through motions to compel discovery and/or through the appointment of a special

master.

                    11.        After a class was certified in the Missouri case and notice was given to the

class, the case was set for an estimated three-week jury trial to begin on November 5, 2007.

                    12.        During the final pretrial phase, the parties negotiated over a potential class

action settlement of all the Dex-Cool Class Actions, and, on October 25, 2007, the same day the



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jury questionnaire was given to potential jurors, the parties reached an agreement in principle to

settle all of the Dex-Cool Class Actions. The agreement in principle was memorialized into the

Dex-Cool Class Action Settlement, dated March 26, 2008, and provided, among other things,

that (i) the Gutzler action and the claims of a Missouri-only class would be resolved through one

agreement, subject to the Missouri Court’s approval, and (ii) the Sadowski action, all the other

Dex-Cool putative class actions, and the claims of a nationwide class (excluding persons who

purchased or leased their vehicle in Missouri) would be resolved through another agreement,

both agreements of which were dependant upon each other and subject to the approval of both

the California Court and the Missouri Court.

B.        Dex-Cool Class Action Settlement Terms and Approval.

                    13.        Pursuant to the Dex-Cool Class Action Settlement reached by the parties,

the Dex-Cool Class collectively consists of all consumers in the United States who:

                               (a)    own or lease, or who have owned or leased, a Covered Vehicle
                                      “that has been in service in excess of seven years, measured from
                                      the Date of Initial Vehicle Delivery, at the time of the first date on
                                      which notice of the Settlement is disseminated and who, at the time
                                      of the notice, had not incurred a repair expense of the type
                                      included in the definition of Covered Repair,” or

                               (b)    own or lease, or who have owned or leased, a Covered Vehicle and
                                      “who incurred an expense for a Covered Repair before the first
                                      date on which notice of the Settlement is disseminated to the Class
                                      in accordance with the Notice Order.” Excluded from the Class
                                      are GM, any affiliate, parent, or subsidiary of GM, any entity in
                                      which GM has a controlling interest, any officer, director, or
                                      employee of GM, any successor or assign of GM, and any Judge to
                                      whom any of the Actions is assigned as well as his or her
                                      immediate family.

                    14.        The following tables list the vehicle models covered by the Dex-Cool

Class Action Settlement, when equipped with the specified engine size, and the “Covered

Repairs” defined for the various models. Consumers who own one of the following models with


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a different engine than what is specified below were not covered by the Dex-Cool Class Action

Settlement.




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                                     GROUP A VEHICLES
                                     Model years 1995-2003
       Equipped with 3.1-liter or 3.4-liter V6 engine manufactured before April 10, 2003

Buick                               Century, Rendezvous

Chevrolet                           Impala, Lumina, Malibu, Monte Carlo, Venture

Oldsmobile                          Alero, Cutlass, Silhouette

Pontiac                             Aztek, Grand Am, Grand Prix, Montana, Trans Sport

          Group A Covered Repairs: Replacement of failed lower intake manifold gasket

                                     GROUP B VEHICLES
                                     Model years 1995-2004
          Equipped with 3.8-liter V6 engine (internal GM engine designation RPO L36)

Buick                               LeSabre, Park Avenue, Regal, Riviera

Chevrolet                           Camaro, Impala, Lumina, Monte Carlo

Oldsmobile                          Eighty-Eight, Intrigue, LSS, Ninety-Eight

Pontiac                             Bonneville, Firebird, Grand Prix

            Group B Covered Repairs: Repairs necessitated by engine coolant sealing issues,
          including replacement of throttle body gasket, upper intake manifold gasket,
                        lower intake manifold gasket, or intake manifold

                                          GROUP C VEHICLES
                                          Model years 1995-2000
                                      Equipped with 4.3-liter V6 engine

Chevrolet                           Blazer, Chevrolet S-10

GMC                                 Envoy, Jimmy, S-15

Oldsmobile                          Bravada

         Group C Covered Repairs: Repairs necessitated by cooling-system sludge, including
         cooling-system flush, heater core repairs, water pump repairs, or radiator cap
                                          replacement.



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     “Sludge” refers to a rust-like material that can form in the cooling system and whose
                       formation is allegedly related to use of Dex-Cool

                    15.        Under the Dex-Cool Class Action Settlement, GM agreed to send various

levels of cash reimbursements to Dex-Cool Class members who paid for the foregoing Covered

Repairs performed within seven years or 150,000 miles after the original owner or lessee took

delivery of the vehicle and who submitted timely and valid claims. Claims were required to be

supported by documentation showing the amount the Dex-Cool Class member spent on a

Covered Repair and documentation that the Dex-Cool Class member owned or leased the vehicle

at the time of the repair. The amount of reimbursement a claimant was to receive depended on

(i) when the Covered Repair was performed and (ii) the amount the claimant actually paid, as

described below:

                               (a)    For a Covered Repair made within five years after initial vehicle
                                      delivery, the claimant was to be reimbursed the documented
                                      amount he or she paid out of pocket and for which he or she was
                                      not previously reimbursed, up to $400.

                               (b)    For a Covered Repair made in the sixth year after initial vehicle
                                      delivery, the claimant was to be reimbursed the documented
                                      amount he or she paid out of pocket and for which he or she was
                                      not previously reimbursed, up to $100.

                               (c)    For a Covered Repair made in the seventh year after initial vehicle
                                      delivery, the claimant was to be reimbursed the documented
                                      amount he or she paid out of pocket and for which he or she was
                                      not previously reimbursed, up to $50.

                               (d)    Furthermore, if the claimant was entitled to reimbursement under
                                      subpart (a) above (i.e., the Covered Repair was performed within
                                      five years after initial vehicle delivery), and could document that
                                      the Covered Repair required payment of over $1,500 to address an
                                      internal coolant leak, the claimant could elect to request
                                      reimbursement of 40 percent of the amount the claimant paid out
                                      of pocket and for which he or she was not previously reimbursed,
                                      up to $800. An “internal coolant leak” was defined to mean
                                      “coolant leaked from one vehicle component into another



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                                      component,” as opposed to leaking from inside a vehicle
                                      component to the exterior.3

                    16.        The Dex-Cool Class Action Settlement was submitted to the Missouri and

California Courts for approval and were subsequently approved. In the Preliminary Approval

Orders, attached hereto as Exhibits “C” and “D,” the Missouri and California Courts

preliminarily approved of the Dex-Cool Class Action Settlement, and conditionally certified the

settlement classes. In so doing, they specifically found that:

                          •    The Dex-Cool Class was so numerous that joinder of all absent class
                               members would be impracticable;

                          •    Questions of law and fact common to members of the Dex-Cool Class
                               predominated over questions affecting individual members;

                          •    The claims of the named plaintiffs were typical of claims of the Dex-Cool
                               Class as a whole;

                          •    The named plaintiffs and their counsel would fairly and adequately
                               represent the Dex-Cool Class; and

                          •    A class action was a superior method for bringing the claims.

(Id. (Exs. C, D).)

                    17.        In those Preliminary Approval Orders, the Missouri and California Courts

set fairness hearings for final approval of the Dex-Cool Class Action Settlement; set forth

deadlines for objecting to the Dex-Cool Class Action Settlement and appearing at the Fairness

Hearings; approved the forms of class notice (collectively, the “Notice of Settlement”), copies

of which are attached hereto as Exhibits “E” and “F”; and approved of the proposed manner of

providing notice, which manner included (i) direct mail notice to certain readily identifiable Dex-

Cool Class members; (ii) publication notice through a number of nationally-circulated magazines


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         All statements made herein regarding the Dex-Cool Class Action Settlement are summary only, and are not
intended to change the meaning of or be used in interpreting any portion of the Dex-Cool Class Action Settlement.


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and weekend newspaper supplements, as well as through Internet advertising; and (iii) electronic

notice through a dedicated website. The publication notice was published in four national

newspaper supplements, with an estimated circulation of 65,900,000; twelve national consumer

magazines, with a total estimated circulation of 43,865,000; and in Internet advertising appearing

across a wide-range of websites, with an estimated 199,500,000 views.

                    18.        On October 23, 2008, and September 5, 2008, respectively, after

conducting fairness hearings, the California and Missouri Courts entered judgments (collectively,

the “Final Judgment”), copies of which are attached hereto as Exhibits “G” and “H,” in which

they finally certified the Dex-Cool Class and finally approved the Dex-Cool Class Action

Settlement.4 The California and Missouri Courts determined that the Dex-Cool Class satisfied

Section 382 of the California Code of Civil Procedure (“Section 382”) and Rule 52.08 of the

Missouri Rules of Civil Procedure (“Rule 52.08”), because: (i) the Dex-Cool Class was so

numerous that joinder of all members is impracticable; (ii) questions of law or fact common to



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          The Missouri Court certified the following class: “All Consumers who purchased or leased a Covered
Vehicle in the State of Missouri (i) that has been in service in excess of seven years, measured from the Date of
Initial Vehicle Delivery, at the time of the first date on which notice of the Settlement is disseminated and who, at
the time of the notice, had not incurred an expense of the type included in the definition of Covered Repair, or (ii)
who incurred an expense for a Covered Repair before the first date on which notice of the Settlement is disseminated
to the Class in accordance with the Notice Order.” Excluded from the Missouri Class were “GM; any affiliate,
parent, or subsidiary of GM; any entity in which GM has a controlling interest; any officer, director, or employee of
GM; any successor or assign of GM; and the Judge to whom the Action is assigned as well as his or her immediate
family. “
          The California Court certified the following class: “All Consumers in the United State of America,
excepting those who purchased or leased their vehicles in the State of Missouri, who (i) own or lease, or who have
owned or leased, a Covered Vehicle that has been in service in excess of seven years, measured from the Date of
Initial Vehicle Delivery, at the time of the first date on which notice of the Settlement is disseminated and who, at
the time of the notice, had not incurred a repair expense of the type included in the definition of Covered Repair, or
(ii) own or lease, or who have owned or leased, a Covered Vehicle and who incurred an expense for a Covered
Repair before the first date on which notice of the Settlement is disseminated to the Class in accordance with the
Notice Order.” Excluded from the California Class were “GM, any affiliate, parent, or subsidiary of GM, any entity
in which GM has a controlling interest, any officer, director, or employee of GM, any successor or assign of GM,
anyone employed by counsel for Representative Plaintiffs, any Judge to whom any of the Actions is assigned as well
as his or her immediate family; any and all persons who timely and validly request exclusion from the Class
pursuant to the notice disseminated in accordance with the Notice Order.”


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the Dex-Cool Class predominated over questions affecting individual members; (iii) the claims

of named plaintiffs were typical of claims of the Dex-Cool Class as a whole; (iv) the

representative plaintiffs would fairly and adequately assert and protect the interests of the Dex-

Cool Class; and (v) the Dex-Cool Class Action provided a superior method for adjudication of

the controversy. Moreover, the California and Missouri Courts found that the Dex-Cool Class

Action settlement was, in all respects, fair, reasonable, and adequate, and in the best interests of

the Dex-Cool Class. (See id. (Exs. G, H).)

                    19.        The Final Judgment also awarded attorneys’ fees in a collective amount

totaling $21,250,000.00 (collectively, the “Attorneys’ Fees”); documented costs and expenses in

a collective amount totaling $2,800,000.00 (collectively, “Documented Costs and Expenses”);

and incentive awards to the Dex-Cool Plaintiffs in varying amounts, none of which exceed

$20,000.00 (collectively, the “Incentive Awards”).

                    20.        Before the bankruptcy filing and in accordance with the Dex-Cool Class

Action Settlement, the Final Judgment and orders approving the award of Attorneys’ Fees,

Incentive Award, and Documented Costs and Expenses, the following occurred:

                          •    Garden City Group, serving as claims administrator (the “Claims
                               Administrator”), collected 68,154 claims statements that were timely
                               submitted;

                          •    The Claims Administrator approved approximately 40,000 claims as valid
                               and entitled to payment under the Dex-Cool Class Action Settlement;

                          •    GM funded approximately $6,127,758.00 necessary to pay those approved
                               claims;

                          •    GM funded the Attorneys’ Fees, Incentive Award, and Documented Costs
                               and Expenses;

                          •    Notice of deficiency letters were sent out by the Claims Administrator, to
                               the remaining claimants (approximately 28,000), informing them of how
                               to cure deficient claims statements for resubmission; and


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                          •    The Resubmitting Participating Class Members submitted approximately
                               11,299 claim statements in an attempt to cure previously-deficient
                               statements.

                          •    The Claims Administrator reviewed approximately 6,685 of the Claim
                               Forms submitted by the Resubmitted Participating Dex-Cool Class
                               Members and approved claims totaling $1,325,568.60.

                    21.        The commencement of these chapter 11 cases on June 1, 2009, stayed all

further implementation of the Dex-Cool Class Action Settlement, including the Claims

Administrator’s review of the remaining 4,614 Claim Forms submitted by the Resubmitting

Participating Class Members;.

                    22.        On September 16, 2009, the United States Bankruptcy Court for the

Southern District of New York (the “Court”) entered the Order Pursuant to Section 502(b)(9) of

the Bankruptcy Code and Rule 3003(c)(3) of the Bankruptcy Procedure Establishing the

Deadline for Filing Proofs of Claim (Including Claims Under Bankruptcy Code Section

503(b)(9)) and Procedures Relating Thereto and Approving the Form and Manner of Notice

Thereof (ECF No. 4079) establishing November 30, 2009 at 5:00 p.m. (Eastern) as the deadline

to file proofs of claim against MLC and certain of the other Debtors based on prepetition claims.

                    23.        On November 25, 2009, the Dex-Cool Proof of Claim, based on the Dex-

Cool Class Action Settlement, was filed with this Court on behalf of the Dex-Cool Class and

assigned claim number 51095. The Dex-Cool Proof of Claim asserts a claim in the amount of

$3,000,000.00, for class consideration allegedly due to the Resubmitting Participating Class

Members pursuant to the Dex-Cool Class Action Settlement (the “Claim”).

                    24.        On December 1, 2009, this Court approved and entered the Stipulation and

Order Between the Debtors and the Holders of Unliquidated Dex-Cool and Anderson Claims to

Allow Class Proofs of Claim for Dex-Cool and Anderson Claimants (the “Class Claims



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Stipulation”), attached hereto as Exhibit “I,” and through which the Debtors and the holders of

Unliquidated Dex-Cool Claims, defined in the Class Claims Stipulation as the claims made in

connection with the Dex-Cool Class Action that had not yet been liquidated pursuant to the terms

of the Dex-Cool Class Action Settlement, agreed that Co-Lead Class Counsel could file a class-

wide proof of claim on behalf of all holders of Unliquidated Dex-Cool Claims.

C.        The Agreement.

                    25.        Since the filing of the Dex-Cool Proof of Claim, the Parties have engaged

in good-faith, arms-length negotiations, and, without any admission of liability by any Party,

have reached the Agreement to resolve the Dex-Cool Proof of Claim and implement the Dex-

Cool Class Action Settlement, as modified, with this Court’s approval.

                    26.        Because of the commencement of these chapter 11 cases, the Debtors are

unable to provide the Resubmitting Participating Class Members with the exact consideration

contemplated by the Dex-Cool Class Action Settlement. Accordingly, the Parties respectfully

request that the Court approve the Agreement to provide, among other things, the Resubmitting

Participating Class Members with the Total Allowed General Unsecured Claim (defined below)

that is equivalent to the approximate value of the benefits that would have been provided to the

Resubmitting Participating Class Members under the Dex-Cool Class Action Settlement.

                    27.        The key provisions of the Agreement are summarized as follows:

                               (a)    Subject to execution of the Agreement by the Parties and upon
                                      entry of the Order, the Dex-Cool Proof of Claim shall be resolved
                                      and the Resubmitting Participating Class Members shall receive, in
                                      the aggregate, a single allowed general unsecured claim against
                                      MLC in the amount of $2,205,570.00 (the “Total Allowed
                                      Unsecured Claim”).

                               (b)    Co-Lead Class Counsel shall be authorized to dispose of the Total
                                      Allowed Unsecured Claim such that Co-Lead Class Counsel can
                                      make the proper pro rata distribution of consideration to the


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                                     Resubmitting Participating Class Members in accordance with the
                                     Agreement. Co-Lead Class Counsel shall be solely responsible for
                                     (i) distributing the cash proceeds resulting from the disposition of
                                     the Total Allowed Unsecured Claim; (ii) otherwise implementing
                                     the Agreement; and (iii) paying all expenses associated with such
                                     distribution and/or implementation.

                               (c)   Cash proceeds resulting from the sale or assignment of the Total
                                     Allowed Unsecured Claim to any third party or from the sale of
                                     any stock or shares, in the open market or otherwise, distributed in
                                     accordance with the Plan shall be distributed, on a pro rata basis,
                                     in accordance with the following guidelines, which are further set
                                     forth in the Plan of Allocation contained in Paragraph 5 of the
                                     Agreement:5

                                     i. Resubmitting Participating Class Members with a Covered
                                        Repair within five years after initial vehicle delivery.
                                        Resubmitting Participating Class Members may obtain
                                        reimbursement, on a pro rata basis, of the greater of (i) the
                                        amount equal to the actual out-of-pocket expense incurred by
                                        the Resubmitting Participating Dex-Cool Class Member for the
                                        Covered Repair itself, up to $400, or (ii) if the Resubmitting
                                        Participating Dex-Cool Class Member submitted Proof of
                                        Internal Leak Repair Expense showing a repair expense of
                                        more than $1,500 due to a diagnosed internal coolant leak, 40%
                                        of the amount equal to the actual out-of-pocket expense
                                        incurred by the Resubmitting Participating Dex-Cool Class
                                        Member for the Covered Repair itself, up to a maximum of
                                        $800.

                                     ii. Resubmitting Participating Class Members with a Covered
                                         Repair made in the sixth year after initial vehicle delivery.
                                         Resubmitting Participating Class Members may obtain
                                         reimbursement, on a pro rata basis, of the amount equal to the
                                         actual out-of-pocket expense incurred by the Resubmitting
                                         Participating Dex-Cool Class Member for the Covered Repair
                                         itself, up to $100.

                                     iii. Resubmitting Dex-Cool Class Members with a Covered
                                          Repair made in the seventh year after initial vehicle
                                          delivery.
                                          Resubmitting Participating Class Members may obtain
                                          reimbursement, on a pro rata basis, of the amount equal to the

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          All distributions under the Agreement will be made on a pro rata basis of the cash proceeds resulting from
the sale or assignment of the Total Allowed Unsecured Claim.


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                                          actual out-of-pocket expense incurred by the Resubmitting
                                          Participating Dex-Cool Class Member for the Covered Repair
                                          itself, up to $50.

                               (d)    Upon entry of the Order, Dex-Cool Plaintiffs, the Dex-Cool Class,
                                      and their affiliates, successors and assigns, and their agents,
                                      insurers, representatives, administrators, executors, trustees and
                                      attorneys agree that they shall have no further right to payment
                                      from the Debtors, their affiliates, their estates or their respective
                                      successors or assigns, including GM or its successors in interest
                                      (collectively, the “Debtor Parties”).

                          V. The Relief Requested Should Be Approved by the
                                Court Pursuant to Bankruptcy Rule 9019

                    28.        Bankruptcy Rule 9019 provides, in part, that “[o]n motion by the [debtor-

in-possession] and after notice and a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). This rule empowers bankruptcy courts to approve

settlements “if they are in the best interests of the estate.” Vaughn v. Drexel Burnham Lambert

Group, Inc. (In re Drexel Burnham Lambert Group, Inc.), 134 B.R. 499, 505 (Bankr. S.D.N.Y.

1991). A decision to accept or reject a compromise or settlement is within the sound discretion

of the Court. Id.; see also 9 Collier on Bankruptcy § 9019.02 (15th ed. rev. 2001). The

settlement need not result in the best possible outcome for the debtor but must not “fall below the

lowest point in the range of reasonableness.” Drexel Burnham Lambert Group, 134 B.R. at 505.

                    29.        Relying on the guiding language of Protective Committee for Independent

Stockholders of TMT Trailer Ferry, Inc. v. Dex-Cool, 390 U.S. 414, 424, reh’d denied, 391 U.S.

909 (1968), courts in this Circuit have set forth the following factors regarding the

reasonableness of such settlements:

                               (1)    the probability of success in the litigation;

                               (2)    the difficulties associated with collection;




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                               (3)    the complexity of the litigation, and the attendant expense,
                                      inconvenience, and delay; and

                               (4)    the paramount interests of the creditors.

In re Drexel Burnham Lambert Group, Inc., 960 F.2d 285, 292 (2d Cir. 1992), cert. dismissed,

506 U.S. 1088 (1993); In re Iridium Operating LLC, 478 F.3d 452, 462 (2d Cir. 2007); In re

Ionosphere Clubs, Inc., 156 B.R. 414, 428 (S.D.N.Y. 1993), aff’d, 17 F.3d 600 (2d Cir. 1994); In

re Purofied Down Prods. Corp., 150 B.R. 519, 522 (S.D.N.Y. 1993). The decision to approve a

particular settlement lies within the sound discretion of the Court. Mach. Terminals, Inc. v.

Woodward (In re Albert-Harris, Inc.), 313 F.2d 447, 449 (6th Cir. 1963). It is the responsibility

of the court to examine a settlement and determine whether it “falls below the lowest point in the

range of reasonableness.” In re Dow Corning Corp., 198 B.R. 214, 222 (Bankr. E.D. Mich.

1996). For the reasons set forth below, the Debtors respectfully submit that the Agreement

meets this standard.

                    30.        The Agreement falls well within the range of reasonableness, as it is fair

and equitable and in the paramount interest of the Debtors and their creditors. While the Parties

dispute factual and legal issues relevant to the disposition of some or all of each other’s claims,

and, therefore, dispute the probability of success, the settlement represents a fair compromise of

the Dex-Cool Proof of Claim. Settlement at this stage avoids the expense, inconvenience,

uncertainty, and delay that would be caused by relitigating any of the issues resolved by the Dex-

Cool Class Action Settlement and further negotiated in the Agreement to the benefit of the

Debtors’ estates.

                    31.        The Agreement alleviates the financial burden, time, and uncertainty

associated with continued litigation of the Dex-Cool Proof of Claim and the Dex-Cool Class

Action Settlement.


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                    32.        Moreover, approval of the Agreement comports with this Court’s October

6, 2009 Order Pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 3007 and 9019(b)

Authorizing the Debtors to (I) File Omnibus Claims Objections and (II) Establish Procedures for

Settling Certain Claims (the “De Minimis Order”), (ECF No. 4180). The De Minimis Order

states, in relevant part, the following:

                               If the Settlement Amount for a Claim is not a De Minimis
                               Settlement Amount but is less than or equal to $50 million,
                               the Debtors will submit the proposed settlement to the
                               Creditors’ Committee. Within five (5) business days of
                               receiving the proposed settlement, the Creditors’
                               Committee may object or request an extension of time
                               within which to object. If there is a timely objection made
                               by the Creditors’ Committee, the Debtors may either (a)
                               renegotiate the settlement and submit a revised notification
                               to the Creditors’ Committee or (b) file a motion with the
                               Court seeking approval of the existing settlement under
                               Bankruptcy Rule 9019 on no less than 10 days’ notice. If
                               there is no timely objection made by the Creditors’
                               Committee or if the Debtors receive written approval from
                               the Creditors’ Committee of the proposed settlement prior
                               to the objection deadline (which approval may be in the
                               form of an email from counsel to the Creditors’
                               Committee), then the Debtors may proceed with the
                               settlement.

                    33.        In accordance with this De Minimis Order, the Agreement, including the

amount of Total Allowed Unsecured Claim, was submitted to the Creditors’ Committee, which

informed the Debtors that it has no objection to either the Agreement as a whole or to the Total

Allowed Unsecured Claim provided for in the Agreement.

                    34.        The Debtors submit that the Agreement falls well within the range of

reasonableness, is in the best interests of the Debtors’ estates and their creditors, and should be

approved as a sound exercise of the Debtors’ business judgment. Accordingly, the Debtors

respectfully request the entry of the Order.



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             VI. The Settlement Should Be Approved by the Court Under Rule 23

                    35.        The Agreement should also be approved pursuant to Rule 23.

                    36.        Federal courts have long expressed a preference for the negotiated

resolution of litigation. See Williams v. First Nat'l Bank, 216 U.S. 582, 595 (1910)

(“Compromises of disputed claims are favored by the courts.”). A general policy favoring

settlement exists, especially with respect to class actions. See, e.g., In re AMC Realty Corp., 270

B.R. 132, 145-46 (Bankr. S.D.N.Y. 2001) (recognizing that “settlements are favored in federal

law and the prompt resolution of claims and disputes makes the compromise of claims of

particular importance in the bankruptcy reorganization”) (internal quotation marks omitted);

Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96, 116 (2d Cir.) (“We are mindful of the

‘strong judicial policy in favor of settlements, particularly in the class action context.’”) (citation

omitted), cert. denied, 544 U.S. 1044 (2005); Weinberger v. Kendrick, 698 F.2d 61, 73 (2d Cir.

1982) (“There are weighty justifications, such as reduction of litigation and related expenses, for

the general policy favoring the settlement of litigation.”), cert. denied, 464 U.S. 818 (1983).

                                      (a)     The Dex-Cool Class Satisfies Rules 23(a) and 23(b)

                    37.        “Before certification is proper for any purpose—settlement, litigation, or

otherwise—a court must ensure that the requirements of Rule 23(a) and (b) have been met.”6

Denney v. Deutsche Bank AG, 443 F.3d 253, 270 (2d Cir. 2006). “Rule 23(a) and (b) standards

apply equally to certifying a class action for settlement or for trial, with one exception.” Manual

for Complex Litigation § 21.132 (4th ed. 2004) (emphasis added). “Confronted with a request



6
         Rule 23(a) requires that the Dex-Cool Class meet certain numerosity, commonality, typicality, and
adequacy requirements, and Rule 23(b) requires that, as to this Rule 23(b)(3) class, questions of law or fact common
to the Dex-Cool Class predominate over any questions affecting only individual members and that a class action be
superior to other available methods for fairly and efficiently adjudicating the controversy. See Fed. R. Civ. P. 23(a),
(b).


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for settlement-only class certification, a district court need not inquire whether the case, if tried,

would present intractable management problems,” under Rule 23(b)(3)(D). Amchem Prods., Inc.

v. Windsor, 521 U.S. 591, 620 (1997).

                    38.        The Parties stipulate, solely for purposes of settlement, that the Dex-Cool

Class meets the standards of Rules 23(a) and (b). Specifically, the Parties submit that the Court

should adopt the California and Missouri Courts’ findings with respect to the certification of the

Dex-Cool Class under California Section 382 and Missouri Rule 52.08 and find that the Dex-

Cool Class meets the standards of Rule 23.

                    39.        The California and Missouri Courts’ findings in their Preliminary

Approval Orders and Final Judgment further demonstrate the satisfaction of Rules 23(a) and (b).

In those orders, the California and Missouri Courts found that:

                          •    The Dex-Cool Class is so numerous that joinder of all members is
                               impracticable;

                          •    Questions of law or fact common to the Dex-Cool Class predominated
                               over questions affecting individual members;

                          •    The claims of named plaintiffs are typical of claims of the Dex-Cool Class
                               as a whole;

                          •    The representative plaintiffs will fairly and adequately assert and protect
                               the interests of the Dex-Cool Class; and

                          •    The Dex-Cool Class Action provides a superior method for adjudication of
                               the controversy.

                    40.        The California Supreme Court has recognized that the requirements for

class certification under Rule 23(a) are “analogous to the requirements for class certification

under Code of Civil Procedure section 382.” In re Tobacco II Cases, 207 P.3d 20, 33 (Cal.

2009); Fireside Bank v. Superior Court, 155 P.3d 268, 281 (Cal. 2007) (identifying requirements

for class action under section 382). Similarly, Missouri courts have analogized Rule 52.08 of the


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Missouri Rules of Civil Procedure to Rule 23 of the Federal Rules. Mitchell v. Residential

Funding Corp., Nos. WD 70210, WD 70227, WD 70244, WD 70263, 2010 WL 4720755, at *30

n.12 (Mo. Ct. App. Nov. 23, 2010); Hale v. Wal-Mart Stores, Inc., 231 S.W.3d 215, 222 (Mo. Ct.

App. 2007). To that end, both California and Missouri courts look to federal class action law

“when seeking guidance on issues of class action procedure.” In re Tobacco II Cases, 207 P.3d

at 33.

                    41.        Accordingly, the Court should adopt the findings of the California and

Missouri Courts in their Preliminary Approval Orders and Final Judgment and find that the Dex-

Cool Class satisfies Rules 23(a) and 23(b) solely for the purposes of the Agreement.

                                      (b)     The Agreement Satisfies Rule 23(e)

                    42.        The Court should also find that the Agreement satisfies Rule 23(e)(2).

                    43.        Rule 23(e) requires court approval of a class action settlement. The

standard for reviewing the proposed settlement of a class action in the Second Circuit, as in other

circuits, is whether the proposed settlement is “fair, reasonable and adequate.” In re Luxottica

Group S.p.A. Sec. Litig., 233 F.R.D. 306, 310 (E.D.N.Y. 2006) (emphasis added); see In re

Indep. Energy Holdings PLC, No. 00 Civ. 6689(SAS), 2003 WL 22244676, at *3 (S.D.N.Y.

Sept. 29, 2003). In reviewing the reasonableness of a proposed class action settlement, courts

are cautioned against substituting their judgment for that of the parties who negotiated the

settlement or conducting a mini-trial on the merits of the action. See Weinberger, 698 F.2d at 74;

In re Milken & Assocs. Sec. Litig., 150 F.R.D. 46, 53 (S.D.N.Y. 1993). The Second Circuit has

established the following factors as relevant in evaluating class action settlements: (i) the

complexity, expense and likely duration of the litigation; (ii) the reaction of the class to the

settlement; (iii) the stage of the proceedings and the amount of discovery completed; (iv) the



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risks of establishing liability; (v) the risks of establishing damages; (vi) the risks of maintaining

the class action through the trial; (vii) the ability of the defendants to withstand a greater

judgment; (viii) the range of reasonableness of the settlement fund in light of the best possible

recovery; and (ix) the range of reasonableness of the settlement fund to a possible recovery in

light of all the attendant risks of litigation. See In re Indep. Energy Holdings PLC, 2003 WL

22244676, at *3; accord In re Luxottica Group S.p.A. Sec. Litig., 233 F.R.D. at 311.

                    44.        Here, there can be no doubt that the Agreement should be approved based

on the foregoing factors. The relatively advanced stage of the Dex-Cool Class Actions provided

counsel with more than enough information to assess the strengths and weaknesses of the case,

as well as the risks of damages. Indeed, the Dex-Cool Class Actions have been ongoing since

April 2003 and have involved extensive discovery, including more than forty depositions of the

named plaintiffs, twenty-six depositions of current and former GM employees, and seven third-

party witnesses, and significant law and motion practice.

                    45.        The Agreement also is fair, reasonable and adequate. The Claim will be

settled for approximately $800,000 less than the amount asserted in the Dex-Cool Proof of Claim

and the Resubmitting Participating Class Members will largely obtain a general unsecured claim

in the amount they would have received pre-bankruptcy. Pursuant to the Agreement, the Claim

will immediately be estimated in the amount of $2,205,570.00. The Parties agreed on this

amount after (i) the Resubmitting Participating Class Members submitted approximately 11,299

claim statements in an attempt to cure previously-deficient statements; (ii) the Claims

Administrator reviewed approximately 6,685 of the claim statements submitted by the

Resubmitting Participating Class Members and approved claims totaling $1,325,568.60; and (iii)




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Co-Lead Class Counsel conducted a further review of approximately 200 of the 4,614 additional

claims submitted by the Resubmitting Participating Class Members.

                    46.        Finally, the Agreement is the result of numerous, arms-length and

extensive negotiations between the Parties and their respective counsel concerning modification

of the Dex-Cool Class Action Settlement. See In re Indep. Energy Holdings PLC, 2003 WL

22244676, at *3; In re Luxottica Group S.p.A. Sec. Litig., 233 F.R.D. at 311.

                    47.        Based on the foregoing, the Court should find that the Agreement satisfies

Rule 23(e)(2).

                                      (c)    No Additional Notice Is Required

                    48.        The Notice of Settlement adopted and approved by the Parties and the

California and Missouri Courts was in full compliance with the notice requirements of due

process, federal law, the Constitution of the United States, and any other applicable law, and this

Court need not require any new notice to be given to the Dex-Cool Class. See Green v. Am.

Express Co., 200 F.R.D. 211, 212 (S.D.N.Y. 2001); In re Nazi Era Cases Against German

Defendants Litig., 198 F.R.D. 429, 441 (D.N.J. 2000); 6 Herbert Newberg & Alba Conte,

Newberg on Class Actions, § 11.72 (4th ed. 2002).

                    49.        In Rosenberg v. XO Communications, Inc. (In re XO Communications,

Inc.), the Southern District of New York Bankruptcy Court approved a stipulation that the debtor

need not provide new notice to all potential class action members of a Rule 9019 motion settling

the class action when notice of class action settlement had already been provided in the state

court settlement. See 330 B.R. 394, 409-410 (Bankr. S.D.N.Y. 2005).

                    50.        Here, the three-part Notice of Settlement that was approved by the

California and Missouri courts and effected by the Claims Administrator more than satisfied due



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process. The publication notice was published in four national newspaper supplements, with an

estimated circulation of 65,900,000; twelve national consumer magazines, with a total estimated

circulation of 43,865,000; and in Internet advertising appearing across a wide-range of websites,

giving an estimated 199,500,000 views. Indeed, over 68,000 claims statements were received,

and, even though roughly 28,000 of those were deficient, the Resubmitting Participating Class

Members have been given a second opportunity to cure and, through this Agreement, obtain

benefits. This Court should also find that the Notice of Settlement was previously provided in

full compliance with the notice requirements of due process, federal law, the Constitution of the

United States, and all other applicable law. Indeed, based on the Parties’ stipulation, this Court

previously ordered that notice on Co-Lead Class Counsel was sufficient to notify all members of

the Dex-Cool Class Action, including the Resubmitting Participating Class Members. (See Class

Claims Stipulation at 2 (“Notice to the undersigned class counsel shall be, and shall be deemed

to be, sufficient notice to all class members in the Dex-Cool Class Action.”).)

                    51.        The changes to the Dex-Cool Class Action Settlement that the Parties

agreed to in order to further implement the settlement after GM’s bankruptcy and that are

contained in the Agreement do not require that any new or additional notice be given,

particularly where, as here, the changes resulted in terms that provide the Resubmitting

Participating Class Members with the Total Allowed Unsecured Claim that is equivalent to the

approximate value of the benefits that would have been provided to the Resubmitting

Participating Class Members under the Dex-Cool Class Action Settlement.

                    52.        Moreover, requiring the Parties to issue new notice at this juncture would

result in the Agreement being void. Specifically, the Debtors have already paid for notice to the

Dex-Cool Class and have not agreed to pay for any further notice; in fact the Agreement will be



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void if any further notice is required by the Court. (See Agreement ¶ 1 (Ex. A) (“The Parties

further acknowledge and agree that, in the unlikely event that the Court requires any further

notice to the Dex-Cool Class, this Agreement shall be void and the Parties shall no longer be

bound by this Agreement.”).) In these circumstances, no additional notice should be required.

See Green, 200 F.R.D. at 213 (ordering that “no notice be served when the cost of notice, to say

nothing of the postage, would jeopardize, and likely destroy, the hard fought settlement

agreement that the parties have presented to this Court”); cf. Hainey v. Parrott, 617 F. Supp. 2d

668, 679 (S.D. Ohio 2007) (“Furthermore, establishing a second opt-out period would not be in

the best interests of the class because it would result in additional administrative costs, which in

turn reduces the amount available for distribution.”).

                    53.        Finally, there is no evidence of any collusion between the Parties to the

Agreement, further indicating that no additional notice is required. See Green, 200 F.R.D. at 213

(ordering no notice of settlement be given when “[f]irst, and most significantly, there is no

evidence of collusion between the parties”); Selby v. Principal Mut. Life Ins. Co., No. 98 Civ.

5283 (RLC), 2003 WL 22772330, at *4 (S.D.N.Y. Nov. 21, 2003) (ordering no notice of

settlement be given “where is no evidence of collusion between the parties, and the settlement

negotiations were conducted at arms-length”).

                    54.        Based on the foregoing, this Court should find that the dissemination of

the Notice of Settlement satisfied the requirements of Rule 23(e) and due process, and no new

notice need be given regarding the Agreement.

                                                VII. Notice

                    55.        Notice of this Motion has been provided to (i) Girard Gibbs LLP, Co-Lead

Class Counsel for the Dex-Cool Plaintiffs and the Dex-Cool Class, 601 California Street, Suite



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1400, San Francisco, California 94108 (Attn.: Eric H. Gibbs, Esq. and A. J. De Bartolomeo,

Esq.); (ii) Polsinelli Shughart P.C., Co-Lead Class Counsel for the Dex-Cool Plaintiffs and the

Dex-Cool Class, Twelve Wyandotte Plaza, 120 West 12th Street, Kansas City, Missouri 64105

(Attn.: P. John Brady, Esq.); and (iii) parties in interest in accordance with the Fifth Amended

Order Pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 1015(c) and 9007 Establishing

Notice and Case Management Procedures, dated January 3, 2011 (ECF No. 8360). The Debtors

submit that such notice is sufficient and no other or further notice need be provided.

                    56.        No previous request for the relief sought herein has been made by the

Debtors to this or any other Court.

                    WHEREFORE the Debtors respectfully request entry of an order granting the

relief requested herein and such other and further relief as is just.

Dated: New York, New York
       March 24, 2011

                                                     /s/ Joseph H. Smolinsky
                                                     Harvey R. Miller
                                                     Stephen Karotkin
                                                     Joseph H. Smolinsky
                                                     WEIL, GOTSHAL & MANGES LLP
                                                     767 Fifth Avenue
                                                     New York, New York 10153
                                                     Telephone: (212) 310-8000
                                                     Facsimile: (212) 310-8007

                                                     Attorneys for Debtors




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                     EXHIBIT A
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Attorneys for Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                                   :
In re                                                              :   Chapter 11 Case No.
                                                                   :
MOTORS LIQUIDATION COMPANY, et al.,                                :   09-50026 (REG)
        f/k/a General Motors Corp., et al.                         :
                                                                   :
                                       Debtors.                    :   (Jointly Administered)
                                                                   :
---------------------------------------------------------------x


                    AGREEMENT RESOLVING PROOF OF CLAIM NO. 51095
                    AND IMPLEMENTING MODIFIED CLASS SETTLEMENT

               This Agreement Resolving Proof of Claim No. 51095 and Implementing
Modified Class Settlement (the “Agreement”) is entered into as of March 24, 2011 (the
“Effective Date”) by and among Motors Liquidation Company (“MLC”) and its affiliated
debtors, as debtors in possession (collectively, the “Debtors”), and class action plaintiffs (the
“Dex-Cool Plaintiffs”), on behalf of themselves and the Dex-Cool Class (defined below) (the
Dex-Cool Plaintiffs, together with the Debtors, collectively, the “Parties”).

               WHEREAS, the Dex-Cool Plaintiffs filed several class action complaints
throughout the country, including in California, Missouri, Illinois, Texas, New Jersey, and
Pennsylvania (collectively, the “Dex-Cool Class Actions”) against General Motors Corporation
(“GM”), beginning in 2003, alleging that GM’s use of Dex-Cool, a factory-fill coolant that GM
began using starting with its 1995 model year vehicles, caused problems with the engines or
cooling systems of certain GM vehicles;

              WHEREAS, the Dex-Cool Class Actions were either coordinated by the Judicial
Panel on Multidistrict Litigation in federal district court in Illinois, or remanded to state courts in
Texas (Longoria v. GM), California (Sadowski v. GM), or Missouri (Gutzler v. GM);

               WHEREAS, following substantial discovery, law and motion practice, and state-
wide classes having been certified by the Superior Court of the State of California, County of
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Alameda (the “California Court”) and the Circuit Court of Jackson County, Missouri at
Independence (the “Missouri Court”), GM and the Dex-Cool Class (defined below) reached a
comprehensive claims-made stipulation of settlement of the Dex-Cool Class Actions whereby,
among other things, (i) the Gutzler action and the claims of a Missouri-only class would be
resolved through a Missouri-only statewide settlement class subject to approval by the Missouri
Court and approval of the similar Sadowski class by the California court (discussed below); and
(ii) the Sadowski action, all the other Dex-Cool Class Actions, and the claims of a nationwide
class (excluding persons who purchased or leased their vehicle in Missouri) would be resolved
through a 49-state settlement class subject to approval by the California Court and approval of
the similar Gutzler class by the Missouri Court (the “Dex-Cool Class Action Settlement”). A
copy of the Dex-Cool Class Action Settlement is attached as Exhibit “A”;

                WHEREAS, under the terms of the Dex-Cool Class Action Settlement, GM
agreed to reimburse members of the Dex-Cool Class who owned or leased certain GM vehicles
with 3.1L and 3.4L engines, 3.8L engines, and 4.3L engines, paid for certain repairs performed
within seven years or 150,000 miles after the original owner or lessee took physical possession
of the vehicle as reported by the delivering dealer (the “Date of Initial Vehicle Delivery”), and
who submitted timely and valid claims. Claims were required to be supported by documentation
showing the amount the class member spent on a repair and documentation that the class
member owned or leased the vehicle at the time of the repair. The amount of reimbursement a
claimant was to receive depended on (i) when the repair was performed and (ii) the amount the
class member actually paid for the repair. In exchange for the cash payments by GM to the Dex-
Cool Class, GM received a release from all members of the Dex-Cool Class;

               WHEREAS, both the California and Missouri Courts entered Preliminary
Approval Orders (the “Preliminary Approval Orders”), in which they preliminarily approved the
Dex-Cool Class Action Settlement; set fairness hearings; set forth deadlines for objecting to the
Dex-Cool Class Action Settlement; approved the forms of class notice (collectively, the “Notice
of Settlement”); approved the proposed manner of providing the Notice of Settlement; and
conditionally certified the settlement classes;

                WHEREAS, the Missouri Court conditionally certified the following class: “All
Consumers who purchased or leased a Covered Vehicle in the State of Missouri (i) that has been
in service in excess of seven years, measured from the Date of Initial Vehicle Delivery, at the
time of the first date on which notice of the Settlement is disseminated and who, at the time of
the notice, had not incurred an expense of the type included in the definition of Covered Repair,
or (ii) who incurred an expense for a Covered Repair before the first date on which notice of the
Settlement is disseminated to the Class in accordance with the Notice Order” (collectively, the
“Missouri Class”). Excluded from the Missouri Class are GM; any affiliate, parent, or subsidiary
of GM; any entity in which GM has a controlling interest; any officer, director, or employee of
GM; any successor or assign of GM; and the Judge to whom the Action is assigned as well as his
or her immediate family;

                WHEREAS, the California Court conditionally certified the following class: “All
Consumers in the United State of America, excepting those who purchased or leased their
vehicles in the State of Missouri, who (i) own or lease, or who have owned or leased, a Covered
Vehicle that has been in service in excess of seven years, measured from the Date of Initial


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Vehicle Delivery, at the time of the first date on which notice of the Settlement is disseminated
and who, at the time of the notice, had not incurred a repair expense of the type included in the
definition of Covered Repair, or (ii) own or lease, or who have owned or leased, a Covered
Vehicle and who incurred an expense for a Covered Repair before the first date on which notice
of the Settlement is disseminated to the Class in accordance with the Notice Order” (collectively,
the “California Class,” and, together with the Missouri Class, the “Dex-Cool Class”). Excluded
from the California Class are GM, any affiliate, parent, or subsidiary of GM, any entity in which
GM has a controlling interest, any officer, director, or employee of GM, any successor or assign
of GM, anyone employed by counsel for Representative Plaintiffs, any Judge to whom any of the
Actions is assigned as well as his or her immediate family; any and all persons who timely and
validly request exclusion from the Class pursuant to the notice disseminated in accordance with
the Notice Order;

                WHEREAS, in accordance with the Preliminary Approval Orders, notice was
effected. The notice program consisted of: (i) direct mail notice to certain readily identifiable
Dex-Cool Class members, copies of which notices are attached hereto as Exhibits “B” and “C”;
(ii) publication notice through a number of nationally-circulated magazines and weekend
newspaper supplements, as well as through Internet advertising; and (iii) electronic notice
through a dedicated website. The publication notice was published in four national newspaper
supplements, with an estimated circulation of 65,900,000; twelve national consumer magazines,
with a total estimated circulation of 43,865,000; and in Internet advertising appearing across a
wide-range of websites, giving an estimated 199,500,000 views;

                WHEREAS, on October 23, 2008, and September 5, 2008, respectively, after
conducting fairness hearings, the California and Missouri Courts entered judgments (the “Final
Judgments”), copies of which are attached hereto as Exhibit “D” and Exhibit “E,” respectively,
in which they certified the Dex-Cool Class and finally approved the Dex-Cool Class Action
Settlement. In the Final Judgments, the California and Missouri Courts determined that the Dex-
Cool Class satisfied Section 382 of the California Code of Civil Procedure (“Section 382”) and
Rule 52.08 of the Missouri Rules of Civil Procedure (“Rule 52.08”) because: (i) the Dex-Cool
Class was so numerous that joinder of all members was impracticable; (ii) questions of law or
fact common to the Dex-Cool Class predominated over questions affecting individual members;
(iii) the Dex-Cool Plaintiffs’ claims were typical of the claims of the Dex-Cool Class members;
(iv) the individual representative plaintiffs would fairly and adequately assert and protect the
interests of the Dex-Cool Class under the criteria set forth in Section 382 and Rule 52.08; and (v)
a class action provided a fair and efficient method for adjudication of the controversy;

               WHEREAS, in the Final Judgments, the California and Missouri Courts also
finally approved of the provisional designation of the law firms of Girard Gibbs LLP and
Shughart Thomson & Kilroy, P.C. as Co-Lead Class Counsel (“Co-Lead Class Counsel”);

                WHEREAS, the Dex-Cool Plaintiffs applied for and were granted attorneys’ fees
from the California and Missouri Courts in a collective amount totaling $21,250,000.00
(collectively, the “Attorneys’ Fees”); documented costs and expenses in a collective amount
totaling $2,800,000.00 (collectively, “Documented Costs and Expenses”); and incentive awards
to the individual representative plaintiffs in the Dex-Cool Class Actions in varying amounts,
none of which exceeded $20,000.00 (collectively, the “Incentive Awards”). Accordingly, GM


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subsequently funded the Attorneys’ Fees, Incentive Award, and Documented Costs and
Expenses;

              WHEREAS, in accordance with the Dex-Cool Class Action Settlement and the
Final Judgments, members of the Dex-Cool Class were required to submit a claim form (“Claim
Form”) to obtain the benefits of the settlement. GM retained Garden City Group to serve as
claims administrator (the “Claims Administrator”). Accordingly, on May 21, 2008, the Claims
Administrator mailed Claim Forms to the approximately 1,430,000 members of the Dex-Cool
Class;

              WHEREAS, the deadline for class members to submit and postmark valid and
timely Claim Forms for settlement benefits (together with any necessary supporting
documentation) to GM expired on October 27, 2008, and approximately 68,154 Claim Forms
were timely submitted by Dex-Cool Class members (collectively, the “Participating Dex-Cool
Class Members”);

                WHEREAS, the Claims Administrator reviewed the Claim Forms submitted by
the Participating Dex-Cool Class Members and approved approximately 40,000 claims as valid
and entitled to payment under the Dex-Cool Class Action Settlement, and GM funded
approximately $6,127,758.00 to satisfy those approved claims;

                WHEREAS, on April 22, 2009, the Claims Administrator sent notice of
deficiency letters to approximately 28,000 claimants to provide them with an opportunity to cure
deficiencies in their claims forms and thereafter received approximately 11,299 resubmitted
claim forms (collectively, the “Resubmitting Participating Class Members”);

               WHEREAS, pre-petition, the Claims Administrator reviewed approximately
6,685 of the Claim Forms submitted by the Resubmitting Participating Class Members and
approved claims totaling $1,325,568.60;

               WHEREAS, on June 1, 2009, before a review of the remaining 4,614 Claim
Forms submitted by the Resubmitting Participating Class Members could be completed by the
Claims Administrator, certain of the Debtors, including GM (the “Initial Debtors”) commenced
voluntary cases under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
before the United States Bankruptcy Court for the Southern District of New York (this “Court”),
Case No. 09-50026 (REG). The bankruptcy stayed all proceedings relating to the
implementation of the Dex-Cool Class Action Settlement, including the Claims Administrator’s
review of the remaining 4,614 Claim Forms submitted by the Resubmitting Participating Class
Members;

                WHEREAS, on September 16, 2009, this Court entered the Order Pursuant to
Section 502(b)(9) of the Bankruptcy Code and Rule 3003(c)(3) of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”) Establishing the Deadline for Filing Proofs of
Claim (Including Claims Under Bankruptcy Code Section 503(b)(9)) and Procedures Relating
Thereto and Approving the Form and Manner of Notice Thereof establishing November 30, 2009
at 5:00 p.m. (Eastern) as the deadline to file proofs of claim against the Initial Debtors based on
prepetition claims;



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               WHEREAS, on November 25, 2009 a proof of claim based on the Dex-Cool
Class Action Settlement was filed with this Court on behalf of the Dex-Cool Class and assigned
claim number 51095 (the “Dex-Cool Proof of Claim”), asserting a claim in the amount of
$3,000,000.00, for class consideration allegedly due pursuant to the Dex-Cool Class Action
Settlement for claim amounts due to the Resubmitting Participating Class Members (the
“Claim”);

              WHEREAS, due to GM’s bankruptcy, Debtors are unable to provide the
Resubmitting Participating Class Members with the exact benefits originally envisioned in the
Dex-Cool Class Action Settlement, and, accordingly, the Parties request that this Court approve
this Agreement to provide the Resubmitting Participating Class Members with the Total Allowed
Unsecured Claim (defined below) that is equivalent to the approximate value of those benefits;

                WHEREAS, on December 1, 2009, this Court approved and entered the
Stipulation and Order Between the Debtors and the Holders of Unliquidated Dex-Cool and
Anderson Claims to Allow Class Proofs of Claim for Dex-Cool and Anderson Claimants (the
“Class Claims Stipulation”), a copy of which is attached hereto as Exhibit “F,” and through
which the Debtors and the holders of Unliquidated Dex-Cool Claims, defined in the Class
Claims Stipulation as the claims made in connection with the Dex-Cool Class Action that had
not yet been liquidated pursuant to the terms of the Dex-Cool Class Action Settlement, agreed
that Co-Lead Class Counsel could file a class-wide proof of claim on behalf of all holders of
Unliquidated Dex-Cool Claims; and

               WHEREAS after good-faith, arms’ length negotiations, the Parties have reached
an agreement to resolve the Dex-Cool Proof of Claim and implement the Dex-Cool Class Action
Settlement through this Agreement;

               NOW, THEREFORE, in consideration of the foregoing, it is hereby stipulated
and agreed by the Parties that:

               1.      The Parties will jointly seek Court approval of this Agreement and seek to
secure any factual findings or legal conclusions necessary to effectuate the purposes and goals of
this Agreement and final approval thereof. In particular, promptly after execution of this
Agreement by all Parties, the Debtors shall file a motion seeking Court approval of the
Agreement pursuant to Federal Rule of Bankruptcy Procedure 9019 and Rule 23 of the Federal
Rules of Civil Procedure (the “Motion”). The Motion will confirm that under the terms of this
Agreement, the only relief sought by the Dex-Cool Class is the Total Allowed Unsecured Claim
(defined below) and that no other claims or amounts are sought from Debtors or asserted by the
Dex-Cool Class against Debtors. The Motion will also confirm that, for purposes of this Court
approving this Agreement only, the Parties acknowledge and stipulate to the validity of the Dex-
Cool Class’s certification in the Dex-Cool Class Action; that this Court, for purposes of granting
the Motion, may take judicial notice of the Final Judgments entered by the California and
Missouri Courts on October 23, 2008, and September 5, 2008, respectively; and that this Court,
in considering the Motion and implementation of the Dex-Cool Class Action Settlement, need
only address the class-action settlement factors addressed in Federal Rule Civil Procedure 23(e)
(“Rule 23(e)”). Specifically, the Parties agree to request this Court adopt the Notice of
Settlement in the Dex-Cool Class Action as sufficient under Rule 23(e) and find that it is not


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necessary to provide any further notice to the Dex-Cool Class. Since the notice was previously
provided to the Dex-Cool Class in accordance with due process, the Dex-Cool Parties (defined
below) hereby acknowledge and agree that the Debtors shall not be responsible for any costs
related to any further notice that this Court may order in connection with the implementation of
this Agreement. The Parties further acknowledge and agree that, in the unlikely event that this
Court requires any further notice to the Dex-Cool Class, this Agreement shall be void and the
Parties shall no longer be bound by this Agreement. It is acknowledged by the Parties that the
Debtors’ agreement not to challenge certification or Co-Lead Class Counsel’s authority (through
this Agreement and the Class Claims Stipulation) to proceed under Rule 7023 of the Federal
Rules of Bankruptcy Procedure to file the Dex-Cool Proof of Claim is based solely on the unique
facts and circumstances of this particular Claim.

                2.      This Agreement is subject to and shall be binding on the Parties only upon
Court approval. “Court Approval” shall mean the entry by this Court in In re Motors
Liquidation Company et al., Chapter 11 Case No. 09-50026 (REG), after notice and a hearing, of
an order approving this Agreement, substantially in the form attached hereto as Exhibit “G” (the
“Court Order”). “Court Approval Date” shall mean the date upon which the Court Order
becomes Final (as defined below). In the event Court Approval is not granted or similar relief is
not otherwise provided by this Court or in the event that the Court Approval Date does not occur,
this Agreement shall be deemed to be null and void and no Party shall have any obligations to
another Party arising out of this Agreement, save and except for the obligations and/or provisions
set forth in Paragraphs 9, 10, 12, 14, 16, 17, and 18 hereof, which provisions are intended to
survive the expiration or earlier termination of this Agreement. “Final” shall mean that the Court
Order has been entered by this Court, and (i) the time to appeal or petition for certiorari has
expired and no timely appeal or petition for certiorari shall then be pending, or (ii) if a timely
appeal or writ of certiorari thereof has been sought, that the Court Order shall have been affirmed
by the highest court to which such Court Order was appealed, or certiorari shall have been
denied or reargument or rehearing on remand shall have been denied or resulted in no material
modification of such Court Order, and the time to take any further appeal, petition for certiorari,
or move for modification of such Court Order, or move for reargument or rehearing, or move for
a new trial or to amend the judgment under Rule 59 of the Federal Rules of Civil Procedure, or
any analogous rule under the Bankruptcy Rules or other rules governing procedure in cases
before this Court shall have expired; provided, however, that the possibility that a motion under
Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy
Rules or other rules governing procedure in cases before this Court, may be filed with respect to
such Court Order shall not cause such Court Order not to be Final.

               3.     Subject to and upon execution by all Parties to this Agreement, the Dex-
Cool Proof of Claim shall be treated as an allowed general unsecured claim against MLC in the
amount of $2,205,570.00 (the “Total Allowed Unsecured Claim”). Regardless of any challenge
to this Agreement or the failure of this Agreement to become effective the Parties hereby agree
that the Dex-Cool Proof of Claim shall be estimated to be $2,205,570.00 for all purposes,
including for Plan confirmation and distribution purposes.

               4.     As consideration for the Agreement, including the release contained
herein, on the Court Approval Date, the Resubmitting Participating Class Members shall be
granted the Total Allowed Unsecured Claim, which shall constitute, in the aggregate, a single


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allowed general unsecured claim by the Resubmitting Participating Class Members collectively
against MLC in the amount of $2,205,570.00. Co-Lead Class Counsel is authorized, following
the Court Approval Date and without any additional approval from this Court, to (i) sell, transfer,
assign, and/or otherwise monetize the Total Allowed Unsecured Claim, either individually or
through a broker, and/or (ii) monetize any shares, warrants, options or other property received
from Debtors on account of the Total Allowed Unsecured Claim as part of any confirmed
Chapter 11 plan or plans in these chapter 11 cases (the “Plan”) in any commercially reasonable
manner. The resulting cash proceeds from the foregoing activities shall be utilized by Co-Lead
Class Counsel to make distributions, on a pro rata basis, to the Resubmitting Participating Class
Members who have submitted valid and complete claims in accordance with the Dex-Cool Class
Action Settlement, in accordance with the allocation plan (the “Plan of Allocation”) set forth
below. Co-Lead Class Counsel is solely responsible for administration and implementation of
the Plan of Allocation and distribution of the cash proceeds resulting from the Total Allowed
Unsecured Claim in accordance with this Agreement, and in no event shall the Debtors be
responsible or liable for the administration of the Dex-Cool Class; administration or distribution
of cash proceeds from the Total Allowed Unsecured Claim; or implementation of the Plan of
Allocation.

                5.     Pursuant to the following Plan of Allocation contained in this Paragraph 5,
Co-Lead Class Counsel shall make distributions, on a pro rata basis, from cash proceeds
resulting from the sale or assignment of the Total Allowed Unsecured Claim to any third party or
the sale of any stock or shares, in the open market or otherwise, to the Resubmitting Participating
Class Members who submitted a proper claim under the terms of the Dex-Cool Settlement as
follows:

                      (a)     For a Resubmitting Participating Dex-Cool Class Member who
                              incurred a Covered Repair (as defined in the Dex-Cool Class
                              Action Settlement) within five years after initial vehicle delivery,
                              such member may obtain reimbursement, on a pro rata basis, of
                              the greater of (i) the amount equal to the actual out-of-pocket
                              expense incurred by the Resubmitting Participating Dex-Cool
                              Class Member for the Covered Repair itself, up to $400, or (ii) if
                              the Resubmitting Participating Dex-Cool Class Member submitted
                              Proof of Internal Leak Repair Expense (as defined in the Dex-Cool
                              Class Action Settlement) showing a repair expense of more than
                              $1,500 due to a diagnosed internal coolant leak, 40% of the
                              amount equal to the actual out-of-pocket expense incurred by the
                              Resubmitting Participating Dex-Cool Class Member for the
                              Covered Repair itself, up to a maximum of $800;

                      (b)     For a Resubmitting Participating Dex-Cool Class Member who
                              incurred a Covered Repair between the fifth and sixth year after
                              initial vehicle delivery, such member may obtain reimbursement,
                              on a pro rata basis, of the amount equal to the actual out-of-pocket
                              expense incurred by the Resubmitting Participating Dex-Cool
                              Class Member for the Covered Repair itself, up to $100; and



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                       (c)    For a Resubmitting Participating Dex-Cool Class Member who
                              incurred a Covered Repair between the sixth and seventh year after
                              initial vehicle delivery, such member may obtain reimbursement,
                              on a pro rata basis, of the amount equal to the actual out-of-pocket
                              expense incurred by the Resubmitting Participating Dex-Cool
                              Class Member for the Covered Repair itself, up to $50.

                6.     Each of the Parties understands, agrees, and acknowledges that the pro
rata nature of the reimbursement payments under each of the foregoing shall be paid from the
cash proceeds resulting from the disposition, by Co-Lead Class Counsel, of the Total Allowed
Unsecured Claim. The Resubmitting Participating Class Members acknowledge and agree that
the resulting cash proceeds likely will be insufficient to pay Resubmitting Participating Class
Members in full.

                7.      Upon entry of the Court Order and receipt by Co-Lead Class Counsel, on
behalf of the Resubmitting Participating Class Members, of the Total Allowed Unsecured Claim,
the Parties agree that the Claim and the Dex-Cool Proof of Claim shall be superseded and
replaced by the Total Allowed Unsecured Claim and the claims docket or registry may be so
modified and amended without further order of this Court. Within ten (10) business days of the
date of entry of the Court Order, the Dex-Cool Plaintiffs, as represented by Co-Lead Class
Counsel, shall file the Court Order with the California and Missouri Courts.

                  8.      Upon entry by this Court of the Court Order and unless otherwise set forth
herein, the Dex-Cool Plaintiffs, the Dex-Cool Class, and their affiliates, successors and assigns,
and their agents, insurers, representatives, administrators, executors, trustees and attorneys
(collectively, the “Dex-Cool Parties”), shall have no further right to payment from the Debtors,
their affiliates, their estates or their respective successors or assigns, including GM or its
successors in interest (“New GM”) (collectively, the “Debtor Parties”), and, except as set forth in
this Agreement, the Dex-Cool Parties hereby irrevocably waive any and all claims (as defined in
section 101(5) of the Bankruptcy Code), complaints, grievances, liabilities, obligations,
promises, agreements, damages, causes of action, rights, debts, demands, controversies, costs,
losses, and expenses (including attorneys’ fees and expenses) whatsoever, including but not
limited to claims under any municipal, local, state, or federal law, common or statutory, whether
known or unknown, and connected with this Agreement and/or the Dex-Cool Class Action
Settlement and/or the Dex-Cool Class Actions against any of the Debtor Parties, and are hereby
barred from asserting any and all claims whatsoever, whether known or “Unknown Claims”
(defined below), presently existing, whether or not asserted, and whether found in fact or law or
in equity, in existence as of the execution of this Agreement by the Dex-Cool Parties (the
“Settled Claims”). Nothing herein shall be construed as a release or waiver of any Party’s rights
or obligations under this Agreement. The Dex-Cool Parties fully understand that the facts upon
which the Agreement are based may hereafter be other than or different from facts now believed
by either Party to be true, expressly accept and assume the risks of such possible differences in
facts, and agree that this Agreement shall remain effective notwithstanding any such differences
in facts.

               For purposes of this Agreement, “Unknown Claims” means any and all Settled
Claims that the Dex-Cool Parties do not know or suspect to exist in their favor upon the


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Effective Date, which if known by them, might have affected their decision with respect to the
Agreement. With respect to any and all Settled Claims, the Dex-Cool Parties stipulate and agree
that they and each member of the Dex-Cool Class shall be deemed to have, and by operation of
law shall have, waived any and all provisions, rights, and benefits conferred by any law, rules, or
regulations of any state or territory of the United States or any other country, or principle of
common or civil law, which is similar, comparable, or equivalent to California Civil Code
§ 1542, which provides:

          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT THE TIME
OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM MUST HAVE
MATERIALLY AFFECTED HIS SETTLEMENT WITH THE DEBTOR.

                The Dex-Cool Parties may hereafter discover facts in addition to or different from
those which he, she, or it now knows or believes to be true with respect to the subject matter of
the Settled Claims, but the Dex-Cool Parties shall expressly have and each Dex-Cool Class
member shall be deemed to have, and by operation of law shall have, fully, finally, and forever
settled and released any and all Settled Claims and Unknown Claims, known or unknown,
suspected or unsuspected, contingent or non-contingent, whether or not concealed or hidden,
which now exist, or heretofore have existed, upon any theory of law or equity now existing or
coming into existence in the future, without regard to the subsequent discovery or existence of
such different or additional facts. The Parties acknowledge, and the members of the Dex-Cool
Class shall be deemed by operation of law to have acknowledged, that the foregoing waiver was
separately bargained for and a material element of the settlement of which this release is a part.

                9.     By executing this Agreement, the Parties acknowledge that they (a) are not
relying upon any statements, understandings, representations, expectations, or agreements other
than those expressly set forth in this Agreement; (b) have made their own investigation of the
facts and are relying solely upon their own knowledge and the advice of their own legal counsel;
(c) knowingly waive any claim that this Agreement was induced by any misrepresentation or
nondisclosure and any right to rescind or avoid this Agreement based upon presently existing
facts, known or unknown; and (d) are entering into this Agreement voluntarily, of their own free
will, and without any coercion, undue influence, threat, or intimidation of any kind or type
whatsoever. The Parties stipulate that each Party is relying upon these representations and
warranties in entering into this Agreement. The representations and warranties contained in this
Paragraph 9 shall survive the execution of this Agreement indefinitely.

               10.     By entering into this Agreement, the Parties do not admit, and specifically
deny, any violation of any contract, municipal, local, state, or federal law, common or statutory.
Neither the execution of this Agreement nor compliance with its terms, nor the consideration
provided for herein shall constitute or be construed as an admission by any Party (or any Party’s
agents, representatives, attorneys, or employers) of any fault, wrongdoing, or liability
whatsoever, and the Parties acknowledge that all such liability is expressly denied by the
Debtors. This Agreement has been entered into in release and compromise of claims as stated
herein and to avoid the expense and burden of litigation.




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                 11.    If any provision or term of this Agreement, other than those set forth in
Paragraph 8 above, is held to be illegal, invalid, or unenforceable, such provision or term shall be
fully severable; this Agreement shall be construed and enforced as if such illegal, invalid, or
unenforceable provision had never comprised part of this Agreement; and the remaining
provisions of this Agreement shall remain in full force and effect and shall not be affected by the
illegal, invalid, or unenforceable provision or by its severance from this Agreement.
Furthermore, in lieu of each such illegal, invalid, or unenforceable provision or term there shall
be added automatically as a part of this Agreement another provision or term as similar to the
illegal, invalid, or unenforceable provision as may be possible and that is legal, valid, and
enforceable.

                12.     As a condition precedent to any obligations or liabilities of the Debtor
Parties, the Dex-Cool Plaintiffs expressly represent and warrant to the Debtor Parties that (a)
they are the lawful owners of certain of the claims and the potential claims released in this
Agreement and release; (b) they have full capacity and authority to settle, compromise, and
release the Dex-Cool Class claims and potential claims and to enter into this Agreement on
behalf of the Dex-Cool Class; (c) no other person or entity has acquired or has been assigned, or
will in the future acquire or have any right to assert, against any of the Debtor Parties any portion
of the Dex-Cool Class Action claims or any other potential claims released in this Agreement;
and (d) they know of no other person or entity that intends to assert a claim by, through, under,
or on behalf of any of the Dex-Cool Parties. The representations and warranties contained in this
Paragraph 12 shall survive the execution of this Agreement indefinitely.

                13.     This Agreement, which expressly incorporates the Dex-Cool Class Action
Settlement (as modified herein), contains the entire agreement between the Parties as to the
subject matter hereof and supersedes all prior agreements and undertakings between the Parties
relating thereto. This Agreement is subject in all respects to consent by the statutory committee
of unsecured creditors, and if such consent is not obtained by the Debtors, then the Debtors may
determine, in their sole discretion, whether to proceed forward with seeking Court approval of
the Agreement or abandon the Agreement.

              14.     This Agreement may not be modified other than by signed writing
executed by the Parties or by order of this Court.

               15.    Each person who executes this Agreement represents that he or she is duly
authorized to do so on behalf of the respective Parties hereto and that each such party has full
knowledge and has consented to this Agreement.

                16.     This Agreement may be executed in counterparts, each of which shall be
deemed an original but all of which together shall constitute one and the same instrument, and it
shall constitute sufficient proof of this Agreement to present any copy, copies, or facsimiles
signed by the Parties hereto.

                17.    This Agreement shall be exclusively governed by and construed and
enforced in accordance with the laws of the state of New York, without regard to conflicts of law
principles thereof. This Court shall retain exclusive jurisdiction over any and all disputes arising
out of or otherwise relating to this Agreement.


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                18.    Each of the Parties understands, agrees, and acknowledges that all of the
Parties shall be deemed to be the drafters of this Agreement and any ambiguity in or dispute
regarding the interpretation of this Agreement shall not be resolved by any rule of interpretation
providing for interpretation against the party that causes the uncertainty to exist or against any
party as the drafter.

                19.    The Parties agree that the Court Order shall provide that, notwithstanding
entry of the Court Order, this Court shall retain continuing jurisdiction over the Parties to further
effectuate its Court Order and the terms of this Agreement.

              20.      If notice need be given to the Parties for the purposes of this Agreement,
any performance thereunder, or any motions or orders related to the Agreement, under the
Federal Rules of Civil Procedure, the Bankruptcy Rules, or otherwise, notice shall be transmitted
as follows:

               If to the Dex-Cool Parties, delivered or faxed to:

               Eric H. Gibbs
               A.J. De Bartolomeo
               Girard Gibbs LLP
               601 California Street, Suite 1400
               San Francisco, CA 94108

               If to Debtors, delivered or faxed to:

               Harvey R. Miller
               Stephen Karotkin
               Joseph H. Smolinksy
               Weil, Gotshal & Manges LLP
               767 Fifth Avenue
               New York New York 10153

THE UNDERSIGNED WARRANT THAT THEY HAVE READ THE TERMS OF THIS
AGREEMENT, HAVE HAD THE ADVICE OF COUNSEL OR THE OPPORTUNITY
TO OBTAIN SUCH ADVICE IN CONNECTION WITH READING, UNDERSTANDING
AND EXECUTING THE AGREEMENT, AND HAVE FULL KNOWLEDGE OF THE
TERMS, CONDITIONS AND EFFECTS OF THIS AGREEMENT.

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                     EXHIBIT A
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 1
 2
 3
 4
 5
 6                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7                                     FOR THE COUNTY OF ALAMEDA
 8 Coordination Proceeding                              JUDICIAL COUNCIL COORDINATION
    Special Title (Rule 155 0(b))                       PROCEEDING NO. 4495
 9
    GENERAL MOTORS                                      SUPERIOR COURT OF CALIFORNIA
10 flEX-COOL/GASKET CASES                               COUNTY OF ALAMEDA
                                                        NO. HG03093843
11          Included actions:
                                                        SUPERIOR COURT OF CALIFORNIA
12 Sadowski v, General Motors Corp.                     COUNTY OF SAN JOAQUIN
                                                        NO. CV 025 770
13
     Bertino v. General Motors Corp.                    MASTER CLASS ACTION SETTLEMENT
14                                                      AGREEMENT COVERING ALL STATES
                                                        EXCEPT THE STATE OF MISSOURI
15
16                                                      The Honorable Robett B. Freedman
17                                                      Action filed: April 29, 2003
                                                        Trial date:    None set
18
19          This Settlement Agreement ("Agreement" or "Settlement") is entered into between the
20 Representative Plaintiffs on behalf of themselves and the Class, and Defendant General Motors
21 Corporation ("GM"), by and through their respective counsel or other designated signatory, in

22 settlement and compromise of the Actions, as well as the Amico/Bertino Actions.
23    1.    DEFINITIONS
24           I.I. "Actions" means the following lawsuits:
25                  (a) Sadowski v. Genercil Motors, Case No. HG0309 1369 (Alameda County, California)
26                  (b) Bowers v. General Motors, Case No. 002590 (Philadelphia County. Pennsylvania)
27                  (c) Brown v. General Motors, Case No. 03-539 GPM (S.D. Ill.)
28                  (d) Cherney v. General Motors, Case No. 3113-03 (Albany County, New York)

                               MASTER CLASS ACTION SETTLEMENT AGREEMENT
                            JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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   1                     (e) Dalidowicz v. General Motors, Case No. MID-L-3875-03 (Middlesex County, New
  2                         Jersey)
  3                      (f) Dochwat Y. General Motors, Case No. 03-410-GPM (S.D. Ill.)
  4                      (g) Flynn v. General Motors, Case No.: 03-L-723 (Madison County, Illinois)
  5                      (h) Longoria v. General Motors, Case No. 03-03 140-D (Nueces County, TX)

  6                      (i) Strzalkowski v. General Motors, Case No. 04-04740 (D. N.J.)
  7                      (j) Sher Family Limited Partnership v. General Motors, Case No. 06-00629 (E.D. Pa.)
  8                      (k) Sullivan v. General Motors, Case No. 07-00127 (W.D. N.C.)
  9                      (I) All actions consolidated as part of MDL No. 1562 and made part of the Second
 10                         Amended Consolidated Class Action Complaint in the MDL cases.
 11 Nothing contained in the definition of "Actions" is intended to, or shall be deemed to, limit the scope of
 12 the 49 state settlement or the release contained herein.
 13               1.2. "Amico/Bertino Actions" means the following lawsuits: Amico v. General Motors, Case
 14 No. 2004-092816 (Maricopa County, Arizona) and Bertino v. General Motors, Case No. CV025770
 15     (San Joaquin County, California). Nothing contained in the definition of"Amico/Bertino Actions" is
 16     intended to, or shall be deemed to, limit the scope of the 49 state settlement or the release contained
 17     herein.

 18               1.3. "Amico/Bertino Counsel" means Michael F. Ram of Levy, Ram & Olson LLP; John W.
 19 Rasmussen of Johnson, Rasmussen, Robinson & AlIen P.L.C.; Richard T. Dorman of Cunningham,
 20 Bounds, Crowder, Brown & Breedlove, LLC; Mark S. Baumkel of Mark S. Baumkel & Associates;
 21 I and James Belford Brown of Herum Crabtree Brown.
• 22              1.4. "Claim" means a claim to receive a cash payment under subparagraphs 3.1 and/or 3.2. A
 23     Claim consists of a Claim Statement, Proof of Expenditure, Proof of Ownership, and in the case of a
.24     claim under subparagraph 3.2, Proof of Internal Leak Repair.
 25               1.5.   "Claimant" means a Class Member who submits a Claim.
.26               1.6. "Claim Deadline" means 150 days afler the first date on which notice of the Settlement is
 27     disseminated to the Class in accordance with the Notice Order.
 28
                                                         2
                                    MASTER CLASS ACTION SETI'LEMENT AGREEMENT
                                 JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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     1            1.7. "Claim Statement" means a document substantially in the form of Exhibit A hereto,
     2 which must be submitted by the Class Member, postmarked or received by the Claims Administrator,
     3    by the Claim Deadline in order to obtain benefits under the Settlement, as described below.
     4            1.8. "Claims Administrator" means Garden City Group, Inc. or such other entity to be
     5    retained by General Motors, subject to approval by Co-Lead Counsel, to, among other things,
     6    administer the Settlement and the claims process set forth in subparagraphs 3.1-3.8, below, including
     7    receiving and processing claims, determining which claims are valid, assisting Class Members with the
     8    completion and submission of claims, issuing and mailing Settlement payments, and ensuring that
     9    claims fulfillment is properly implemented.
    10            1.9, "Class" means all Consumers in the United States of America (excepting those who
    11    purchased or leased a vehicle in the State of Missouri) who (i) own or lease, or who have owned or
    12    leased, a Covered Vehicle that has been in service in excess of seven years, measured from the Date of
    13    Initial Vehicle Delivery, at the time of the first date on which notice of the Settlement is disseminated
    14    and who, at the time of the notice, had not incurred a repair expense of the type included in the
    15    definition of Covered Repair, or (ii) own or lease, or who have owned or leased, a Covered Vehicle and
    16    who incurred an expense for a Covered Repair before the first date on which notice of the Settlement is
    17    disseminated to the Class in accordance with the Notice Order. Excluded from the Class are GM; any
    18    affiliate, parent, or subsidiary of GM; any entity in which GM has a controlling interest; any officer,
    19    director, or employee of GM; any successor or assign of GM; anyone employed by counsel for
    20    Representative Plaintiffs; and any Judge to whom any of the Actions is assigned as well as his or her
    21    immediate family.
    22            1.10. "Class Counsel" means Co-Lead Counsel and the following counsel: Norman E. Siegel
    23    of Stueve Siegel Hanson LLP; John M. Parisi of Shamberg Johnson & Bergman; Andrew N. Friedman
    24    of Cohen Milstein, Hausfeld & Toll, PLLC; Ernest Cory of Cory Watson Crowder & Degaris PC; Joe
    25    Whatley of Whatley Drake LLC; Lee S. Shalov of Shalov Stone Bonner & Rocco, LLP; William M.
    26    Audet of Alexander, Hawes & Audet, LLP; Michael B. Marker of The Rex Carr Law Firm, LLC;
-   27    Matthew H. Armstrong of Schlichter Bogard & Denton LLP; Murray Fogler of McDade Fogler Maines,
    28    LLP; Jonathan Shub of Seeger Weiss LLP; Steven N. Berk of Chavez & Gertler LLP; Jonathan W.
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 1 Cuneo of Cuneo Gilbert & LaDuca, LLP; Michael D. Donovan of Donovan Searles, LLC; and Joel R.
 2 Rhine and Christopher A. Chleborowicz of Lea Rhine Rosbrugh & Chleborowicz, PLLC.
 3            1.11. "Class Member" means a member of the Class.
 4            1.12. "Co-Lead Counsel" means Eric H. Gibbs of the law firm Girard Gibbs LLP, and P. John
 5    Brady of the law firm Shughart Thomson & Kilroy P.C.
 6            1.13. "Consumer" means a person who purchases or leases for personal, family, or household
 7 I use.
 8            1.14. "Court," unless specifically stated otherwise, means the Superior Court of the State of
 9    California for the County of Alameda.
10            1.15. "Covered Repair" means any Engine Group A Repair, Engine Group B Repair, or

11    Group C Repair.
12            1.16. "Covered Vehicle" means an Engine Group A Vehicle, Engine Group B Vehicle, or
13 Engine Group C Vehicle.
14            1,17. "Date of Initial Vehicle Delivery" means the date on which the original retail purchaser
15    or lessee took physical possession of the vehicle as reported by the delivering dealer.
16            1.18. "Effective Date" and/or "Effective Date of Settlement" means the latest of the following
17    dates: (i) if no appeal from the Judgment is filed, the date of expiration of the time for the filing or
18    noticing of any appeal from the Judgment; or (ii) if an appeal from the Judgment is filed, and the
19 Judgment is affirmed or the appeal dismissed, the date beyond which California Supreme Court review
20    is no longer available; or (iii) if the Court of Appeal issues a judgment affirming the Judgment or

21    dismissing the appeal ("Appellate Judgment") and a petition for review of the Appellate Judgment is
22    filed and denied, the date beyond which United States Supreme Court review is no longer available; or
23    (iv) if a petition for review of the Appellate Judgment is filed and granted, or the California Supreme
24 Court orders review of the Appellate Judgment on its own motion, and the Appellate Judgment is
25    affirmed or the review proceeding dismissed, and no petition for a writ of certiorari with respect to the
26 Supreme Court's judgment affirming the Appellate Judgment or dismissing the review proceeding
27    ("Review Judgment") is filed, the date of expiration of the time for the filing of such a petition for a
28    writ of certiorari; or (v) if such a petition for a writ of certiorari is filed and denied, the date the petition
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 I    is denied; or (vi) if such a petition for a writ of certiorari is filed and granted, the date of final
 2    affirmance of the Review Judgment or final dismissal of the review proceeding initiated by the petition
 3   I for a writ of certiorari. This Settlement shall not become Effective, and this definition of Effective D
 4    shall not be met, unless and until the Effective Date of the Missouri Settlement Agreement, entered into
 5    by the parties in the action entitled Gutzler v. General Motors, Case No. 03CV208786 (Jackson
 6    County, Missouri). In the event that the Missouri Settlement Agreement, entered into by the parties in
 7 the action entitled Gutzler v. General Motors, Case No. 03CV208786 (Jackson County, Missouri), is
 8    not given final approval by the court in that action, or is reversed or modified on appeal, this Settlement
 9    shall not become Effective and General Motors shall have the option and right to rescind this
10    Settlement at its sole discretion by filing with the Court written notice of such election, with proof of
11    service on Co-Lead Counsel. Notwithstanding the above, and for the sole purpose of avoiding
12    unnecessary delay in Class Members' receipt of settlement benefits, in the event that an appeal from the
'3    Judgment is filed, and such appeal (a) is an appeal only of the portion of the Judgment awarding i) an
14    amount up to $140,000 in incentive payments to Representative Plaintiffs, (ii) attorneys' fees in an
15    amount not to exceed $16.5 million and/or (iii) documented costs in an amount not to exceed $1.55
16    million, and (b) could not result in the reversal and/or modification of the Judgment (including the
17 release provisions contained in paragraphs 3.14 through 118), then GM and Co-Lead Counsel may,
18    acting in good faith and upon mutual agreement, agree that the settlement is otherwise Effective and
'9    that implementation of the settlement, including distribution of the settlement benefits, should proceed.
20            1.19. "Engine Group A Vehicle" means any 1995 through 2003 model year vehicle with a 3.1-
21    liter V6 or 3.4-liter V6 engine that was factory-equipped with Dex-Cool coolant and a nylonlsilicone
22    lower intake manifold gasket. Excluded are all 2003 model year vehicles manufactured after April 9,
23    2003.
24            1.20. "Engine Group A Repair" means any lower intake manifold gasket replacement made on
25    an Engine Group A Vehicle within the earlier of 7 years or 150,000 miles of the Date of Initial Vehicle
26    Delivery.
27            1.21. "Engine Group B Vehicle" means any 1995 through 2004 model year vehicle with a 3.8-
28    liter V6 engine (RPO L36) that was factory-equipped with Dex-Cool coolant.

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 1            1.22. "Engine Group B Repair" means any engine sealabilily repair made on an Engine Group
 2    B Vehicle within the earlier of 7 years or 150,000 miles of the Date of Initial Vehicle Delivery. Engine
 3    sealability repairs with respect to an Engine Group B Repair include but are not limited to replacements
 4    of a throttle body gasket, upper intake manifold gasket, lower intake manifold gasket, or intake
 5 I manifold.

 6            1.23. "Engine Group C Vehicle" means any 1995 through 2000 model year SIT light truck or
 7    sport utility vehicle with a 4.3-liter V6 engine that was factory-equipped with Dex-Cool coolant.
 8            1.24. "Engine Group C Repair" means any Sludge-related repair made on an Engine Group C
 9    Vehicle within the earlier of 7 years or 150,000 miles of the Date of Initial Vehicle Delivery. Sludge-
10    related repairs are repairs that are caused by cooling system Sludge and may include but are not limited
11    to cooling system flushes, heater core repairs, water pump repairs, and radiator cap replacements to the
12    extent that they were the result of cooling system Sludge.
13            1.25. "Judgment" means the judgment to be entered by the Court pursuant to this Settlement,
14    substantially in the form attached hereto as Exhibit C (but which may be modified or amended as
15    necessary before entry in order to effectuate the terms of this Agreement), which shall include, among
16    other things, final approval of the Settlement, dismissal of the Sadowski action with prejudice and
17    approval and entry of the provisions contained in Section 3.C, Release of Claims, below (i.e.
18    paragraphs 3.14 through 3.18).
19            1.26. "Notice Order" means an order substantially in the form of Exhibit B hereto, providing
20    for, among other things, provisional certification of the Class for settlement purposes only; preliminary
21    approval of the Settlement; dissemination of notice to the Class according to the notice plan attached;
22    and setting of the Fairness Hearing.
23            1.27. "Parties" means the Representative Plaintiffs and Defendant GM.
24            1.28. "Proof of Expenditure" means contemporaneous documentary proof of an out-of-pocket
25    expenditure by a Class Member on a Covered Repair to the extent not fully reimbursed under a new
26 vehicle warranty or any extended warranty or goodwill adjustment. In the case of an Engine Group A
27 Repair, Proof of Expenditure must document that the repair was made due to a failed intake manifold
28    gasket (and was not associated with a larger repair unrelated to a failed lower intake manifold gasket).
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 I    In the case of an Engine Group B Repair, Proof of Expenditure must• document that the repair was made
 2    due to an engine coolant sealability repair (including but not limited to throttle body gasket, upper
 3    intake manifold gasket, lower intake manifold gasket, or intake manifold) (and was not associated with
 4    a larger repair unrelated to a failed throttle body gasket, upper intake manifold gasket, lower intake
 5    manifold gasket, intake manifold, or other engine sealability issue). In the case of an Engine Group C
 6 Repair, Proof of Expenditure must document that the repair was made due to diagnosed Sludge. An
 7 acceptable form of proof may include any written statement based on personal knowledge by the persor
 8    or business that performed the repair, such as a receipt. In the event that contemporaneous
 9    documentary proof (i.e. an actual repair invoice or other contemporaneous documentary proof of the
10    repair) is not available, then a Claimant may satisfr the proof of expenditure requirement by submitting
11    (i) a written statement based on personal knowledge from the person or business who made the repair
12    that a copy of the actual repair invoice or other contemporaneous documentary proof of the repair is not
13    available and that the repair qualified as an Engine Group A Repair, Engine Group B Repair, or Engine
14    Group C repair as described above, and (ii) proof of payment of the repair. If a Claimant is unable to
15    provide the requisite Proof of Expenditure described above, the Claimant may submit the best available
16 written statement or other documents that the Claimant believes demonstrates a Proof of Expenditure,
17    and the Claims Administrator and General Motors, in the exercise of their joint, reasonable discretion,
18    may under subparagraph 3.6, after review of all such Claims, approve the Claim.
19            1.29. 'Proof of Internal Leak Repair Expense" means Proof of Expenditure as defined in
20    subparagraph 1.26 above where the expenditure was (i) over $1,500 and (ii) due to diagnosed internal
21    coolant leak. For purposes of this Settlement Agreement, an internal coolant leak means a diagnosed
22    coolant leak into the vehicle's internal components, as opposed to an external leak where coolant leaks
23    only out of the vehicle.
24            1.30. "Proof of Ownership" means documentary proof that, at the time a Covered Repair was
25 performed, the Claimant owned or leased the vehicle on which the Covered Repair was performed. An
26    acceptable form of proof may include a copy of a vehicle registration card, proof of insurance coverage,
27    title certificate, bill of sale, or lease agreement.
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     1            1.31. "Repair Expense" means the actual out-of-pocket expense incurred by the Claimant
     2    Class Member for the Covered Repair itself.
     3            1.32. "Representative Plaintiffs" means the named plaintiffs in the Actions, including all eases
     4 consolidated as part of MDL No. 1562 and all named plaintiffs in the Second Amended Consolidated
     5    Class Action Complaint filed in MDL No. 1562, and the named plaintiffs in the Amico/Bertino
     6 Actions, excluding Mark Glover, Jason Bertino and Donald Hemans.
     T            1.33. "Sludge" means a rust-like material that forms in the vehicle cooling system related to
     8 II Dex-Cool.

     9 2.        RECiTALS
    10            2.1. The Actions and the Amico[Bertino Actions that are the subject of this Settlement allege
    11    that, among other things, the Dex-Cool engine coolant installed in certain GM vehicles fails to protect
    12    the vehicles' engine and cooling system, and in fact causes damage to the engine and cooling system
    13    and that certain engine components, including certain gaskets, were defective.
    14            2.2. GM denies all allegations of wrongdoing asserted in the Actions and in the
    15    Amico/Bertino Actions and denies liability under any cause of action asserted therein. Specifically,
    16    among other things, GM denies the alleged defects, including the alleged defects in Dex-Cool coolant
    17    as well as the allegations that certain engine components, including certain gaskets, were defective.
    18            2.3. The Parties recognize that the outcome of the Actions and the Amico/Bertino Actions are
    19 uncertain and that pursuing the Actions and the Amico/Bertino Actions to litigated judgments would
    20    entail substantial cost, risk, and delay.
•   21            2.4. The Representative Plaintiffs and their counsel have conducted an investigation and
    22    evaluation of the factual and legal issues raised by the claims asserted in the Actions and believe that,
    23    light of the cost, risk, and delay of continued litigation balanced against the benefits of the settlement
    24    set forth in this Agreement, that such settlement is in the best interests of; and is fair, reasonable, and
    25    adequate for the Class as a whole.
    26            2.5. Through this Settlement, the Parties desire to compromise and settle all issues and claims
    27 that have been or could have been brought in the Actions by or on behalf of members of the Class.
    28

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 1            2.6. The Parties agree to undertake all reasonable efforts, including all steps and efforts that
 2 may become necessary by order of the Court, to effectuate the terms and purposes of this Agreement,
 3    secure the Court's approval of it, and to oppose any objections to and appeals from any order of final
 4   1 approval.
 5   3. SETTLEMENT CONSIDERATION
 6           A.      Claims Reimbursements
 7            3.1. All Class Members who submit a proper Claim Statement, Proof of Expenditure, and
 8 Proof of Ownership will be eligible to receive a cash payment from the Claims Administrator according
 9    to the following payment schedule (unless the Class Member is eligible to, and opts to, receive a cash
10 payment pursuant to subparagraph 3.2):
11                   (a) For Class Members who incurred a Repair Expense within five years of the Date of
12                       Initial Vehicle Delivery, an amount equal to the Repair Expense, up to a maximum of
13                       $400.
14                   (b) For Class Members who incurred a Repair Expense between the fifth and sixth year
15                       of the Date of Initial Vehicle Delivery, an amount equal to the Repair Expense, up to
16                       a maximum of $100.
17                   (c) For Class Members who incurred a Repair Expense between the sixth and seventh
18                       year of the Date of Initial Vehicle Delivery, an amount equal to the Repair Expense,
19                       up to a maximum of $50.
20            3.2. Any Class Member who is eligible to receive cash payment under subparagraph 3.1(a)
21    may opt to instead receive 40% of the Repair Expense, up to a maximum of $800, if the Class Member
22    submits Proof of Internal Leak Repair Expense showing a repair over $1,500 due to a diagnosed
23    internal coolant leak.
24            3.3. If a Class Member incurred multiple Repair Expenses, the Class Member may submit
25    multiple Claims, however, each Claim must be supported by a separate Claim Statement, Proof of
26    Expenditure, Proof of Ownership, and in the case of a Claim under subparagraph 3.2, Proof of Internal
27 Leak Repair Expense.
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 1            3.4. Claims may not be assigned or transferred and must be made and signed by the Class
 2 Member who incurred the Repair Expense.
 3            3.5.   The Claims Administrator has the right, if it reasonably suspects a potentially invalid
 4    Claim or fraud, to request additional documentation. General Motors has the right to perform a review
 5    of Claims and, in the event that GM reasonably suspects a potentially invalid Claim or fraud, to request
 6    additional documentation before the Claim is approved and paid. Co-Lead Counsel shall monitor the
 7    claims review and approval process to ensure that valid claims are timely paid.
 8            3.6. After giving Claimants a reasonable opportunity of at least 45 days to cure deficient
 9    Claims, the Claims Administrator shall determine the sufficiency or deficiency of all Claims. GM and
10    Co-Lead Counsel will work with the Claims Administrator to develop a process by which the
11    sufficiency or deficiency of Claims are determined, including GM's ability to challenge claims that it
12    suspects are invalid. The Claims Administrator's determination of the sufficiency or deficiency of a
13    Claim is final and not subject to appeal by any party.
14            3.7. Within 60 days after the Class Administrator approves a Claim as sufficient, the Claims
15    Administrator shall mail a check, issued to the Claimant and payable to the Claimant, in the amount
16    provided by subparagraphs 3.1 and 3.2. All such checks provided to eligible Claimants shall contain, oi
17    be accompanied by, a release providing and explaining to the Claimant that, by accepting the payment
18. and cashing the check, the Claimant releases General Motors from any and all claims related to the
19   I vehicle for which the Claim is submitted, to the extent that such claims relate to Dcx-Cool, engine
20    gaskets or engine sealability issues.
21            3.8. No Claimant shall have any claim or cause of action against the Representative Plaintiffs,
22    Class Counsel, Amico/Bertino Counsel, the Claims Administrator, GM, or any Released Persons based
23    on distributions made substantially in accordance with this Agreement and any further orders of the
24 I Court.
25            B.     Costs and Fees

26            3.9. GM will pay all costs and fees of the Claims Administrator, including amounts
27    distributed by the Claims Administrator to Class Members pursuant to subparagraphs 3.1, 3.2, and 3.7.
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 1            3.10. GM will pay all costs associated with disseminating notice of the Settlement to the Class,
 2 the form of such notice to be agreed upon by GM and Co-Lead Counsel and provided in the Notice
 3    Order issued by the Court.
 4            3.11. GM will pay to Representative Plaintiffs such incentive payments as may be awarded by
 5    the Court upon Co-Lead Counsel's request, not to exceed $140,000 in total payments to all
 6    Representative Plaintiffs. In no event shall GM be obligated to pay incentive payments in excess of
 7    $200,000 in the aggregate under this Settlement and the Missouri Dex-Cool (Gutzler) Settlement.
 8            3.12. GM will pay Class Counsel and Amico/Bertino Counsel attorneys' fees in an amount to
 9    be approved by the Court, not to exceed $14,000,000 for Class Counsel and $2,500,000 for
10 Amico/Bertino Counsel. In no event shall GM be obligated to pay for any attorneys' fees in excess of
11    $21,250,000 to Class Counsel and $2,500,000 to Amico/Bertino Counsel under this Settlement and the
12    Missouri Dex-Cool (Gutzler) Settlement, including any attorneys' fees paid to Amico/Bertino Counsel
13    in connection with the settlement and dismissal of the Amico and Bertino actions.
[4            3.13. GM will pay Class Counsel documented costs in an amount approved by the Court, not to
15    exceed $1,250,000, and costs in the amount of $300,000 to Amico/Bertino Counsel. In no event shall
16 GM be obligated to pay any payment of costs in excess of $2,500,000 to Class Counsel and $300,000 to
17 Amico/Bertino Counsel under this Settlement and the Missouri Dex-Cool (Gutzler) Settlement,
18    including any costs paid to Amico/Bertino Counsel in connection with the settlement and dismissal of
19    the Amico and Bertino actions.
20           C.      Release of Claims
21            3.14. In consideration of the benefits described above, the Representatives Plaintiffs promise,
22    covenant and agree, and each Class Member and the Class shall be deemed to have promised,
23    covenanted and agreed, that, upon the Effective Date of Settlement, the Representative Plaintiffs and
24    the Class Members, including their affiliates, subsidiaries, associates, general or limited partners or
25    partnerships, predecessors, successors, and/or assigns, including, without limitation, any of their
26    respective present or former officers, directors, trustees, employees, agents, attorneys, representatives
27    and/or shareholders, affiliates, associates, general or limited partners or partnerships, heirs, executors,
28    administrators, predecessors, successors, assigns or insurers, and anyone acting on their behalf, by

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      operation of the Judgment, shall have hereby released, waived and discharged GM, including its
 2    subsidiaries, affiliates, associates, general or limited partners or partnerships, predecessors, successors,
 3    and/or assigns, including, without limitation, any of their respective present or former officers,
 4    directors, trustees, employees, agents, attorneys, representatives and shareholders, affiliates, associates,
 5    general or limited partners or partnerships, heirs, executors, administrators, predecessors, successors,
 6    assigns or insurers and anyone acting on their behalf, individually and collectively, from liability for
 7    any and all claims, demands, debts, rights, causes of action or liabilities whatsoever, including known
      and unknown claims, now existing or hereafter arising, in law, equity or otherwise, arising under state

 9 statutory or common law federal statutory or common law, or foreign statutory or common law, to the
10    fullest extent permitted by law, including, but not limited to, federal or state antitrust claims, RICO
11    claims, claims arising under state consumer protection, consumer fraud, deceptive trade practices
12    statutes, common law breach of contract claims, statutory or common law fraud or misrepresentation
13    claims, breach of fiduciary duty claims or unjust enrichment claims and whether possessed or asserted
14    directly, indirectly, derivatively, representatively or in any other capacity, and whether or not such
15    claims were or could have been raised or asserted in the Actions or the Amico/Bertino Actions, to the
16    extent any such claims are based upon, arise out of or relate to, in whole or in part, any of the
17    allegations, acts, omissions, transactions, events, conduct, or matters arising from or related to any
18    Repair Expense. Claims for personal injury, and claims for lower intake manifold gasket replacements
19 in 4.3-liter V6 engines for Class Members who have not submitted a Claim and received a payment
20    under the settlement, are not released. The Parties recognize and agree that this is a general release.
21    Representative Plaintiffs and the Class Members expressly waive and relinquish, and shall be deemed
22    to have waived and relinquished, to the fullest extent permitted by law, the provisions, rights, and
23    benefits of California Civil Code section 1542 and the provisions, rights, and benefits conferred by any
24 law of the United States, any law of any State or the District of Columbia, or any principle of common
25    law that is similar, comparable, or equivalent to California Civil Code section 1542, which states, "A
26    general release does not extend to claims which the creditor does not know or suspect to exist in his or
27 her favor at the time of executing the release, which if known by him or her must have materially
28    affected his or her settlement with the debtor."
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              3.15. Upon the Effective Date of Settlement, for the consideration provided for herein and by
 2    operation of the Final Order and Judgment, the Representative Plaintiffs shall have, and each Class
 3    Member and the Class shall be deemed to have, covenanted and agreed that he or she shall not, at any
 4    time, institute, cause to be instituted, assist in instituting or permit to be instituted on his or her behalf
 5    any proceeding in any state or federal court, in or before any administrative agency, or any other
 6    proceeding or otherwise allege or assert any of the claims released against the Released Persons,
 7    individually or collectively, in subparagraph 3.14 above.
 K            3.16. Upon the Effective Date of the Settlement, GM and its past or present officers, directors,
 9    employees, agents, attorneys, predecessors, successors, affiliates, subsidiaries, divisions, and assigns,
10    shall be deemed to have, and by operation of the Judgment shall have, released, waived, and discharged
11    any and all claims or causes of action of any nature whatsoever, including but not limited to any claim
12    for violations of federal, state, or other Jaw (whether in contract, tort, or otherwise, including statutory,
13 common law, property, and equitable claims), whether known or unknown, that have been or could
14    have been asserted against any Representative Plaintiff, counsel for any Representative Plaintiff, or any
15    Class Member, in the Actions or in any other complaint, action, or litigation in any other court or forum
16    arising from, based on, or related to the initiation, prosecution, or resolution of the Actions to the extent
17    any such claims are based upon, arise out of or relate to, in whole or in part, any of the allegations, acts,
18    omissions, transactions, events, conduct, or matters arising from or related to any Repair Expense. The
19    Parties recognize and agree that this is a general release, and shall have expressly waived and
20    relinquished, to the fullest extent permitted by law, the provisions, rights, and benefits of California
21    Civil Code section 1542 and the provisions, rights, and benefits conferred by any law of the United
22    States, any law of any State or the District of Columbia, or any principle of common law that is similar,
23    comparable, or equivalent to California Civil Code section 1542, which states, "A general release does
24    not extend to claims which the creditor does not know or suspect to exist in his or her favor at the time
25    of executing the release, which if known by him or her must have materially affected his or her
26    settlement with the debtor."
27            3.17. Upon the Effective Date of Settlement, for the consideration provided for herein and by
28    operation of the Judgment, GM and its past or present officers, directors, employees, agents, attorneys,
                                                     13
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 1    predecessors, successors, affiliates, subsidiaries, divisions, and assigns, shall be deemed to have, and by
 2    operation of the Judgment shall have, covenanted and agreed that he, she or it shall not, at any time,
 3    institute, cause to be instituted, assist in instituting or permit to be instituted on his, her or its behalf any
 4    proceeding in any state or federal court, in or before any administrative agency, or any other proceedin
 5    or otherwise allege or assert any of the claims released against the Representative Plaintiffs, Class
 6    Counsel, and all Class Members, individually or collectively, in subparagraph 3.16 above.
 7            3.18. The sole remedy for default of this Agreement by either of the Parties is an action for
 8    breach of this Agreement. Following entry by the Court of a Judgment that substantially takes the form
 9    of Exhibit C to this Agreement and completion of all obligations and undertakings set forth therein, no
10    default by any party shall affect the final dismissal of the Actions or the Amico/Bertino Actions with
11    prejudice, the discharge of any of GM, any Released Persons, Class Counsel, Amico/Bertino Counsel,
12    Representative Plaintiffs, or Class Members, either individually or collectively, or the releases and
13    covenants provided in connection with this Agreement and set forth in subparagraphs 3.14-3.17.
14   4. DENIAL OF WRONGDOING OR LIABILITY
15            4.1. This Agreement constitutes the resolution of disputed claims, is for settlement purposes
16   I only, and shall not be used by any party, Class Counsel or Amico/Bertino Counsel for any other
17    purpose. GM expressly denies that it has violated any law, breached any agreement or obligation to the
18    Representative Plaintiffs or the Class, or engaged in any wrongdoing with respect to the Representative
19    Plaintiffs or the Class. GM denies that it is liable to the Representative Plaintiffs or to the Class for any
20    claims, causes of action, costs, expenses, attorneys' fees or damages of any kind relating to Repair
21    Expenses. GM denies that any of the claims were appropriate for maintenance as a class action through
22    trial. Neither this Agreement nor any actions undertaken by GM in satisfaction of this Agreement shall
23    constitute, or be construed as, an admission of any liability or wrongdoing, or recognition of the
24    validity of any allegation of fact or law made by the Representative Plaintiffs in the Actions, the
25    Amico/Bertino Actions, or in any other action or proceeding. Any orders related to class certification
26    entered in this action under this Agreement or otherwise shall not constitute, in the Actions, the
27    Amico/Bertino Actions, or any other proceeding, an admission by GM that the Representative
28    Plaintiffs' claims, or those of any alleged Class Member, are appropriate for class treatment or that any
                                                     14
                                 MASTER CLASS ACTION SETTLEMENT AGREEMENT
                              JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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          requirement for class certification is otherwise satisfied in the Actions or the Amico/Bertino Actions.
     2    By entering into this Agreement, GM in no way waives its right to challenge or contest, on any and all
     3    grounds, any allegations that a class may be certified in the Actions or Amico/Bertino Actions or any
     4    order regarding class certification that has been entered in the Actions or the Amico/Bertino Actions. I
     5    this Agreement is terminated and becomes null and void, the class action aspects of the Agreement
     6    shall have no further force and effect with respect to any Party and shall not be offered in evidence or
     7 used in the Actions, the Amico/Bertino Actions, or any other proceeding, This Agreement, even when
          Effective, shall not be offered or be admissible in evidence against GM or cited or referred to in any
     9    action or proceeding, except in an action or proceeding brought to enforce its terms or by GM in
    10    defense of any claims brought by the Representative Plaintiffs, the Class or by any Class Members.
    11   5. SETTLEMENT APPROVAL PROCESS
    12            5.1. The Parties will apply to the Court for entry of the proposed Notice Order and setting of
    13    hearing for the Court to consider (a) whether to make final its certification of the Class for purposes of
    14    the Settlement but not for trial purposes; (b) whether to grant final approval of the Settlement as fair,
    15    reasonable, and adequate for Class as a whole; (c) whether to grant Class Counsel's application for
    16    attorneys' fees and costs and the Representative Plaintiffs' incentive award and, if so, in what amounts;
    17    and (d) any related matters as appropriate ("Fairness Hearing").
    18            5.2.   Within five business days of the Court granting final approval of the Settlement, GM will
    19    deposit $24,200,000 into an interest-bearing bank account established at a bank of GM's choosing,
20        subject to the reasonable approval of Co-Lead Counsel. Within five business days after the
•    1 . Settlement's Effective Date, and absent any appeal by an objector from an order awarding (i)
22        Representative Plaintiffs an amount up to $140,000 in incentive payments (ii) attorneys' fees in an
23        amount not to exceed $16.50 million for both (and all) Class Counsel and Amico/Bertino Counsel
24        and/or (iii) documented costs in an amount not to exceed $1.55 million for both (and all) Class Counsel
25        and Amico/Bertino Counsel, that does not and could not result in the reversal and/or modification of the
26        Judgment (including the release provisions contained in paragraphs 3.14 through 3.18) GM will transfer
27 the total amount of the fee and cost award and any incentive payment award, including any interest
28        earned on the $24,200,000 million deposit, from the account to a bank account as directed by Co-Lead
                                                               15
                                    MASTER CLASS ACTION SETTLEMENT AGREEMENT
                                 JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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 1    Counsel. In the event that any fee, cost, or incentive award is later distributed from the account
 2    pursuant to the Missouri Settlement, any interest earned on such principal amounts shall be, at that
 3    time, transferred to a bank account as jointly directed by Co-Lead Counsel in writing. In the event that

 4 the Settlement does not become Effective, General MOtors retains all right to the amount distributed in
 5    the account and may withdraw and retain the full amount, including any interest earned.
 6            5.3.    Co-Lead Counsel will in good faith allocate the fee award among Class Counsel in a
 7    manner which, in the judgment of Co-Lead Counsel, reflects their relative contributions to the Actions
 8    and the Agreement. Amico/Bertino Counsel shall receive $2,500,000 in attorneys' fees and $300,000
 9    in costs, which shall satisfj any claims for attorneys' fees and costs as between: (1) General Motors
10 and Amico/Bertino Counsel; and (2) Amico/Bertino Counsel and Class Counsel. Any disagreement
11    among Class Counsel or between Co-Lead Counsel and Amico/Bertino Counsel concerning the
12    distribution of the fee award shall be referred to a mediation process determined by Co-Lead Counsel
13    and, if necessary, to the Court for determination. Co-Lead Counsel will in good faith allocate the
14    incentive awards among the Representative Plaintiffs in a manner which, in the judgment of Co-Lead
15    Counsel, and as approved by the Court, reflects their relative contribution to the Actions and the
16 Agreement. Co-Lead Counsel, Class Counsel, Amico/Bertino Counsel and the Representative
17 Plaintiffs shall have no recourse to, nor any claims of any nature whatsoever against, GM in the event
18    of a disagreement as to the apportionment of any fee or incentive award.
19            5.4. GM and Co-Lead Counsel will work together with, among others, the Settlement
20 II Administrator to disseminate notice to the Class in accordance with the Notice Order. No later than the]
21    day the motion for final approval of the Settlement is to be filed under the Notice Order, the Settlement
22    Administrator or such other appropriate person or entity, among others, will file an affidavit or
23    declaration attesting that notice to the Class was disseminated in accordance with the Notice Order.
24           5.5.    Class Members must submit their exclusion requests, objections and supporting papers,
25    and notices of intent to appear in accordance with the Notice Order and the notice to the Class
26    disseminated pursuant to the Notice Order.
27
28
                                                     16
                                MASTER CLASS ACTION SETTLEMENT AGREEMENT
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 1            5.6. If the number of exclusion requests exceed 10,000, GM shall have the option to rescind
 2    this Settlement at its sole discretion by filing with the Court written notice of such election, with proof
 3    of service on Co-Lead Counsel, no later than three days before the Fairness Hearing.
 4            5.7. In accordance with the Notice Order or such other or further order of the Court, Co-Lead
 5    Counsel will file a motion for final approval of the Settlement and an application for attorneys' fees
 6    costs and incentive awards for the Representative Plaintiffs, and the Parties will brief the motion and
 7    application.
 8            5.8.   The Parties will appear at the Fairness Hearing and present their arguments in support of
 9    final approval of the Settlement and entry of the proposed Judgment, and Co-Lead Counsel will present
10    their arguments in support of an award of attorneys' fees and costs and incentive awards for the
11    Representative Plaintiffs. GM agrees that the attorneys' fees, costs, and incentive awards, as set forth
12    in subparagraphs 3.11-3.13, are reasonable, and thus will not object to or oppose an award of attorneys'
13    fees and costs and incentive awards for the Representative Plaintiffs, provided the amounts sought do
14    not exceed that provided for by subparagraphs 3.11-3.13.
15            5.9. The Actions and the Amico/Bertino Actions shall be stayed until the Court grants or
16    denies final approval of the Settlement. After the Effective Date of Settlement, Co-Lead Counsel, on
17    behalf of all Class Counsel will, within thirty days, execute joint stipulations of dismissal, with
18    prejudice, of the remaining Actions and deliver such joint stipulations for dismissal with prejudice to
19    General Motors for filing in the remaining Actions. After the Effective Date of the Settlement,
20 Amico/Bertino Counsel will dismiss the Amico/Bertino Actions, as provided in Exhibit D, attached
21    hereto or any subsequent agreement entered into between GM and Arnico/Bertino Counsel formalizing
22    the term sheet attached hereto.
23            5.10. This Agreement shall, if either GM or the Co-Lead Counsel elect, be null and void and
24    shall have no further force and effect with respect to any party in the Actions or the Amico/Bertino
25    Actions in the event that (i) preliminary and final approval of the settlement and of the settlement in
26    Gutzler v. General Motors, Case No. 03CV208786 (Jackson County Missouri), is not obtained, or if
27    such approval is reversed on appeal; (ii) the Effective Date of Settlement for this Settlement and the
28    settlement in Gutzler v. General Motors, Case No. 03CV208786 (Jackson County Missouri), does not
                                                           17
                                MASTER CLASS ACTION SETTLEMENT AGREEMENT
                             JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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      occur for any reason; (iii) entry of the Judgment described is reversed; (iv) the Judgment is substantiall)
 2    modified by the Court, or on appeal, and GM or the Representative Plaintiffs do not agree with its
 3    modification; or (v) the remaining Actions are not dismissed with prejudice after presentation of the
 4 joint stipulations by General Motors as referenced in 5.9 above. In such event, this Agreement shall not
 5    be offered in evidence or used in the Actions, the Amico/Bertino Actions, or in any other action for any
 6    purpose including, but not limited to, the existence, certification or maintenance of any purported class
 7    or in connection with a trial or appeal of this matter or any other matter. In such event, this Agreement
      and all negotiations, proceedings, documents prepared and statements made in connection with this
 9    Agreement shall be without prejudice to the Parties and shall not be admissible into evidence, and shall

10 not be deemed or construed to be an admission or confession by any of the Parties of any fact, matter or
11    proposition of law, and shall not be used in any manner for any purpose, and all Parties to the Actions
12    and the Amico/Bertino Actions shall stand in the same position as if this Agreement had not been
13    negotiated, made or filed with the Court.
14   6.      MISCELLANEOUS PROVISIONS

15           6.1. The Representative Plaintiffs and GM expressly agree that the terms of this Agreement
16    and all provisions hereof, including all representations, promises, agreements, covenants, and
17 warranties, are contractual and not a mere recital and shall survive the execution of this Agreement and
18    entry of the Judgment and shall continue in full force and effect thereunder. All exhibits to this
19    Agreement are material and integral parts hereof and are fully incorporated herein by this reference.
20           6.2. This Agreement represents the entire agreement and understanding among the Parties
21    supersedes all prior proposals, negotiations, agreements, and understandings relating to the subject
22 matter of this Agreement, the sole exception being the term sheet attached hereto as Exhibit D and any
23 agreement entered into between Amico/Bertino Counsel and GM to effectuate that term sheet. The
24    Parties acknowledge, stipulate, and agree that no covenant, Obligation, condition, representation,
25    warranty, inducement, negotiation, or understanding concerning any part or all of the subject matter of
26    this Agreement has been made or relied on except as expressly set forth in this Agreement. No
27    modification or waiver of any provisions of this Agreement shall be effective unless made in writing
28 and signed by or on behalf of the person against whom enforcement of the Agreement is sought.
                                                     18
                                MASTER CLASS ACTION SETTLEMENT AGR1MENT
                             JUDICIAL COUNCIL COORDINATION PROCREDING NO. 4495
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 1               6.3. This Agreement may be executed in one or more counterparts, each of which shall be
 2    deemed an original as against any Party who has signed it, and all of which shall be deemed a single
 3 II agreement.
 4               6.4. The Parties have negotiated all of the terms and conditions of this Agreement at arm's
 5    length. None of the Parties or their respective counsel will be deemed the drafter of this Agreement or
 6    its exhibits for purposes of construing the provisions thereof. The language in all parts of this
 7    Agreement and its exhibits will be interpreted according to its fair meaning, and will not be interpreted
 8    for or against any Party as the drafter thereof.
 9               6.5.   In accordance with California Rule of Court 3.769(h), the Court will retain continuing
10    and exclusive jurisdiction over the Parties and all Class Members for purposes of implementing and
11    enforcing this Agreement and the Settlement.
12               6.6. The Parties hereto warrant and represent that no promise or inducement has been offered
13    or made for the release and covenants in subparagraphs 3.14-3.17 except as herein set forth, that the
14    releases and covenants are executed without reliance on any statements or any representations not
15    contained herein, and the release and covenants reflects the entire agreement among the Parties with
16    respect to the terms of the releases and covenants, except as provided above with respect to the attached
17    term sheet and any agreement entered into to further memorialize the term sheet.
18               6.7. The Parties acknowledge and agree and specifically warrant to each other that they have
19    fully read this Agreement and the releases and covenants contained in subparagraphs 3.14-3.17,
20    received independent legal advice with respect to the advisability of entering into this Agreement and
21    those releases and covenants, and the legal effect of this Agreements and the releases and covenants,
22    and filly understand their effect.
23               6.8. GM and Co-Lead Counsel may agree, on behalf of the Parties and subject to approval of
24    the Court where required, to reasonable extensions of time to carry out the provisions of this
25    Agreement. For purposes of such extensions, agreement by Co-Lead Counsel is the agreement of all
26    Parties.
27
28
                                                      19
                                  MASTER CLASS ACTION SETTLEMENT AGREEMENT
                               JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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 1            6.9. This Agreement will be binding upon and inure to the Parties' successors and assigns.
 2    This Agreement is not intended to create any third party beneficiaries other than persons (including
 3    Class Members) for which a direct benefit is specifically provided for hereunder.
 4            6.10. In the event that the release and covenants contained in subparagraphs 3,14-3.15 of this
 5    Agreement shall for any reason be held in whole or material part to be invalid, illegal, or unenforceable
 6    in any respect, such invalidity, illegality, or unenforceability shall not affect any other provision of this
 7    Agreement if GM elects in writing to Co-Lead Counsel to proceed as if such invalid, illegal, or
 8    unenforceable provision had never been included in this Agreement. If no such election is made, then
 9    the Agreement shall be null and void. In the event that the release and covenants contained in
10    subparagraphs 3.16-3.17 of this Agreement shall for any reason be held in whole or material part to be
11    invalid, illegal, or unenforceable in any respect, such invalidity, illegality, or unenforceability shall not
12    affect any other provision of this Agreement if the Representative Plaintiffs elect, either individually or
13    collectively, in writing to proceed as if such invalid, illegal, or unenforceable provision had never been
14    included in this Agreement. If no such election is made, then the Agreement shall be null and void. If
15    one or more of the other material provisions contained in this Agreement is held to be invalid, illegal, oi
16    unenforceable, such invalidity, illegality, or unenforceability will not affect other provisions if GM and
17    the Representative Plaintiffs, on behalf of the Class, both elect to proceed as if such invalid, illegal, or
18    unenforceable provision were not contained in this Agreement.
19            6.11. No consideration or amount or sum paid, credited, offered, or expended by GM in its
20    performance of this Agreement constitutes a penalty, fine, punitive damages or other form of
21    assessment for any alleged claim or offense.
22            6.12. For purposes of this Agreement, the Parties and all counsel agree that all orders and
23    agreements regarding the confidentiality of documents and information ("Protective Orders") remain in
24    effect and all Parties and counsel remain bound to comply with the provisions of those Protective
25    Orders. Within thirty days of the Effective Date of Settlement, each of the Parties agrees to use its best
26    efforts to return all documents produced in these Actions or belonging to Defendants and all copies
27    thereof, and each of the Parties' counsel will certify in writing that it used its best efforts to return all
28    documents have been returned to the producing party.
                                                     20
                                 MASTER CLASS ACTION SETTLEMENT AGREEMENT
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 I            6.13. GM and Co-Lead Counsel agree to use their best efforts to issue a joint, written press
 2   I release within 48 hours of formal execution of this Settlement Agreement.
 3            6.14. The Parties hereto understand, acknowledge and agree that they and their counsel (i) hay
 4    each performed an independent investigation of the allegations of fact and law made in connection wit
 5    the Actions and the Amico/Bertino Actions, and (ii) that they each may hereafter discover facts in
 6    addition to, or different from, those that they now know or believe to be true with respect to the subjec
 7    matter of this Agreement. Nevertheless, it is the Parties' intention to resolve their disputes pursuant to
 8    the terms of this Agreement and, thus, in furtherance of their intentions, the Agreement shall remain in
 9    full force and effect notwithstanding the discovery of any additional facts or law, or changes in law, and
10    this Agreement shall not be subject to rescission or modification by reason of any change or difference
11    in facts or law.
12            6.15. This Agreement shall be governed and construed in accordance with the internal laws of
13   I the State of California, without regard to any conflict of law provision that could require the application
14    of the law of any other jurisdiction.
15            6.16. Whenever under the terms of this Agreement, a Party is required to provide written no
16    to the other, such notice must be directed to the individual at the address specified below, unless that
17    individual or the individual's successor gives notice to the other Party in writing of another individual
18    or address to whom such notice should be directed:
19           Written notice to the Representative Plaintiffs must be given to:
20                           Eric H. Gibbs
                             Girard Gibbs LLP
21                           601 California Street, 14th Floor
                             San Francisco, California 94108
22
                             P. John Brady
23                           Shughart Thomson & Kilroy, P.C.
                             Twelve Wyandotte Plaza
24                           120 West 12th Street
                             Kansas City, MO 64105
25
             Written notice to GM must be given to:
26
                             Robert B. Ellis, P.C.
27                           Kirkland & Ellis LLP
                             200 East Randolph Drive
28                           Chicago, Illinois 60601
                                                     21
                                 MASTER CLASS ACTION SETTLEMENT AGREEMENT
                              JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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     1           IN WITNESS HEREOF, the Parties have caused this Agreement to be executed by their duly
     2. authorized attorneys below.
    3
    4
.   5
           Eric H. Gib-                                          Robert B. Ellis, P,C
     6     Girard Gibbs LLP                                      Kirkland & Ellis LLP
           601 California Street, 14th Floor                     200 East Randolph Drive
    7      San Francisco, California 94108                       Chicago, Illinois 60601
     8                                                           Attorneys for GM
    9
           P. John Brady
10         Shughart Thomson & Kilroy, P.C.                       Michael F. Ram
           Twelve Wyandotte Plaza                                Levy, Rain & Olson LLP
11         120 West 12th Street
           Kansas City, MO 64105                                 639 Front Street
12                                                               Fourth Floor
           Co-Lead Counsel                                       San Francisco, CA 94111
13
                                                                 Attorneys for Arnico/Bertino Actions
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                                    MASTER CLASS ACTION SEITLEMENT AGREEMENT
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                iN WFINESS HEREOF, the Parties have caused this Agreement to be executed by their duly
     2           ed attorneys below.
     3
     4
     5
          Eric H. Gibbs                                      Robert B. Ellis, P.C.
     6    Girard Gibbs LLP                                   Kirkland & Ellis LLP
          601 California Street, 141h FLcxr                  200 East Randolph Drive
     7    San Frandsc, California 94108                      Chicago, Illinois 60601
     8.                                                      Attorneys for GM

     9
    10
                                                             Michael F. Rem
          Twelve Wyandotte Plaza                             Levy, Ram & Olson LLP
    11    120 West 12th Street
          Kansas City, MO 64105                              639 Front Street
    12                                                       Fourth Floor
          Co-Lead Counsel                                    San Francisco, CA 94111
    13
                                                             Attorneys for Amico/J3ertino Actions
    14
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 1          IN WETNESS HEREOF, the Parties have caused this Agreement to be executed by their duly
 2   authorized attorneys below.
 3
 4
 5
      Eric H. Gibbs                                    Robert B. Ellis, P.C.
 6    Girard Gibbs LLP                                 Kirkhind & Ellis LLP
      601 California Street, 14th Floor                200 East Randolph Drive
 7    San Francisco, California 94108                  Chicago, Illinois 60601
 8                                                     Attorneys for GM
 9
10
      P. John Brady
      Shughart Thomson Si Kilroy, P.C.
                                                         y'L1
                                                       Michael F. Ram
      Twelve Wyandotte Plaza                           Levy. Ram & Olson LLP
11    120 West 12th Street
      Kansas City, MO 64105                            639 Front Street
12                                                     Fourth Floor
      Co-Lead Counsel                                  San Francisco, CA 94111
13
                                                       Attorneys for Amico/Bertino Actions
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                               MASTER CLASS ACTION SETFLEMENT AGREEMENT
                            JUDICIAL COUNCIL COORDINATION PROCEEDING NO. 4495
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            IN WITNESS HEREOF, the Parties have caused this Agreement to be executed by their duly

 2   authorized attorneys below.




      Eric H. Gibbs                                         RorW ETI1P.C.
 6    Girard Gibbs LLP                                      Kirkland & Ellis LLP
      601 California Street 14th Floor                      200 East Randolph Drive
      San Francisco, California 94108                       Chicago, Illinois 60601
 8               .                          .               Attorneys for GM
 9
      P. John Brady
      Shughart Thomson & Kilroy, P.C.                       Michael F. Ram
      Twelve Wyandotte Plaza                                Levy, Ram & Olson LLP
      120 West 12th Street
      Kansas City, MO 64105                                 639 Front Street
12                                                          Fourth Floor
      Co-Lead Counsel               .                       San Francisco, CA 94111
13
                                                            Attorneys for Amico/Bertino Actions
14
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                              MASTER CLASS ACTION SETTLEMENT AGREEMENT
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                        EXHIBIT B
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            SUPERIOR Coui OF THE STATE OF CALiFoRNIA FOR I IIECOUNry OF ALAMEDA
                   SADOWSKJ i GENERAL MOTORS CORP., CASE No 1TG03091369


                      If you have ever owned or leased
          any of the General Motors vehicles listed on pages 2-3,
       please read this notice carefully, as it affects your legal tights.
                 The California Superior Court for Alameda County a uthorized thz.s notice
                                  This is not a sohcita:zon from a lawyer

  The purpose of tha notice z.s to provide infortnanon about a cla.s s action settlement and to inform people
                      covered by the proposed Settlement of their rights and opt zon.s

  • There is a proposed class action Settlement involving the GM vehicles listed in paragraph 4 These
     vehicles were factory-equipped with Dex-Cool Dex-Cool is an engine coolant designed to protect
     vehicles engine and cooling systems.

  • You arc included in this proposed Settlement if you own or lease or previously owned or leased any of
     these vehicles and made repairs related to the use of l3ex-Cool as outlined in paragraph 4 of this Notice

  * Repairs involving intake manifold gasket failures, engine coolant sealing issucs,and sludge (a rust-like
     material) are covered by this proposed SeLtiement These repairs would likely involve paris like the
     intake manifold and/or manifold gaskets, throttle body gaskets, radialor cap, heater core, water pump
     and other parts of the cooling system Sec paragraph 4 for a complete description of the speulic types
     of repairs covered for each vhicic type

  • The Court in charge of this case still has to decide whether Lo give final approval to the proposed
     Settlement Valid cLaims will be paid if the proposed Settlement is approved                      -

  • The types of repairs covered in the proposed Settlement, how to file a claim and your legal i ights to
      participate or exclude yourself are outlined in this Notice Please read it carefully




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                                                                                      a
                                  The only way to get a payment Submit your claim online or by mail
     SuBMI I A Ci AIM
                                  by October 21, 2008

                                  Get no payment This is the only option that allows you to be part of
     EXCLUDR YOURSELF
                                  any other lawsuit concerning the issues being settled now

     CoMIEN ON THE                Write to the Court about why you support or oppose the proposed
     PR0POsEI) SETTLEMENt         Settlement


     Co TO A hEARING              Ask to speak to the Court about the proposed Settlement


                                  Get no payment Be barred from bringing or being part of any other
     Do NOthING
                                  lawsuit concerning the issues being settled now




        QucSx IONS9 VlSI I www DcxCooLSCn LEMENT COM OR CALL TOLIFRCI: 1(866) 245-4291
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1.      TIM LITIGATION: A number of lawsuits were filed as class actions against GM in state and federal
courts across the United Slates involvLng "Dex- Cool" extended-life engine coolant Among other things, the
lawsuits allege that (i) Dex-Cool in the vehicles listed below caused problems with the vehicles' engines or
cooling systems, and (ii) that certain engine coniponenLc, such as the nylon/silicone lower intake manifold
gaskets equipped in certain vehicles, were defective

2       GM's POSITION: GM denies all allegations of wrongdoing and denies liability under any claim
asserted In the lawsuits GM argued that Dex-Cool protected engines for a longer period than traditional
coolants, caused less wear on certain engine parts than traditional coolants, and provided environmental
benefits GM further argued that alleged problems with the vehicles' engines or cooling systems were caused
by owners not following the maintenance instructions for iheir vehicles or other factors

3.      GM's AGREEMENT TO SETTLE: GM has agreed to a class action settlement of the lawsuits GM will
reimburse class members up to a specilied amount for certain repair costs they paid during the first seven years
or 150,000 miles of vehicle ownership or lease, whichever is earlier

This notice is to inform class members of the existing lawsuits,.the major terms of the proposed Settlement,
and class members' rights and options This proposed Settlement will not become effective unless• it is
approved by the Court as described below

4       CLASS COVERED BY tilE P1orosED SEllutMItr'U You are included in the class (i) if you are a
United States resident, (ii) if you own or lease, or previously owned or leased, any of the vehicles listed below,
For personal, family, or household use (as opposed to commercial or business use), and (iii) if the vdhiche was
not purchased or leased in the State of Missouri, and

   (a) The vehicle has been in service for over seven years since the date the original buyer or lessee took
       delivery of the vehicle, and
   (b) As of the date of this Notice (May 30, 2008); you have not had to pay for any Covered Repair that was
       performed during the first seven years or 150,000 miles (whichever is earlier) alter the date the original
       buyer or lessee took delivery of the vehicle,
                                                          On
   (c) Regardless of how long the vehicle has been in service, you paid out-of-pocket br d Covered Repair
       that was performed during the first seven years or 150,000 miles (whichever is earlier) after the date the
       original buyer or lessee took delivery of the vehicle

                                            GROUP A VEIl ICLItS

                                             Model years 1995-2003
 Equipped with 3.1-liter or 3,4-liter V6 engine, manufactured beFore April 10, 2003 with a nyloiifsilicone
                                         lower intake manifold gasket.
        Buick                Century, Rendezvous
        Chevrolet            Impala, Lumina, Malibu, Monte Carlo, Venture
        Oldsmobile           Alero, Cutlass, Silhouette
        Pontiac              Aitek, Grand Am, Grand L'rix, Montana, Trans Sport



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Note Sonic of these vehicles may have been offered for sate with an engine other than a 3 1 -liter or 3 4 -liter
V6 engine Any of the above models sold with an engine other than a 3 I-tiler or 3 4 -hter V6 engine ame nol
included and are noi eligible to make a claim

     Group A Covered Repairs; Replacement of tailed nylon/silicone lower intake manifold gasket.


                                            GROUI' B VEHICLES

                                             Model years 1995-2004
                 Equipped with 3.8-liter V6 engine (internal CM engine designation.RPO L36).
        Buick                 LeSabre, Park Avenue, Regal, Riviera
        Chevrolet             Camaro, Impala, Lununa, Monte Carlo
        Oldsmobile            Eighty-Eight, Intrigue, LSS, Ninety-Eight
        Pontiac               Bonneville, Firebird, Grand Prix

Note Some of these vehicles may have been ollered for sale with an engine other than a 3 8-liter VG engine
RPO L36 Any of the above models sold with an engine other than a 3 8-liter V6 engine RPO L36 are not
included and are not eligible to make a claim

                Group B Covered Repairs: Repairs necessitated by engine coolant sealing issues,
                  including replacement of throttle body gasket, upper intake manifold gasket,
                                lower intake manifold gasket, or intake manifold.


                                             GROUP C VEHICLES
                                             Model years 1995-20tlg
                                        Equipped with 4.3-liter V6 engine
        Chevrolet
                             J Blazer, Chevrolet S-lU
       rGMC
        Oldsmobile
                             fltnvoy,Jimniy,S-15
                              Bravada

          Group C Covered Repairs: Repairs necessitated by cooling-system sludge, including
  coolingsystem flush, beater core rcpazrs, water pump repairs, or radiator cap replacement "Sludge"
                            refers to a rust-like material that can form in the
                   cooling system and whose.Iorrnaflon is relatCd to use of Dex-Cool.

If you Own one of the models listed above, but (i) with a different engine size than what is listed, or (Ii) the
vehicle was manufactured using a lower intake manifold gasket other than a nylon/silicone gasket, or (lii) the
vehicle is a Group A vehicle manufactured after April 9, 2003, then you ale not covered by the settlement and
are not eligible to tile a claim


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People who purchased or leased their GM vehicle in Missouri are not included in this proposed Settlement
They are instead included in a separate proposed Settlement that is being submitted for approval to a Missouri
state court The settlement benefits of the proposed Missouri settlement arc the same as the settlement benefits
of the proposed Settlement described in this rioUco

Also excluded from the class are GM, any affiliate, parent, or subsidiary of GM, any entity in which GM mis a
controlling interest, any officer, director, or employee of GM, ally successor or assign of GM, anyone
employed by counsel for any of the named plaintiffs in the lawsuits covered by this proposed Settlement, any
judge to whom any of the lawsuits is assigned, as well as his or her immediate family, and all persons who
timely and validly request exclusion from the class (The procedure for exclusion is described below)

The Court has appointed the following lawyers as Co-Lead Counsel to represent the class for purposes ot the
proposed Seffleinent

        Eric H Gibbs                                 P John Brady
        Girard Gibbs LLP                             Shugliart Thomson & Kilroy P C
        601 California Street, Suite 1400            Twelve Wyandotte Plaza
        San Francisco, California 94 108             120 West 12th Street
                                                     Kansas City, Missouri 64105

5.      SETTLEMENt BENEFI i s Under the proposed Setilernent, GM will send cash reimbursements to class
members who paid for Covered Repairs performed within seven years or 150,000 miles (whichever is earlier)
alter the original owner or lessee took delivery oithc vehicle, and who submit timely and valid claims

The amount of reimbursement for which you arc eligible depends on (i) when tile Covered Repair was
perfOrmed and (ii) the amount you actually paid, as described below

     a For a Covered Repair made wtlim five years after initial vehicle delivery
        You are eligible to he icinibLirsed the documented amount you paid out-of-pocket up to $400, if you
        were not pieviously fully reimbursed
        However, if you Lan document that the Covered Repair required you to pay over $1,500 to 4 ddrcss an
        internal coolant leak, your reimbursement level may be diffrcnt If so, you can elect to request
        reimbursement ol 40% of the amount you paid out-of-pocket up to $800, II you were not previously
        filly reimbursed
        (An internal coolant leak means that coolant leaked from one vehicle component into another
        component Whereas art cxernal coolant leak means that coolant leaked from inside a vchicle
        component to tue exterior of the vehicle)
     b For a Covered Repair niade in the sixth year after initial veincic delivery
        You are eligible to be reimbursed the documented amount you paid out-of-pocket up to $100, if you
        were not previously fully reimbursed
     c For a Covered Repair made in the .scveulli year after initial vehicle delivery:
        You are eligible to be reimbursed the documented amount you paid out-of-pocket up to $50, if you,
         were not previously fully reimbursed
llyou paid for more than one Covered Repair (wliethcr on the same vehicle or on different vehicles included in
the proposed Settlement), you may make a separate icimbursement claim for each one




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6.     How To MAKE A CLMM To make a claim for a reimbursement under the proposed Settlement, you
must submit the following documents, either online or by mail If you do not submit each of the following
documents, and fully complete the claim statement, your claLm may be denied

  (a)    Completed Claim Statenieiit. A Claim Statement form is enclosed with this Notice llyou need more
         forms, you can photocopy this one or download additional copies from the proposed Seulcrnent Web
         site at www DexCoolSertlernent con-i     You can also cal the Claims Adimrnstrator iol-free at
         1 (866) 2454291 to have marc forms niailecl to you
  (b)    Proof of repair payment. You must provide documentation showing that you paid out-of-pocket for a
         Covered Repair, for which you were not fully reimbursed Please read the instructions on the Clan -i
         Statement form for more details

  (c)    Proof of ownership or lease. You must provide documentauon showing that you owned or leased the
         vehicle at the time of the Covered Repair Please read the instructions on the Claim Statement form for
         niore details

   d) If you wish to submit your claim by mail, you must mail the above documents, postmarked no later
       than October 27, 2908, to the Claims Administrator at the address listed on Ihe Claim Statement form

  (e)    [1 you wish to submit your claim online, plcae go to www DexCoolSettleinent corn, fill out the online
         Claim Statement form, and attach scanned versions of your required documentation before clicking the
         button to submit your ciairn Online claims must be submitted no later than midnight on October
         27, 2008.

   (f)   If you wish to make reimbursement claims for two or more Covered Repairs, you must submit -a
         separate set oldocuments (Clami Sta(ement, proof of repair payment, and proof of ownership or Icase)
         for each claim You may not combine claims for more than one Covered Repair in a single Claim
         Statement

   (g)   The Claims Administrator has the right to request additional documentation before the Claim is
         approved and paid Your claim may be denied if the Claims Administrator determines that it is invalid


7.     ArronNtws' FEES AND Exi'LNsEs AND lrcENTIvE AWARDS: Since ihis litigation started in 2003,
ovei 20 law fIrms have devoted more than 43,000 hours to piosecuimg the various lawsuits across the country
on behalf of class members purely on a contingent basis, and have icceived no compensation for their services
or reimbursement, of their expenses As part of the piOposed Settlement, subject to Court approval, plaintiffs'
counsel will apply for attorneys' Ices not to exceed $16 5 million and expenses not to exceed $1 55 million

Application will be made for incentive awards not to exceed a total amount of $140,000 for the named
plaintiffs in the lawsuits There are more than 100 named plaintiffs in the lawsuits This is to recognize their
lnivatLvc and effort in pursuing the matter on behalf of otl'icr vehicle owners and lessees Any amounts
approved by the Court will be paid by GM separately 1mm and without reducing the reimbursement payments
it makes to class members under the proposed Settlement

S.      RELEASE OF CLAIMS IF Coutti Ari'ROVES 11W Pnoi'osED SETtLEMENt: If the Court approves the
proposed Setliement, it will enter a judgment that will dismiss the litigation with prejudice as to all class
members It will release all claims they may have based on any expenses they incurred because of a Covered
Repair during the first seven years or 150,000 miles (whichever is earlier) their Group A. Group B, or Group C
vehicle was in Service

This means that class members will be forever baricd from bringing, continuing, or being part of any other
lawsuit against GM and its personnel, representatives, and insurers, or GM's related companies and their
personnel, representatives, and insurers, concerning such expenses If you' fall within the class definition and
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do not want to be barred from bringing, continuing, or being part of such a lawsuit, you must exclude yourself
from the class and proposed Settlement here

The release applicable to the Class if the settlement is approved provides as follows In consideration of the
benefits described above, the Representative Plaintiffs promise, covenant and agree, and each Class Member
and the Class shall be dccmcd to have promised, covenanted and agreed, that, upon the Effective Date of
Settlement, the Representative Plaintiffs and the Class Members, including their affiliates, subsidiaries,
associates, general or limited partners or partnerships, predecessors, successors, and/or assigns, including,
without limitation, any of their respective present or former officers, directors, trustees, employees, agents,
attorneys, representatives and/or shareholders, affiliates, associates, general or limited partners or partnerships,
heirs, executors, administrators, predecessors, successors, assigns or insurers, and anyone acting on their
behalf, by operation of the Judgment, shall have hereby released, waived and discharged CM, including its
subsidiaries, affiliates, associates, general or limited partners or partnerships, predecessors, successors, and/or
assigns, including, without limitation, any of their respective present or former officers, directors, trustees,
employees, agents, attorneys, representatives and shareholders, affiliates, associates, general or limited partners
or partnerships, heirs, executors, administrators, predecessors, successors, assigns or insurers and anyone
acting on their behalf, individually and collectively, from liability for any and all claims, demands, debts,
rights, causes of action or liabilities whatsoever, including known and unknown claims, now existing or
hereafter arising, in law, equity or otherwise, arising under Slate statutory or common law federal statutory or
common law, or foretgn statutory or common law, to the fidlest extent permitted by law, including, but not
limited to, 1ideral or stale antitrust claims, RICO claims, claims arising under state consumer protection,
consumer fraud, deceptive trade practices statutes, common law breach of contract claims, statutory or
common law fmaud or nlisrcpresentation claims, breach of fiduciary duty clamnis or unjust enrichment claims
and whether possessed em asserted dimeuly, indirectly, derwauvely, representatively or in any other capacity,
and whether or not such claims were or could have been raised or asserted in the Actions or the Ainico/Bertmno
Actions, to the extent any such claims aic based upon, arise out of or relate to, in whole or in part, any of the
allegations, acts, omissions, transactions, events, conduct, or matters arising from or related to any Repair
Expense Claims for personal injury, and claims for lower intake manifold gasket replacements in 4 3-liter V6
engines for Class Membeis who have not submitted a Cla,m and received a payment under the settlement, are
riot released The Parties recognl4c and agree that this is a general release Representative Plamtills and the
Class Members expressly waive and telmnquish, and shall be deemed to have waived and relinquished, to the
tuliest extent permitted by law, the provisions, rights, and benefits oICahfornia Civil Code section 1542 and
the provisions, rights, and benefits conferred by any law of the United Stales, any law of any State or the
District of Columbia, or any principle of common law that is similar, comparable, or equivalent to California
Civil Code section 1542, which stales, "A general release does not extend to claims which the creditor does not
know or suspect to exist in his or her favor at the timnc of executing the release, which if known by him or her
 n1ust have materially atlected ins or her settlement with the debtor"

9.        YOUR OPTiONS ANt) DttrL.lNEs: llyou are a class member, you have the following options

     (a) Participate in the proposed Settlement by making a claim To participate in the proposed
          Settlement, you must submit a claim as described above You do not need to do anything else to
          participate If you submit a valid - claim on time, the Court approves the proposed Settlement, and the
         judgment becomes final, then a reimbursement check svmll be mailed to you

     b) Request to be excluded If you wish to exclude yourself from the class, you must submit a letter or
         postcard, such thai it is received aim or before August 13, 2008, stating

                Your name, address, telephone number,

                The year, model, and vehicle identification number of the vehicle covered by the proposed
      -         Settlement that you currently or previously owned or leased, gg

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         • That you wish to be excluded from the class and proposed Settlement in the lawsuit Sadowski v
           General Motors Corp, Case No HG0309 1369

     You must send your exclusion request to the Claims Administrator, addressed as follows Dcx Cool
     Litigation 2, do The Garden City Group, Inc., P.O. Box 9239, Dublin, OH 43017-4639 II you
     submit a valid exclusion request on time, you cannot obtain a reimbursement payment under the
     proposed Settlement You will not be bound by the final judgment, and you will not be barred from
     bringing, continuing, or being part of another lawsuit concerning expenses you incurred because of a
     Covered Repair

     If you do not properly exclude yourself; all oIyour claims based on such expenses will be released, and
     you will be barred from bringing, continuing, or being part of any such lawsuit. You wLlI be barred
     even if you do not submit a claim under this proposed Setilement In other words, if you do nothing at
     all, your claims will be released, and you will receive nothing under the proposed Settlement

 (c) Object or comment If you arc a class member and do not exclude yourself, you may object to or
     comment on all or part of the proposed Settlement This includes plaintiffs' counsel's request for
     attorneys' fees, expenses, and incentive awards for the named plaintiffs Objecting is not the same as
     excluding yourself If you object and the proposed Settlement is approved, you will still be bound by
      the final judgment and your claims will be released

     You must submit your objections or comments in writing as follows

     • On the first - page, please include mi prominent reference to Sadowskr v General Moiors-Corp, Case
        No 1-1003091369 Your objections or comments must include

             • Your full name, address, and telephone number,
             • The year, model, and vehicle identification number olilie vehicle covered by (he proposed
                Settlement that you currently or previoLisly owned or leased, along with pioof of a Covered
                Repair,
             • Your signature, and
             • Any supporting papers or briefs on which your objections or comments arc based

      If you also wish to speak at the fairness hearing (described below), you must also state in your
      objections or comments that you intend to appear and speak at the hearing If you do not include this
      statement, you will not be entitled to speak at the hearing
     You must deliver ycur objections or comments to the Court by filing them iii person at any location of
     the Alameda County Superior Court that includes a facility for civil filings or by mailing them to Clerk
     of the Court at the address listed below, with copies to Co-Lead Counsel for the class and GM's
     counsel They must be received no later titan August 13, 2008 The mailing addresses for the Clerk
     of the Court, Co-Lead Counsel, and GM's counsel are as follows

                               Co-Lead Counsel:                          Counsel for GM
     Clerk of the Court
     Rene C Davidson Alameda Eric I-! Gibbs                              Robert B Ellis
                                                                         Kirkland & Ellis LLP
      County Courthouse        Girard Gibbs LLP
                                                                         200 East Randolph Drive
     1225 l'allon Street       601 California Street, 14th Floor         Chicago, Illinois 60601
     Oakland, California 94612 San Francisco, California 94108


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          If you submit an objection and wish to preserve your appellate rights, you must appear in person,
          through your counsel or as otherwise permitted by the Court, at the Fairness I learing If you do not wish
          to appear in Court then you must state so in your objection

          If you do not rasc your objections according to the above procedure, you will waive aU objections and
          have no right to appeal any aspect of the proposed Settlement If you raise an objection according to the
          above procedure and fail to appear, you will have no right to appeal any aspect of the proposed
          Settlement This includes appealing (i) an order approving the Settlement as fair, reasonable and
          adequate, (ii) entry of Judgment that dismisses this action with prejudice and releases the claims of class
          members as provided for in the Settlement, (iii) an award of incentive payments to the Representative
          Plaintiffs, or (iv) an award of reasonable attorneys fees arid costs to Class Counsel

          You can enter an appearance in the lawsuit through your own legal counsel If you do, you will be
          responsible for your own attorneys' fees and costs

    10.     F'AIRNESS HEAItING:     On August 29, 2008 at 11:00 n.m., a hearing will be held before the
    1-lonorable Robert B lrcedrnan, in Dcpartment 20 of the California Superior Court for Alameda County,
    County Administration Building, 1221 Oak Street, Oakland, CalifornLa 94612 The purpose of the hearing is
    for the Court to decide whether the proposed Settlement is fair, reasonable, and adequate and should be
    approved The Court will tilso decide whether a final judgment should be entered dismissing this lawsuit, and
    the amount of attorneys' Ices and expenses and incentive awards to class representatives This hearing may be
    postponed without further notice to the class

    ii.    Aimli 1ONM. JNIoRraATtoN: You can get more information at the proposed Settlement Web site at
    www DexCoolSculerneni corn You can also view the Settlement Agreement and download a Claim
    Statement lorm on the Web site

    You can, get more information by calling the Claims Administrator toll-free at 1 (866) 245-4291, sending an
    e-mail to info@dexcoolseulcmcnt corn, or by sending a written inquiry to Co-Lead Counsel at the address in
    Section 9, above lii addition, you can vicw the Court's docket at www alameda cowls ca gpy/domainweb and
    inputting case number 11003093843 or 1CCP004495 Otherwise, please do not direct any inquiries to the
    Court

    DA1 El)   MARC1 I 20,2008                     BY ORDER OF ill E SUPERIOR COURT.
                                                  OF THE STATE OF CALIFORNIA
                                                  uoit riu COUNTY OF ALAMEDA




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                       EXHIBIT C
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                     CIRCUIT COURT OF JACKSON COuNTY, MIssouRI, AT INDEPENDENCE
                         GUTZLER V. GENER4L MOTORS CORP., CAsE No. 03cv208786

                  If you ever purchased or leased in Missouri
             any of the General Motors vehicles listed on pages 2-3,
         please read this notice carefully, as it affects your legal rights.
                           The Circuit Court of Jackson County authorized this notice.
                                      This is not a solicitation from a lawyer.
Thepurpose ofthis notice is to provide information about a class action settlement and to inform people covered by
                                 the proposed SeUlement ofthefr rights and options.

       There is a proposed class action Settlement involving the GM vehicles listed in paragraph 4. These vehicles
       were factory-equipped with Dex-Cool. Dex-Cool is an engine coolant designed to protect vehicles' engine
       and cooling systems.
   • You are included in this proposed Settlement if you purchased or leased any of these vehicles and made
      repairs related to the use of Dex-Cool as outlined in paragraph 4 of this Notice.
   • Repairs involving intake manifold gasket failures, engine coolant sealing issues, and sludge (a rust-like
      material) are covered by this proposed Settlement. These repairs would likely involve parts like the intake
      manifold and/or manifold gaskets, throttle body gaskets, radiator cap, heater core, water pump and other
      parts of the cooling system. See paragraph 4 for a complete description of the specific types of repairs
      covered for each vehicle type.
    • The Court in charge of this case still has to decide whether to give final approval to the proposed
       Settlement. Valid claims will be paid if the proposed Settlement is approved.
    • The types of repairs covered in the proposed Settlement, how to file a claim and your legal rights to
       participate or exclude yourself are outlined in this Notice. Please read it carefully.
    • You may have previously received notice of a class action involvirig GM vehicles owned or leased in
       Missouri that were factory-equipped with Dex-CooL That class is being decertified by the Court and can no
       longer provide you with any benefits or affect your rights. Instead, this Notice• describes the current
       proposed class action settlement that may affect your legal rights.

                        SUMMARY OF CLASS MEMBERS' RIGHTS AND OPTIONS
                              UNDER THE PROPOSED SETTLEMENT
                                    The only way to get a payment. Submit your claim online or by mail
       SUBMIT A CLAIM
                                    by October 27, 2008.

                                     Get no payment. This is the only option that allows you to be part of
       EXCLUDE YOURSELF
                                     any other lawsuit concerning the issues being settled now.

       COMMENT ON TIlE               Write to the Court about why you support or oppose the proposed
       PROPOSED SETTLEMENT           Settlement.

        Go TO A HEARiNG              Ask to speak to the Court about the proposed Settlement.

                                     Get no payment. Be barred from bringing or being part of any other
        Do NOTHING
                                     lawsuit concerning the issues being settled now.


     QuEsTIoNs? VISIT www.DExCooLSErrLEMENT.coM/MlssouRl OR CALL TOLL-FREE 1(866) 245-4291
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1.      Tim LITIGATION: A lawsuit was filed as a class action against GM in Missouri involving "Dex-Cool"
extended-life engine coolant. Among other things, the lawsuits allege that (i) Dex-Cool in the vehicles listed below
caused problems with the vehicles' engines or cooling systems, and (ii) that certain engine components, such as the        (.
nylon/silicone lower intake manifold gaskets equipped in certain vehicles, were defective.

2.       GM'S POSITION: GM denies all allegations of wrongdoing and denies liability under any claim asserted in
the lawsuit. GM argued that Dex-Cool protected engines for a longer period than traditional coolants, caused less
wear on certain engine parts than traditional coolants, and provided environmental benefits. GM further argued that
alleged problems with the vehicles' engines or cooling systems were caused by owners not following the
maintenance instructions for their vehicles or other factors.

3.     GM's AGREEMENT TO SETrLE: GM has agreed to a class action settlement of the lawsuit. GM will
reimburse class members up to a specified amount for certain repair costs they paid during the first seven years or
150,000 miles of vehicle ownership or lease, whichever is earlier.

This notice is to inform class members of the lawsuit, the major terms of the proposed Settlement, and class
members' rights and options. This proposed Settlement will not become effective unless it is approved by the Court
as described below.

4.       CLASS COVERED BY THE PROPOSED SETPLEMENT: The class previously defined by the Court and
contained in the notice you may have previously received is being decertified as part of this settlement agreement.
You are included in the new settlement class if you purchased or leased in the State of Missouri any of the vehicles
listed below, for personal, family, or household use (as opposed to commercial or business use), and:

     (a.) The vehicle has been in service for over seven years since the date the original buyer or lessee took délivesy
          of the vehicle, and
     (b.) As of the date of this Notice (May 30, 2008), you have not had to pay for any Covered Repair that was
          perfoiined during the first seven years or 150,000 miles (whichever is earlier) after the date the original
          buyer or lessee took delivery of the vehicle;
                                                             WE
     (c.) Regardless of how long the vehicle has been in service, you paid out-of-pocket for a Covered Repair that
          was performed during the first seven years or 150,000 miles (whichever is earlier) after the date the original
          buyer or lessee took delivery of the vehicle.
                                                 GROUP A VEHICLES
                                                 Model years 1995-2003
     Equipped with 3.1-liter or 3.4-liter V6 engine, manufactured before April 10, 2003 with a nylon/silicone
                                             lower intake manifold gasket.
          Buick                 Century, Rendezvous, Regal, Skylark
          Chevrolet             Impala, Lumina, Malibu, Monte Carlo, Venture, Corsica,
                                Beretta,, Lununa APV
          Oldsmobile            Alero, Cutlass (Supreme and Ciera), Silhouette
          Pontiac               Aztek, Grand Am, Grand Prix, Montana, Trans Sport

 Note: Some of these vehicles may have been offered for sale with an engine other than a 3.11-liter or 3.4 -liter V6
 engine. Any of the above models sold with an engine other than a 3J-liter or 3.4 -liter V6 engine are not included
 and are not eligible to make a claim.


      QuEsTIONs? VISIT WWW.DEXCOOLSFTFLEMENT.COM/MISSOURI OR CALL TOLL-FREE 1 (866) 245-4291
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       Group A Covered Repairs: Replacement of failed nylon/silicone lower intake manifold gasket.


                                              GROUP B VEHICLES
                                              Modelyearsl995-2004
                 Equipped with 3.8-liter V6 engine (internal GM engine designation RPO 136).
       Buick                 LeSabre, Park Avenue, Regal, Riviera
       Chevrolet             Camaro, Impala, Lumma, Monte Carlo
       Oldsmobile            Eighty-Eight, Intrigue, LSS, Ninety-Eight
       Pontiac               Bonneville, Firebird, Grand Prix

Note: Some of these vehicles may have been offered for sale with an engine other than a 3.8-liter V6 engine RPO
L36. Any of the above models sold with an engine other than a 3.8-liter V6 engine RPOL3 6 are not included and
are not eligible to make a claim.

               Group B COvered Repairs: Repairs necessitated by engine coolant sealing issues,
                including replacement of throttle body gasket, upper intake manifold gasket,
                             lower intake manifold gasket, or intake manifold.

                                              GROUP C VEHICLES
                                               Model years 1995-2000
                                         Equipped with 4.3-liter V6 engine
        Chevrolet             Blazer, Chevrolet S-JO
        GMC                   Envoy, Jimmy, S-IS
        Oldsmobile            Bravada

            Group C Covered Repairs: Repairs necessitated by cooling-system sludge, including
         cooling-system flush, heater core repairs, water pump repairs, or radiator cap replacement.
                          "Sludge" refers to a rust-like material that can form in the
                      cooling system and whose formation is related to use of Dex-Cool.

If you own one of the models listed above, but (i) with a different engine size than what is listed, or (ii) the vehicle
was manufactured using a lower intake manifold gasket other than a nylon/silicone gasket, or (iii) the vehicle is a
Group A vehicle manufactured alter April 9, 2003, then you are not covered by the settlement and are not eligible to
file a claim.

People who purchased or leased their GM vehicle in a state other than Missouri are not included in this proposed
Settlement. They are instead included in a separate proposed Settlement that is being submitted for approval to a
California state court. The settlement benefits of the proposed settlement in states other than Missouri are the same
as the settlement benefits of the proposed Settlement described in this notice.

Also excluded from the class are GM; any affiliate, parent, or subsidiaiy of GM any entity in which GM has a
controlling interest; any officer, director, or employee of GM; any successor or assign of GM; the judge to whom
the lawsuit is assigned, as well as his or her immediate family; and all persons who timely and validly request
exclusion from the class. (The procedure for exclusion is described below.)

     QuEsTIoNs? VISIT W W.DEXCOOLSETFLEMENT.COM/MISSOURI OR CALL TOLL-FREE 1(866) 245-4291
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The Court has appointed the following lawyers as Co-Lead Counsel to represent the class for purposes of the
proposed Settlement:

       Eric H. Gibbs                                 P. John Brady
       Girard Gibbs LLP                              Shughart Thomson & Kilroy P.C.
       601 California Street, Suite 1400             Twelve Wyandotte Plaza
       San Francisco, California 94108               120 West 12th Street, Suite 1700
                                                     Kansas City, Missouri 64105

5.       SETTLEMENT BENEFITS: Under the proposed Settlement, GM will send cash reimbursements to class
members who paid for Covered Repairs performed within seven years or 150,000 miles (whichever is earlier) after
the original owner or lessee took delivery of the vehicle, and who submit timely and valid claims.
The amount of reimbursement for which you are eligible depends on (i) when the Covered Repair was performed
and (ii) the amount you actually paid, as described below:

    a For a Covered Repair made within five years after initial vehicle delivery;
       You are eligible to be reimbursed the documented amount you paid out-of-pocket up to 5400, if you were
       not previously fully reimbursed.
        However, if you can document that the Covered Repair required you to pay over $1,500 to address an
        internal coolant leak, your reimbursement level may be different. If so, you can elect to request
        reimbursement of 40% of the amount you paid out-of-pocket up to $800, if you were not previously fully
        reimbursed.
        (An internal coolant leak means that coolant leaked from one vehicle component into another component.
        Whereas an external coolant leak means that coolant leaked from inside a vehicle component to the exterior
        of the vehicle.)
    b. •For a Covered Repair made in the sixth yeal after initial vehicle delivery:
        You are eligible to be reimbursed the dociunente4 amount you paid out-of-pocket up to $100, if you were.
        not previously fully reimbursed.
    c For a Covered Repair made in the seventh year after initial vehicle delivery:
        You are eligible to be reimbursed the documented amount you paid out-of-pocket up to $50, if you were not
        previously fully reimbursed.
If you paid for more than one Covered Repair (whether on the same vehicle or on different vehicles included in the
proposed Settlement), you may make a separate reimbursement claim for each one.

 6.      How To MAKE A CLAIM: To make a claim for a reimbursement under the proposed Settlement, you must
 submit the following documents, either online or by mail. If you do not submit each of the following documents,
 and fully complete the claim statement, your claim may be denied.

   (a.) Completed Claim Statement. A Claim Statement form is enclosed with this Notice. If you need more
        forms, you can photocopy this one or download additional copies from the proposed Settlement Web site at
        www.DexCoolSettlement.com/Missouri. You can also call the Claims Administrator toll-free at
        1 (866) 245-4291 to have more forms mailed to you.
    (b.) Proof of repair payment. You must provide documentation showing that you paid out-of-pocket for a
         Covered Repair, for which you were not fully reimbursed. Please read the instructions on the Claim
         Statement form for more details.
    (c.) Proof of ownership or lease. You must provide documentation showing that you owned or leased the
         vehicle at the time of the Covered Repair. Please read the instructions on the Claim Statement form for
         more details.

     QUESTIONS? VISIT WWW.DEXCOOLSEULEMENT.COMIMISSOURI OR CALL TOLL-FREE 1 (866) 245-4291
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     (d.) If you wish to submit your claim by mail, you must mail the above documents, postmarked no later than
          October 27, 2008, to the Claims Administrator at the address listed on theClaiin Statement form
     (e.) If you wish to submit your claim online, please go to www.DexCoolSettlement.comlMissouri, fill out the
          online Claim Statement form, and attach scanned versions of your required documentation before clicking
          the button to submit your claim. Online claims must be submitted no later than midnight on October 27,
          2008.
     (f) If you wish to make reimbursement claims for two or more Covered Repairs, you must submit a separate set
           of documents (Claim Statement, proof of repair payment, and proof of ownership or lease) for each claim.
           You may not combine claims for more than one Covered Repair in a single Claim Statement.
     (g.) The Claims Administrator has the right to request additional documentation before the Claim is approved
          and paid. Your claim may be denied if the Claims Administrator determines that it is invalid.

7.      ArronxiEYs' FElLS AND EXPENSES Ax'm INcENTIvE AWARDS: Since this litigation started in 2003, over 20
law firms have devoted more than 43,000 hours to prosecuting various lawsuits across the countiy on behalf of class
members purely on a contingent basis, and have received no compensation for their services or reimbursement of
their expenses. As part of the proposed Settlement, subject to Court approval, plaintiffs' counsel will apply for
attorneys' fees not to exceed $7.5 million and expenses not to exceed $1.25 million.

Application will be made for incentive awards not to exceed a total amount of $60,000 for the named plaintiffs in
the lawsuit. There are three named plaintiffs in the lawsuit. This is to recognize their initiative and effort in
pursuing the matter on behalf of other vehicle owners and lessees. Any amounts apprpved by the Court will be paid
by GM separately from and without reducing the reimbursement payments it makes to class members under the
proposed Settlement.

8.       RELEASE OF CLAiMS IF COURT APPROVES THE PROPOSED SETFLEMILNT: If the Court approves the
proposed Settlement, it will enter a judgment that will dismiss the litigation with prejudice as to all class members
It will release all claims they may have based on any. expe , rises-they incurred because of a Covered Repair during
the first seven years -or 150,000 miles (whichever is earlier) theft Group A, Group B, or Group C vehicle was in
service.

This means that class members will be forever barred from bringing, continuing, or being part of any other lawsuit
against GM and its personnel, representatives, and insurers, or GM's related companies and their personnel,
representatives, and insurers, concerning such expenses. Ifyou fall within the class definition and do not want to be
barred from bringing, continuing, or being part of such a lawsuit, you must exclude yourseff from the class and
proposed Settlement here.

The release applicable to the Class if the settlement is approved provides as follows: In consideration of the
benefits described above, the Representative Plaintiffs promise, covenant and agree, and each Class Member and
the Class shall be deemed to have promised, covenanted and agreed, that, upon the Effective Date of Settlement, the
Representative Plaintiffs and the Class Members, including their affiliates, subsidiaries, associates, general or
limited partners or partnerships, predecessors, successors, and/or assigns, including, without limitation, any of their
respective present or former officers, directors, trustees, employees, agents, attorneys, representatives and/or
shareholders, affiliates, associates, general or limited partners or partnerships, heirs, executors, administrators,
predecessors, successors, assigns or insurers, and anyone acting on their behalf; by operation of the Judgment, shall
have hereby released, waived and discharged GM, including its subsidiaries, affiliates, associates, general or limited
partners or partnerships, predecessors, successors, and/or assigns, including, without limitation, any of their
respective present or former officers, directors, trustees, employees, agents, attorneys, representatives and
shareholders, affiliates, associates, general or limited partners or partnerships, heirs, executors, administrators,
 predecessors, successors, assigns or insurers and anyone acting on theft behalf, individually and collectively, from
 liability for any and all claims, demands, debts, rights, causes of action or liabilities whatsoever, including known
 and unknown claims, now existing or hereafter arising, in law, equity or otherwise, arising under state statutory or
       QUESTIONS? VisiT WWW.DEXCOOLSETTLEMENT.COMIMISSOURI ORCALL TOLL-FREE 1 (866) 2454291
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common law federal statutory or common law, or foreign statutory or common law, to the fullest extent permitted
by law, including, but not limited to, federal or state antitrust claims, RICO claims, claims arising under state
consumer protection, consumer fraud, deceptive trade practices statutes, common law breach of contract claims,
statutory or common law fraud or misrepresentation claims, breach of fiduciary duty claims or unjust enrichment -
claims and whether possessed or asserted directly, indirectly, derivatively, representatively or in any other capacity,
and whether or not such claims were or could have been raised or asserted in the Action, to the extent any such
claims are based upon, arise out of or relate to, in whole or in part, any of the allegations, acts, omissions,
transactions, events, conduct, or matters arising from or related to any Repair Expense. Claims for personal injury
are not released. The Parties recognize and agree that this is a general release. . Representative Plaintiffs and the
Class Members expressly waive and relinquish, and shall be deemed to have waived and relinquished, .to the fullest
extent permitted by law, the provisions, rights, and benefits of California Civil Code section 1542 and the
provisions, rights, and benefits conferred by any law of the United States, any law of any State or the District of
Columbia, or any principle, of common law that is similar, comparable, or equivalent to California Civil Code
section 1542, which states, "A general release does not extend to claims which the creditor does not know or
suspect to exist in his or her favor at the time of executing the release, which if known by him or her must have
materially affected his or her settlement with the debtor."

9.       YoUR OPTIONS AND DEADLINES: If you are a class member, you have the following options:

     (a.) Participate in the proposed Settlement by making a claim. To participate in the proposed Settlement,
          you must submit a claim as described above. You do not need to do anything else to participate. If you
          submit a valid claim on time, the Court approves the proposed Settlement, and the judgment becomes final,
          then a reimbursement check will be mailed to you.
     (b.) Request to be excluded. If you wish to exclude yourself from the class, you must submit a letter or
          postcard, such that it is received on or before August 13, 2008, stating:

              • Your name, address, telephone number;                     .         .
              • The- year, model, . and vehicle identification number of the vehicle covered by the proposed
                Settlement that you currently or previously owned or leased; and .
              • That you wish to be excluded from the class and proposed Settlement in the lawsuit Gutzler v.
                General Motors Corp., Case No. 03cv208786.

          You must send your exclusion request to the Claims Administrator, addressed as follows: Dex Cool
          Litigation, c/n The Garden City Group, Inc., P.O. Box 9239, Dublin, 011 43017-4639. If you
          submit a valid exclusion request on time, you cannot obtain a reimbursement payment under the proposed
          Settlement. You will not be bound by the final judgment, and you will not be barred from bringing,
          continuing, or being part of another lawsuit concerning expenses you incurred because of a Covered Repair.

          If you do not properly exclude yourself, all of your-claims.based on such expenses will be released, and you
          will be barred from bringing, continuing, or being part of any such lawsuit. You will be barred even if you
          do not submit a claim under this proposed Settlement. In other words, if you do nothing at all, your claims
          will be rOleased, and you will receive nothing under the proposed Settlement.

     (c.) Object or comment. If you are a class member and do not exclude yourself, you may object to or comment
          on all or part of the proposed Settlement. This includes plaintiffs' counsel's request for attorneys' fees,
          expenses, and incentive awards for the named plaintiffs. Objecting is not the same as excluding yourself. If
          you object and the proposed Settlement is approved, you will still be bound by the final judgment and your
          claims will be released.




       QUESTIONS? VISIT WWW.DEXCOOLSEnLEMENT.COM/MTSSOURI OR CALL TOLL-FREE 1(866) 245-4291
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 You must submit your objections or comments in writing as follows:

 • On the first page, please include a prominent reference to Gutzler v. General Motors Corp, Case
    No. 03cv208786. Your objections or comments must include:

         • Your full name, address, and telephone number;
         • The year, model, and vehicle identification number of the vehicle covered by the proposed
             Settlement that you currently or previously owned or leased, along with proof of a Covered
            Repair;
         • Your signature; and
         • Any supporting papers or briefs on which your objections or comments are based.

  If you also wish to speak, at the fairness hearing (described below), you must also state in your objections
  or comments that you intend to appear and speak at the hearing. If you do not include this statement, you
  will not be entitled to speak at the hearing.

  You must deliver your objections or comments to the Court by filing them in person at any location of the
  Jackson County Circuit Court that includes a facility for civil filings or by mailing them to Clerk of the
  Court at the address listed below, with copies to Co-Lead Counsel for the class and GM's counsel. They
  must be received no later than August 13, 2008. The mailing addresses for the Clerk of the Court, Co-
  Lead Counsel, and GM's counsel are as follows:

   Clerk of the Court           Co-Lead Counsel:                  Counsel for GM:
   Jackson County Courthouse
   308. West Kansas             P. John Brady                     Robert B. Ellis
   Independence, Missouri 64050 Shughart Thomson & Kilroy P.C. Kirkland & Ellis LLP
                                 120 West 12th Street, Suite 1700 200 East Randolph Drive
                                                                  Chicago, Illrnos 60601
                                Kansas City, Missouri 64105



 If you submit an objection and wish to preserve your appellate rights, you must appear in person, through
 your counsel or as otherwise permitted by the Court, at the Fairness Hearing. If you do not wish to appear in
 Court then you must state so in your objection.

 If you do not raise your objections according to the above procedure, you will waive all objections and have
 no right to appeal any aspect of the proposed Settlement. If you raise an objection according to the above
 procedure and fail to appear, you will have no right to appeal any aspect of the proposed Settlement. This
 includes appealing (i) an order approving the Settlemetit as fair, reasonable . and adequate; (ii) entry of
 Judgment that dismisses this action with prejudice and releases the claims of class members as provided for
 in the Settlement; (iii) an award of incentive payments to the Representative Plaintiffs; or (iv) an award of
 reasonable attorneys fees and costs to Class Counsel.

 You can enter an appearance in the lawsuit through your own legal counsel. If you do, you will be
 responsible for your own attorneys' fees and costs.




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10.    FAUr'ESS REARING: On September 5, 2008, a hearing will be held before the Honorable Michael
Manners, in Division 2 of the Jackson County Circuit Court at Independence, 308 West Kansas, Independence,
Missouri 64050.The purpose of the hearing is for the Court to decide whether the proposed Settlement is fair,
reasonable, and adequate and should be approved. The Court will also decide whether a final judgment should be
entered dismissing this lawsuit; and the amount of attorneys' fees and expenses and incentive awards to class
representatives. This hearing may be postponed without further notice to the class.

11.    ADDiTIONAL INFORMATION: You can get more information at the proposed Settlement Web site at
www.DexCoolSettlement.com/Missouri . You can also view the Settlement Agreement and download a Claim
Statement form on the Web site.

You can get more information by calling the Claims Administrator toll-free at 1 (866) 245-4291; sending an e-mail
to info@dex000lsettJement.com; or by sending a written inquiry to Co-Lead Counsel at the address in paragraph 9,
above. In addition, you can view the Court's docket at http://www.16thcircuit.org/ and inputting case number
03cv208786 Otherwise, please do not direct any inquiries to the Court.

DATED: MARCH 28,2008                         BY ORDER OF TUE CIRCUIT COURT
                                             OF JACKSON COUNTY, MISSOURI




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      5
      6                       SUPERIOR COURT OF THE STATE OF CALiFORNIA
      7                                   FOR THE COUNTY OF ALAMEDA
      S Coordination Proceeding                                 JUDICIAL COUNCIL COORDINATION
         Special Title (Rule 1550(b))                           PROCEEDING NO. 4495
      9
         GENERAL MOTORS                                         SUPERIOR COURT OF CALIFORNiA
     10 DEX-COOLIGASKET CASES                                   COUNTY OF ALAMEDA
                                                                NO.11003093843
     11          Included actions
                                                                SUPERIOR COURT OF CALIFORNIA..
     12 Sadowso v General Motors Corp.                          COUNTY OF SAN JOAQUIN
                                                                NO. CV 025 770
     13
          Bei-tmo v General Motors Corp                         JUDGMENT AND ORDER OF DISMISSAL
     14                                                         WHH PREJUDICE
     is                                                         The Honorable Robert B Freedman
     16                                                         Action filed. April 29, 2003
                                                                Trial date     None set
     17
                 This matter came before the Court for hearing pursuant to the Order Granting Preliminary
     18
          Approval Of Proposed Settlement, Provisionally Certifjing Class, And Directing Dissemination Of
     19
          Notice To Class, dated March 20.2008 ("Notice Order"), on the application of the Parties for
    20
          approval of' the settlement set forth in the Settlement Agreement, dated March 19,2008
    21
          ('Agrecment") Due and adequate notice having been given of the settlement set forth in the
    22
          Agreement ("Settlement") as required by the Notice Order, and the Court having considered and
    23
          reviewed all papers filed and proceedings had herein, including the timely objections to the proposed
    24
          settlement submitted by class members, approximately 80 of which were submitted by indi'viduals
    25
          themselves and 5 by counsel on behalf of 6 rndtviduals, as well as the responses filed by Plaintiffs
    26
          and GM to the objections, and otherwise being filly informed in the premises and good cause
    27
          appearing therefor, rc IS HEREBY ORDERED, ADJUDGED AND DECREED that
    28



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                     I.     This Judgment incorporates by reference the definitions in the Agreement and Notice

       2     Order, and all defmed terms used hecem shall have the same meanings set forth in the Agreement

       3     and Notice Order

       4            2       This Conrt has junsdiction over the suect matter of the Sadowski Action, the

       5     Sadowski Parties, and all members of the settlement Class defined as follows'
       6            All Consumers in the United States of America, excepting those who purchased or
                    leased their vehicles in the State of Missouri, who (i) own or lease, or who have
       I
                    owned or teased, a Covered Vehicle that has been in service in excess of seven years,
       8            measured from the Date of Initial Vehicle Deliveiy, at the time of the first date on
       9            which notice of the Settlement is disseminated and who, at the time of the notice, had
      10 I          not incurred a repair expense of the type included in the defuution of Covered Repair,
                    or (ii) own or lease, or who have owned or leased, a Covered Vehicle and who
      11            incurred an expense for a Covered Repair before the first date on which notice of the
      12            Settlement is disseminated to the Class in accordance with the Notice Order
                    Excluded from the Class are GM, any affiliate, parent, or subssdiary of GM, any entity in
      13
      14     which GM has a controlling interest, any officer, director, or employee of GM, any successor or

      15     assign of GM, anyone employed by counsel for Representative Plaintiffs, any Judge lo whom any of
      16     the Actions is assigned as well as his or her immediate family; any and all persons who timelyand
      17
             validly request exclusion from the Class pursuant to the notice disseminated in accordance with the
      is
             Notice Order
      19
      20            3       This Court hereby finds that for settlement purposes, and for purposes of the

     21      Agreement and the Settlement, the Sadowski Action and the Class meet the requirements for the

     22      bnnging and maintenance of a class action set forth as section 382 of the Code of Civil Procedure

     23      and section 1781 of the Civil Code

     24             4       This Court hereby finds that the Agreement and Settlement are, in all respects, fair,

     25      reasonable, and adequate, and in the best interests of the Class; overrules the timely objections

     26      submitted, grants final approval of the Agreement and Settlement, and directs the Parties to perform

             the terms of the Agreement
     27

     28


                                     ,JDGMENT AND ORDER OF DISMISSAL WITH PREJUDIC
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      I           5       This Court hereby dismisses the Sadowski Action wrth prejudice and without costs,

      2 except as otherwise provided in the Agreement

      3           6      Upon the Effective Date of the Settlement, the Representative Plaintiffs and the Class

      4 Members, including their afliliates, subsidiaries, associates, general or limited partners or

      5   partnerships, predecessors, successors, and/or assigns, including, without limitation, any of their
      6 respective present or former offleers, directors, inistees, employees, agents, attorneys,
      7 representatives and/or shareholders, affiliates, associates, general or limited partiters or partnerships,
      8 heirs, executors, administrators, predecessors, successors, assigns or insurers, and anyone acting on
      9 their behalf, by operation of this Judgment, shall have hereby.released, waived and discharged GM,
     10 including its subsidiaries, affiliates, associates, general or limited partners or partnerships,
     11 pre4ecessors, successors, and/or assigns, including, without limitation, any of their respective
     12 present or former officers, directors, trustees, employees, agents, attorneys, representatives and
     13 shareholders, affiliates, associates, general or limited partners or partnerships, heirs, executors,
     14 administrators, predecessors, successors, assigns or insurers and anyone acting on their behalf,
     15   individually and collectively, from liability fOr any and all claims, demands, debts, rights, causes of
          action orliabikties whatsoever, iacuding known and unknown claims, now existing or hereafter
     17 arismg, m law, equity or otherwise, arising under state statutory or common law federal statutory or
     18 common law, or foreign statutory or common law, to the fullest extent pcnmtted by law, including,
     19 but not limited to, federal or state antitrust claims, RICO claims, claims arising under state consumer
     20   protection, consumer fraud, deceptive trade practices statutes, common law breach of contract
     21 claims, statutory or common law fraud or misrepresentatLon claims, breach of fiduciary duty claims
     22 or unjust enrichment claims and whether possessed or asserted directly, indirectly, denvatively,
     23 representatively or in any other capacity, and whether or not such claims were or could have been
     24 raised or asserted in the Actions or the AmicofDertino Actions, to the extent any such claims are

     25   based upon, anse out of or relate to, in whole or in part, any of the allegations, acts, omissions,
     26 transactions, events, conduct, or matters arising from or related to any Repair Expense Claims for

     27 personal injury, and claims for lower miake niarufold gasket replacements in 4 3-liter V6 engines for

     28 Class Members who have not submitted a Claim and received a payment under the settlement, are


                                 JUDGMENT AND ORDER OF DISMISSAL WITH PREJUD1C
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        I not released The Pai-ties recognize and agree that this is a general release Representative Plaintiffs

- -    2 and the Class Members expressly waive and relinquish, and shall be decmed tQ have waived and
       3 relinquished, to the fullest extent permitted by law, the provisions, rights, and benefits of California
       4 Civil Code section 1542 and the provisions, rights, and benefits conferred by any law of the United
       S States, any law of any State or the District of Columbia, or any principle of common law that is
       6 similar, comparable, or equivalent to California Civil Code section 1542, which states, "A genera!
       7 release does not extend to claims which the creditor does not know or suspect to exist in his or her
       8 favor at-the time of executing the release, which if known by him or her must have materially
       9 affected his or her settlement with the debtor"
      10             7     Upon the Effective Date of the Settlement, GM and its past or present officers,
      11    directors, employees, agents, attorneys, predecessors, successors, affiliates, subsidiaries, divisions,
      12 and assigns, shall be deemed to have, and by operation of this Judgment shall have, released,
      13 waived, and discharged any and all claims or causes of action of any nature whatsoever, including
      14 but not limited to any claim for violations of federal, stale, or other law (whether in contraCt, tort, or
      15 otherwise, including statutory, common law, property, and equitable claims), whether known or
      16 unknown, that have been or could have been asserted against any Representative Plaintiff, counsel
      17 for any Representative Plaintiff, or any Class Member, in the Actions or in any other complaint,
      19 action, or litigation in any other court or forum arising from, based on, or related to the initiation,
      19 prosecution, or resolution of the Actions to the extent any such claims are based upon, arise out of or
      20 relate to, iii whole or in part, any of the allegations, acts, omissions, transactions, events, conduct, or
      21 matters arising from or related to any Repair Expense The Parties recognize and agree that this is a

      22 general release, and shall have expressly waived and relinquished, to the fullest extent permitted by

      23 law, the provisions, nghts, and benefits of California Civil Code section 1542 and the provisions,

      24 nghts, and benefits conferred by any law of the United States, any law of any State or the District of
      25 Columbia, or any principle of common law that is similar, comparable, or equivalent to California

      26 Civil Code section 1542, which states, "A general release does not extend to claims which the

      27 creditor does not know or suspect to exist in his or ber favor at the time of executmg the release,

      28 which if known by him or her must have materially affected his or her settlement with the debtor"


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      1           8       Under the circumstances, the notice of this Settlement provided to the Class Members

      2 in accordance with the Notice Order was the best notice practicable of the proceedings and matters-
      3 set forth therein, including the proposed Settlement, to alt persons entitled to such notice, and said
      4 notice fully satisfied the requirements of due process and California law
      5           9       Neither the Fee Application nor any order entered by this Court thereon shall in any

      6   way disturb or affect this Judgment, and all such matters shall be considered separate from this

      1    Judgment The Court will not award more than (i) $:140,000 in incentive payments to Representative
      S Plaintiffs; (ii) $16 S million in attorneys' fees, and (iii) $1 55 million in documented costs.

      9            10     Within forty-five (45) days afrer entry of this Judgment, Co-Lead Counsel shall, with
     10 the agreement Of GM, file a listing of each person who submitted a valid and timely request for
     11 exclusion from the Class The persons so identified shall neither share in the benefits of the
     12 Settlement nor be bound by this Judgment All persons who meet the Class definition and have not
     13 submitted such an exclusion request shall be bound by this Judgment
     14            11     Ne] thee the Agreement nor the Settlement nor any act performed or docwnent
     15 executed pursuant to or n -i furtherance of the Agreement or the Settlement (a) is or may be deemed to
     16 be or may be used as an admission of, or evidence of; the validity of any claim asserted against GM

     17    in the Actions, or of any wrongdomg or liability of GM, or of an admission by General Motors that
     18 the claims that were the subject of this action were appropriate for class certification for purposes of
     19 trial or for any other purpose other than for purposes of this Settlement Agreement, or (b) is or may
     20 be deemed to be or may be used as an admission of, or evidence of, any fhult or omission of GM in
     21 any civil criminal, or administrative proceeding in any court, administrative agency, or other

     22 tribunal, or (c) is or may be deemed to interfere with, prohibit or bar a Class Member from
     23 cooperating with or assisting an extended commercial warranty provider or other third party to bnng

     24 subrogation clatms against GM related to Covered Repairs GM may file the Agreement, this

     25 Judgment, or both in any other action that may be brought against it in order to support a defense or
     26 counterclaim based on principles of res ,judicata, collateral estoppel, release, good-faith settlement,

     27 judgment bar or reduction, or any theory of claim preclusion or issue preclusion or similar defense or

     28 counterclaim


                                 JUDGMENT AND ORDER OF DISMiSSAL WITH PREJUDICE
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          1           12     Consistent with the express terms of the Settlement Agreement, subrogation claims

       2! are not being released as part of this Judgment The rights of extended commercial warranty
       3 providers or other thid parties to bring subrogation claims against GM related to Covered Repairs in

       4      a separate action are not barred by the Settlement
       5             13      Without affecting the finality of this Judgment in any way, this Court hereby retains
       6 continuing jurisdiction, pursuant to California Rule of Court 3 769(h), over (a) implemenlation of the

       7      Settlement, (b) payment of Class Members' claims under the Settlement; (c) further proceedings, if
       8 necessary, on applications for attorneys' fees, expenses, or costs in connection with the Sadowski
       9 Aetin or the Se,ttlement, and (d) the Patties for purposes of construing, enforcing, or adimnistenng
      10 the Agreement if any Party fails to fulfill its obligations completely, the Court retains the power to
      11      issue such orders to enforce this Judgment and the Settlement as it deems appropriate after noticed
      12 hearing.
      13             14      If the Settlement does not become effective in accordance with the tcrms of the
      14 Agreement, then this Judgment shall be rendered null and void to the extent provided by and in
      15      accordance with the Agreement and shall be vacated and, in such event, all orders entered and
      16 releases delivered in connection herewith shall be null and void to the extent provided by and in
     17 accordance with the Agreement
     18              15     A Compliance fleanng is hereby set for February 27, 2009 at 10 00 am in
     19 Department 21) If a final report and accounting satisfactory to the Court regarding the administration
                                             I
     20 of the Settlement is submitted at least 5 court .days prior to the Compliance Hearing, no appearances
     21 wifl be required
     22              IT IS SO ORDERED
     23

     24 DATED. _

     25                                                    JUDGE OF TUE SUPERIOR COURT
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               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                AT INDEPENDENCE

MICHAEL GUTZLER, et al,                            )
                                                   )


                   Plaintiffs;                     )
                                                   )


V.                                                 )      Case No. 03CV208786
                                                   )


GENERAL MOTORS CORPORATION, )                             Division 2
                                                   )


                   Defendant.                      )
                      FiNAL JUDGMENT AND ORDER OF DISMISSAL

          This matter came before the Court for hearing pursuant to the Amended Order

Decertifying Class, Granting Preliminary Approval of Proposed Settlement, Provisionally

Certifying Settlement Class, And Directing Dissemination of Notice To Class, dated

April 14,, 2008 ("Notice Order"), on the application of the Parties for approval of the

settlement set forth in the Settlement Agreement, dated March 26, 2008 ("Agreement").

Due and adequate notice having been given of the settlement set forth in the Agreement

("Settlement") as required by the Notice Order, and the Court having considered all

papers filed and proceedings had herein and otherwise being fully informed in the

premises and good cause appearing therefor, iT IS HEREBY ORDERED, ADJUDGED

AND DECREED that:

              1.   This Judgment incorporates by reference the definitions in the Agreement

and Notice Order, and all defined terms used herein shall have the same meanings set

forth in the Agreement and Notice Order.




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        2.     This Court hereby decertifies the class defined in the Court's Order dated

January 9, 2006.

        3.     This Court has jurisdiction over the subject matter of the Action, the

Parties, and all members of the settlement Class defined as follows:

        All Consumers who purchased or leased a Covered Vehicle in the State of
        Missouri (i) that has been in service in excess of seven years, measured from the
        Date olinitial Vehicle Delivery, at the time of the first date on which fiôticc of the
        Settlenient is disseminated and who, at the time of the notice, had not incurred a
        repair expense of the type included in the definition of. Covered Repair, or (ii)
        who mcurrcd an expense for a Covered Repair be-fore the first date on which
        notice of the Settlement is disseminated to the Class in accordance with the
        Notice Order. Excluded from the Class are GM; any affiliate, parent, or
        subsidiary of GM; any entity in which GM has a controlling interest; any officer,
        director, or employee of GM; any successor or assign of GM; and the Judge to
        whom the Action is assigned as well as his or her immediate family. -

             4. This Court hereby finds that for settlement purposes, and for purposes of
    the Agreement and the Settlement, the Action and the Class meet the requirements for
    the bringing and maintenance of a class action sOt forth in Rule 52.05.

             5 This Court hereby finds that the Agreement and Settlement are, in all
    respects, fair, reasonable, and adequate, and in the best interests of the Class; grants
    final approval of the Agreement and Settlement; and directs the Parties to perform the
    terms of the Agreement.
             6. This Court hereby dismisses the Action with prejudice and without costs,
    except as otherwise provided in the Agreement.

             7. Upon the Effective Date of the Settlement, the Representative Plaintiffs and
    the Class Members, including their affiliates, subsidiaries, associates, general or

    limited partners or partnerships, predecessors, successors, and/or assigns, including,

    without limitation, any of their respective present or former officers, directors,

    trustees, employees, agents, attorneys, representatives and/or shareholders, affiliates,

    associates, general or limited partners or partnerships, heirs, executors, administrators,


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    predecessors, successors, assigns or insurers, and anyone acting on their behalf, by
    operation of the Judgment, shall have hereby released, waived and discharged GM,
    including its subsidiaries, affiliates, associates, general or limited partners or
    partnerships, predecessors, successors, and/or assigns, including, without limitation,
    any of their respective present or former officers, directors, trustees, employees,
    agents, attorneys, representatives and shareholders, affiliates, associates, general or
    limited partners or partnerships, heirs, executors, administrators, predecessors,
    successors, assigns or insurers and anyone acting on their behalf, individually and
    col]cctively, from liability for any and all claims, demands, debts, rights, causes of
    action or liabilities whatsoever, including known and unknown claims, now existing
    or hereafter arising, in law, equity or otherwise, arising under state statutory or
    common law lederal statutory or common law, or foreign statutory or common law, to
    the fullest extent permitted by law, including, but not limited to, federal or state
    antitrust claims, RICO claims, claims arising under state consumer protection,
    consumer fraud, deceptive trade practices statutes, common law breach of contract
- claims, statutory. or common law fraud or misrcpresenthtion claims, breach of
    fiduciary duty claims or unjust enrichment claims and whether possessed or asserted
    directly, indirectly, derivatively, representatively or in any other capacity, and
    whether or not such claims were or could have been raised or asserted in the Action,
    to the extent any such claims arc based upon, anse out of or relate to, in whole or in
    part, any of the allegations, acts, omissions, transactions, events, conduct, or matters
    arising from or related to any Repair Expense. Claims for personal injury are not
    released. The Parties recognize and agree that this is a general release. Representative
    Plaintiffs and the Class Members expressly waive and relinquish, and shall be deemed
     to have waived and relinquished, to the fullest extent permitted by law, the provisions,
    rights, and benefits of California Civil Code section 1542 and the provisions, rights,

     and benefits conferred by any law of the United States, any law of any State or the


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    District of Columbia, or any principle of common law that is similar; comparable, or
    equivalent to California Civil Code section 1542, which states, 'A general release
    does iiot cxtcnd to claims which the creditor does not know or suspect to exist in his
    or her Iiivor at the time of executing the release, which if known by hini or her must
    have materially affected his or her settlement with the debtor."
              7. Upon the Effective Date of the Settlement, GM and its past or present
    officers, directors, employees, agents, attorneys, predecessors, successors, affiliates,
    subsidiaries, divisions, and assigns, shall be deemed to have, and by operation of the
    Judgment shall have, released, waived, and discharged any and all claims or causes of
    action of any nature whatsoever, including but not limited to any claim for violations
    of fedet-al, state, or other law (whether in contract, tort, or otherwise, including
    statutory, common law, property, and equitable claims), whether known or unknown,
    that have beeii or could have been asserted against, any Representative Plaintiff,
     counsel for any Representative Plaintiff, or any Class Member, in thc.Action or in any
     other complaint, action or litigation in any other court or forum arising from, based
     Ofl;   or related to the initiation, prosecution, or resolution of the Action to the extent
     axy such claims are based upon, arise out ofor relate to, in whole or in part, any of the
     allegations, acts, omissions, transactions, events, conduct, or matters arising from or
     related to any Repair Expense. The Parties recognize and agree that this is a general
     release, and shall have expressly waived and relinquished, to the fullest extent
     permitted by law, the provisions, rights, and benefits of California Civil Code section
     1542 and the provisions, rights, and benefits conferred by any law of the United
     States, any law of any State or the District of Columbia, or any principle of common
     law that is similar, comparable, or equivalent to California Civil Code section 1542,
     which states, A general release does not extend to claims which the creditor does not
     know or suspect to exist in his or her favor at the time of executing the release, which
     if known by him or her must have materially affected his or her settlement with the


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   debtor.".
              8. Under thc.circumstances, the notice of this Settlement provided tO the Class
   Members in accordance with the Notice Order was the best notice practicable of the
   proceedings and matters set forth therein, including the proposed Settlement, to all
   persons entitled to such notice, and said notice fully satisfied the requirements of due
   process and Missouri law.
              9. Neither the Fee Application nor any order entered by this Court thereon
    shall in any way disturb or affect this Judgment, and all such matters shall be
    considered separate from this Judgment. The Court will not award more than (i)
    $60,000 in incentive payments to Representative Plaintiffs; (ii) $7.25 million in
    attorneys' fees; and (iii) $ 1.25 million in documented costs.
              10. Within fbrty-five (45) days after entry of this Judgment, Co-Lead Counsel
    shall, with the agreement of GM, file a listing of.each person who submitted a valid
    and timely request for exclusion from the Class. The persons so identified shall
    neither share in the benefits of the Settlement nor be. bound by. this Judgment. All
    pI1s        who meet the Class definition and have not submitted such an exclusion
    request shall be bound by this Judgment.
              11. Neither the Agreement nor the Settlement nor any act performed or
    document executed pursuant to or in furtherance of the Agreement Or the Settlement
    (a) is or may be deemed to be or may be used as an admission of, or evidence of, the
    validity of any claim asserted against GM in the Action, or of any wrongdoing or
    liability of GM, or of an admission by General Motors that the claims that were the
     subject of this action were appropriate for class certification for purposes of trial or
     for any other purpose other than for purposes of this Settlement Agreement; or (b) is
     or may be deemed to be or may be uscd as an admission of, or evidence of, any fault
     or omission of GM in any civil, criminal, or administrative proceeding in any court,
     administrative agency, or other tribunal. GM may file the Agreement, this Judgment,


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   or both in any othcr action that may be brought against it in order to support a defense
   or counterclaim based on principles of res judicata, collateral estoppel, release, good-
    faith settlement, judgment bar or reduction, or any. theory of claim preclusion or issue
   preclusion or similar defense or counterclaim. .
              12.Without affecting the, finality of this judgment in any way, this Court
    hereby retains continuing jurisdiction over (a) implementation of the Settlement;
    (b) payment of Class Members' claims under the Settlement; (c) further proceedings,
    if necessary, on applications for attorneys' fees, expenses, or costs in connection with
    the Action or the Settlement; and (d) the Parties for purposes of construing, enforcing,
    or administering the Agreement. If any Party fails to fulfill its obligatiOns completely,
    the Court retains the power to issue such orders to enforce this Judgment and the
    Settlement as it deems appropriate after noticed hearing.
              13;lf the Settlement does not become effective in accordance wilh the terms of
    the Agreement, then this Judgment shall' be rendered null and void to the extent
    provided by and in accordance with the Agreement and shall be vacated and, in such
     event, all orders entered and releases delivered in connection herewith shall be null
     and void to the extent provided by and in accordance with the Agreement.
          IT IS SO ORDERED.
                        -5 2008
     DATED:__SEP
                                            THE HONORABLE MICHAEL MANNERS
                                            JUDGE OF ThE CIRCUIT COURT

                                                       A       COPY-ATTEST
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UNITED STATES BANKRUPTCY COURT
SOUThERN DISTRICT OF NEW YORK
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Inre                                                                  Chapter 11 Case No.

MOTORS LIQUIDATION COMPANY, et al.,                                   09-50026 (REG)
        f/k/a General Motors Corp., et al.

                                      Debtors.                        (Jointly Administered)




    STIPULATION AND ORI)ER BETWEEN THE DEBTORS AND THE HOLDERS
   OF UNLIQUIDATED J)EX-COOL AND ANDERSON CLAIMS TO ALLOW CLASS
    PROOFS OF CLAIM FOR DEX-COOL AND. ANDERSON CLASS CLAIMANTS


                    Motors Liquidation Company (f/k/a General Motors Corporation) ("MLC") and

certain of its subsidiaries, as debtors and debtors in possession in the above-captioned chapter Ii

cases (collectively, the "Debtors" or "MLC"), and the holders of Unliquidated Dex-Cool Claims

(as defined below), and the holders of Unhiquidated Anderson Claims (as defined below), by and

through their respective undersigned counsel, hereby enter into this Stipulation and Agreed

Order (this "Stipulation") and stipulate as follows:

                                                     RECITALS

     A.             On June 1, 2009 (the "Commencement Date"), the Debtors commenced with this

Court voluntary cases (the "Chapter 11 Cases") under chapter 11 of title 11 of the United States

Code (the "Bankruptcy Code").                  The Debtors are authorized to continue to operate their

businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. No trustee or examiner has been appointed. On or about June 3,

2009, an Official Committee of Unsecured Creditors (the "Committee") was appointed in the

Chapter 11 Cases. The Chapter 11 Cases are being jointly administered pursuant to Rule



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 1015(b) of the Bankruptcy Rules.

     B.             On September 16, 2009, the Court entered an order (the "Bar Date Order")

establishing November 30, 2009 at 5:00 p.m. (Eastern Time) (the "General Bar Date") as the

deadline for each person or entity (including without limitation, each individual, partnership,

joint venture, corporation, estate, or trust) to file a proof of claim (a "Proof of Claim") against

any Debtor to assert any claim (as defined in section 101(5) of the Bankruptcy Code) (a

"Claim") that arose prior to the Commencement Date.

     C.             On April 29, 2003 certain consumers filed class actions against MLC in the 16th

Judicial Circuit Court (Jackson County) of the State of Missouri (the "Gutzler Class Action")

and in the Superior Court of the State of California for the County of Alameda (the "Sadowski

Class Action" and together with the Gutzler Class Action, the "flex-Cool Class Actions"). In

both the Gutzfer Class Action and the Sadowski Class Action, the parties entered into a

settlement agreement approved by each court (collectively, the "flex-Cool Settlement

Agreement"). Prior to the Commencement Date, the administration of the Dex-Cool Settlement

Agreement had been substantially completed. However, certain claims in connection with the

•Dex-Cool Class Actions had not yet been liquidated pursuant to the terms of the Dex-Cool

Settlement Agreement (the "Unliquidated flex-Cool Claims").

     D.             On May 18, 2004 certain consumers filed a class action against MILC in the

Superior Court of the State of California for the County of Los Angeles, Central Civil West

Courthouse (the "Anderson Class Action"). In the Anderson Class Action, the parties entered

into a settlement agreement approved by the court (the "Anderson Settlement Agreement").

Prior to the Commencement Date, the administration of the Anderson Settlement Agreement had

been initiated. However, certain claims in connection with the Anderson Class Action had not



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yet been liquidated pursuant to the terms of the Anderson Settlement Agreement (the

"Unliquidated Anderson Claims").

                    NOW, THFREFORE, in consideration of the mutual covenants and agreements

set forth in this Stipulation, it is agreed as follows:

                                             AGR1EMENT

                    On behalf of the holders of Unliquidated Dex-Cool Claims, undersigned class

counsel may file a Class Proof of Claim aggregating the holders' respective claims against

Debtors, and the Debtors agree that the undersigned class counsel has authority under Fed. R.

Bankr. P. 3001 and the Bankruptcy Code to execute and file such claim on behalf ofthe holders

of the Unliquidated Dex-Cool Claims.

          2.        On behalf of the holders of Unliquidated Anderson Claims, undersigned class

counsel may file a Class Proof of Claim aggregating the holders' respective claims against

Debtors and the Debtors agrees that undersigned class counsel has authority under Fed. R.

I3ankr. P. 3001 and the Bankruptcy Code to execute and file such claim on behalf of the holders

of the Unliquidated Anderson Claims.

          3.        The undersigned class counsel, by filing the Class Proofs of Claim in respect of

the Unliquidated Dex-Cool Claims and the Unliquidated Anderson Claims, consents to and

hereby is deemed to be the claimant for the purpose of receiving notices and distributions, if

any, except as otherwise provided in a confirmation order related to a chapter 11 plan filed in

the Chapter 11 Cases, and may (but shall not be required to) respond to any objections

interposed as to any claims asserted in each applicable Class Proof of Claim. Notice to the

undersigned class counsel shall be, and shall be deemed to be, sufficient notice to all class

members in the Dex-Cool Class Action and the Anderson Class Action.



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         4.        The Debtors' agreement herein to permit the filing by the undersigned class

counsel of each Class Proof of Claim is intended solely for the purpose of administrative

convenience and neither this Stipulation and Order nor the filing of any Class Proof of Claim

shall in any way prejudice the right of any Debtor or any other party in interest to object to the

allowance of any Class Proof of Claim.

         5.        This Court shall retain jurisdiction to resolve any disputes or controversies

arising from or relating to this Stipulation and Order and to the filing of the Class Proofs of

Claim pursuant to this Stipulation.

         6.        This Stipulation is subject to the approval of this Court and shall become

effective upon the entry of an order by the Court approving this Stipulation. If this Stipulation

is not approved by the Court, then this Stipulation shall be deemed null and void, and shall not

be referred to or used for any purpose by any of the parties hereto (the "Parties") in either the

Chapter ii Cases or in any other forum.

         7.        This Stipulation sets forth the entire understanding of the Parties with respect to

the matters addressed herein and is intended to be the complete and exclusive statement of the

terms thereofand may not be modified or amended except by a writing signed by the Parties

and/or their counsel, which shall be so-ordered by the Court. Accordingly, the Parties have

independently verified all facts and/or conditions of facts that they have determined are

necessary to their decision to enter into this Stipulation, and they have not relied upon any

representations, written or oral, express or implied, of any other person in verifying and

satisfying themselves as to such facts and/or condition of facts.

         8.       The Parties represent and warrant to each other that the signatories to this

Stipulation have full power and authority to enter into this Stipulation.



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          9.        This Stipulation may be executed in multiple counterparts, each of which shall

be deemed an original but all of which together shall constitute one and the same instrument.

Delivery of signed counterparts of this Stipulation by facsimile transmission or as PDF

attachment to an email message shall have the same effect as the manual delivery of an original

signed counterpart of this Stipulation, and all signatures on such counterpart will be deemed to

be as valid as an original signature whether or not a Party delivers manually an original signed

counterpart of this Stipulation, although it is the Parties' intention to deliver an original signed

counterpartafter any facsimile or email delivery.



DATED: November -, 2009                                 Respectfully submitted,




GIRARD GIBBS LLP                                     POLSINELLI SEITJGHART P.C.



By: Is! A. J. de Bartolomec                          By: P. John Brady
A. J. De Bartolomeo                                  P. John Brady

Eric H. Gibbs                                        Twelve Wyandotte Plaza
Dylan Hughes                                         120 West 121h Street
Geoffrey A. Munroe                                   Kansas City, Missouri 64105
601 California Street, 14th Floor                    Telephone: (816) 421-3355
San Francisco, California 94108                      Facsimile: (816) 374-0509
Telephone: (415) 981-4800
Facsimile: (415) 981-4846                            Court-Appointed Class Counsel in Dex-Cool

Court-Appointed Class Counsel in Dex-Cool
Class Action and Anderson




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WElL, GOTSHAL & MANGES LU'




By: Joseph H. Srnolinsky
Joseph H. Smolinsky

767 Fifth Avenue
New York, New York 10153
Attention: Harvey R. Miller
Stephen Karotkin
Joseph H. Smolinsky
Phone: (212) 310-8000
Facsimile: (212) 310-8007


Atlorneys for the Debtors and Debtors in
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                                  ORDER APPROVING STIPULATION

                    Based on the foregoing stipulation of the parties, the Court finding that good

cause exists to approve the Stipulation as an order of the Court, that adequate notice of the

Stipulation has been provided, and that no further notice is required,

                    IT IS HEREBY ORDERED that the foregoing stipulation is approved and

incorporated by reference and made a part of this Order.

                    IT IS FURTHER ORDERED that this Court will retain jurisdiction to

adjudicate any disputes arising in connection with this Order.



Date: December 1, 2009
      New York, New York

                                                  s/Ro/ier(E. Gerber
                                                  UNITED STATES BANKRUPTCY JUDGE




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :       Chapter 11 Case No.
                                                               :
MOTORS LIQUIDATION COMPANY, et al., :                                  09-50026 (REG)
                f/k/a General Motors Corp., et al.             :
                                                               :
                                    Debtors.                   :       (Jointly Administered)
                                                               :
---------------------------------------------------------------x

     ORDER PURSUANT TO FED. R. BANKR. P. 9019 AND FED. R. CIV. P. RULE 23
     APPROVING AGREEMENT RESOLVING PROOF OF CLAIM NO. 51095 AND
         IMPLEMENTING MODIFIED DEX-COOL CLASS SETTLEMENT

                    Upon the Motion, dated March 24, 2011 (the “Motion”),1 of Motors Liquidation

Company (f/k/a General Motors Corporation) and its affiliated debtors, as debtors in possession

(collectively, the “Debtors”), pursuant to Rule 9019 of the Federal Rules of Bankruptcy

Procedure and Federal Rule of Civil Procedure 23, for entry of an order approving the

Agreement Resolving Proof of Claim No. 51095 and Implementing Modified Dex-Cool Class

Settlement (the “Agreement”), attached to the Motion as Exhibit “A,” implementing a

settlement between the Debtors and class action plaintiffs (the “Dex-Cool Plaintiffs”), on behalf

of themselves and all others similarly situated (collectively, the “Dex-Cool Class”) as more fully

set forth in the Motion; and due and proper notice of the Motion having been provided, and it

appearing that no other or further notice need be provided to any party; and the Court having

found and determined that (i) the relief sought in the Motion is in the best interests of the

Debtors, their estates, creditors, and all parties in interest; (ii) the Agreement is fair, reasonable,

adequate, and in the best interest of the Dex-Cool Class considering the complexity, expense,



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          Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such
terms in the Motion.


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 09-50026-mg              Doc 13025-4   Filed 12/16/14 Entered 12/16/14 16:56:41             Exhibit 4
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                                    HEARING DATE AND TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
                                      OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)


and likely duration of the Dex-Cool Class Action litigation; the reaction of the Dex-Cool Class to

the proposed settlement; the stage of the proceedings and the amount of discovery completed; the

risk of establishing liability and damages and maintaining the class through trial; the ability of

the Debtors to withstand a greater judgment; and the range of reasonableness of the settlement in

light of the best possible recovery and all the attendant risks of litigation; (iii) the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; (iv) the

settlement and compromise embodied in the Agreement is within the range of reasonableness;

(v) the Agreement was not the product of collusion between the parties and their respective

counsel, but was the result of bona fide, good faith, arms-length negotiations between

experienced counsel after sufficient discovery was obtained; (vi) and the Notice of Settlement

previously provided to the Dex-Cool Class was adequate and satisfied the Federal Rules of Civil

Procedure and no additional notice of the Agreement is required; and after due deliberation and

sufficient cause appearing therefore, it is

                    ORDERED that the Motion is granted as provided herein; and it is further

                    ORDERED that the Debtors’ entry into the Agreement is in the best interests of

the Debtors and their estates; and it is further

                    ORDERED that the Debtors’ entry into the Agreement is authorized, ratified, and

directed; and it is further

                    ORDERED that the Court will apply Rule 7023 of the Federal Rules of

Bankruptcy Procedure solely for the purposes of settlement in granting the Motion; and it is

further

                    ORDERED that the Court adopts the California and Missouri Courts’ certification

of the Dex-Cool Class solely for the purposes of settlement; and it is further


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                                       HEARING DATE AND TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
                                         OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)


                    ORDERED that the Resubmitting Participating Class Members shall be awarded

an allowed general unsecured claim in the amount of $2,205,570.00 (the “Total Allowed

Unsecured Claim”) and it is hereby determined that such amount is fair and reasonable; and it is

further

                    ORDERED that the Claim and the Dex-Cool Proof of Claim shall be superseded

and replaced by the Total Allowed Unsecured Claim; and it is further

                    ORDERED that Co-Lead Class Counsel is specifically authorized and directed to

administer the proceeds resulting from the Total Allowed Unsecured Claim and otherwise make

pro rata distributions of the cash proceeds to the Resubmitting Participating Class Members in

accordance with the Agreement and as follows:

                    (i)        Co-Lead Class Counsel is authorized to (i) sell, transfer, assign, and/or

otherwise monetize the Total Allowed Unsecured Claim, either individually or through a broker,

and/or (ii) monetize any shares, warrants, options, or other property received from Debtors as

part of any chapter 11 plan in any commercially reasonable manner;

                    (ii)       Cash distributions to Resubmitting Participating Class Members will be

made on a pro rata basis from cash proceeds resulting from the Total Allowed Unsecured Claim

and will be allocated in accordance with the Agreement and the Plan of Allocation contained

therein; and it is further

                    ORDERED that no further notice of (i) the Agreement, (ii) Co-Lead Class

Counsels’ and the Debtors’ entry into the Agreement, or (iii) the representative plaintiffs’ entry

into the Agreement on behalf of the Dex-Cool Class is required; and it is further

                    ORDERED that upon entry of this Order, all terms and conditions of the

Agreement shall become effective; and it is further


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                                    HEARING DATE AND TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
                                      OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)


                    ORDERED that to the extent any conflict exists between the terms and conditions

of the Agreement and this Order, this Order shall control; and it is further

                    ORDERED that no member of the Dex-Cool Class shall have any claim against

the Debtors or Debtors’ Counsel based on implementation of the Agreement or distributions

made from cash proceeds resulting from the Total Allowed Unsecured Claim; and it is further

                    ORDERED that Co-Lead Class Counsel shall be solely responsible for costs

associated with administration and implementation of the Agreement and distribution of the cash

proceeds resulting from the Total Allowed Unsecured Claim; and it is further

                    ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, and/or enforcement of this

Order.

Dated: New York, New York
       [_________], 2011

                                                 United States Bankruptcy Judge




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                     EXHIBIT B
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :       Chapter 11 Case No.
                                                               :
MOTORS LIQUIDATION COMPANY, et al., :                                  09-50026 (REG)
                f/k/a General Motors Corp., et al.             :
                                                               :
                                    Debtors.                   :       (Jointly Administered)
                                                               :
---------------------------------------------------------------x

     ORDER PURSUANT TO FED. R. BANKR. P. 9019 AND FED. R. CIV. P. RULE 23
     APPROVING AGREEMENT RESOLVING PROOF OF CLAIM NO. 51095 AND
         IMPLEMENTING MODIFIED DEX-COOL CLASS SETTLEMENT

                    Upon the Motion, dated March 24, 2011 (the “Motion”),1 of Motors Liquidation

Company (f/k/a General Motors Corporation) and its affiliated debtors, as debtors in possession

(collectively, the “Debtors”), pursuant to Rule 9019 of the Federal Rules of Bankruptcy

Procedure and Federal Rule of Civil Procedure 23, for entry of an order approving the

Agreement Resolving Proof of Claim No. 51095 and Implementing Modified Dex-Cool Class

Settlement (the “Agreement”), attached to the Motion as Exhibit “A,” implementing a

settlement between the Debtors and class action plaintiffs (the “Dex-Cool Plaintiffs”), on behalf

of themselves and all others similarly situated (collectively, the “Dex-Cool Class”) as more fully

set forth in the Motion; and due and proper notice of the Motion having been provided, and it

appearing that no other or further notice need be provided to any party; and the Court having

found and determined that (i) the relief sought in the Motion is in the best interests of the

Debtors, their estates, creditors, and all parties in interest; (ii) the Agreement is fair, reasonable,

adequate, and in the best interest of the Dex-Cool Class considering the complexity, expense,



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          Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such
terms in the Motion.


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                                    HEARING DATE AND TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
                                      OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)


and likely duration of the Dex-Cool Class Action litigation; the reaction of the Dex-Cool Class to

the proposed settlement; the stage of the proceedings and the amount of discovery completed; the

risk of establishing liability and damages and maintaining the class through trial; the ability of

the Debtors to withstand a greater judgment; and the range of reasonableness of the settlement in

light of the best possible recovery and all the attendant risks of litigation; (iii) the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; (iv) the

settlement and compromise embodied in the Agreement is within the range of reasonableness;

(v) the Agreement was not the product of collusion between the parties and their respective

counsel, but was the result of bona fide, good faith, arms-length negotiations between

experienced counsel after sufficient discovery was obtained; (vi) and the Notice of Settlement

previously provided to the Dex-Cool Class was adequate and satisfied the Federal Rules of Civil

Procedure and no additional notice of the Agreement is required; and after due deliberation and

sufficient cause appearing therefore, it is

                    ORDERED that the Motion is granted as provided herein; and it is further

                    ORDERED that the Debtors’ entry into the Agreement is in the best interests of

the Debtors and their estates; and it is further

                    ORDERED that the Debtors’ entry into the Agreement is authorized, ratified, and

directed; and it is further

                    ORDERED that the Court will apply Rule 7023 of the Federal Rules of

Bankruptcy Procedure solely for the purposes of settlement in granting the Motion; and it is

further

                    ORDERED that the Court adopts the California and Missouri Courts’ certification

of the Dex-Cool Class solely for the purposes of settlement; and it is further


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 09-50026-mg               Doc 13025-4      Filed 12/16/14 Entered 12/16/14 16:56:41             Exhibit 4
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                                       HEARING DATE AND TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
                                         OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)


                    ORDERED that the Resubmitting Participating Class Members shall be awarded

an allowed general unsecured claim in the amount of $2,205,570.00 (the “Total Allowed

Unsecured Claim”) and it is hereby determined that such amount is fair and reasonable; and it is

further

                    ORDERED that the Claim and the Dex-Cool Proof of Claim shall be superseded

and replaced by the Total Allowed Unsecured Claim; and it is further

                    ORDERED that Co-Lead Class Counsel is specifically authorized and directed to

administer the proceeds resulting from the Total Allowed Unsecured Claim and otherwise make

pro rata distributions of the cash proceeds to the Resubmitting Participating Class Members in

accordance with the Agreement and as follows:

                    (i)        Co-Lead Class Counsel is authorized to (i) sell, transfer, assign, and/or

otherwise monetize the Total Allowed Unsecured Claim, either individually or through a broker,

and/or (ii) monetize any shares, warrants, options, or other property received from Debtors as

part of any chapter 11 plan in any commercially reasonable manner;

                    (ii)       Cash distributions to Resubmitting Participating Class Members will be

made on a pro rata basis from cash proceeds resulting from the Total Allowed Unsecured Claim

and will be allocated in accordance with the Agreement and the Plan of Allocation contained

therein; and it is further

                    ORDERED that no further notice of (i) the Agreement, (ii) Co-Lead Class

Counsels’ and the Debtors’ entry into the Agreement, or (iii) the representative plaintiffs’ entry

into the Agreement on behalf of the Dex-Cool Class is required; and it is further

                    ORDERED that upon entry of this Order, all terms and conditions of the

Agreement shall become effective; and it is further


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                                    HEARING DATE AND TIME: April 26, 2011 at 9:45 a.m. (Eastern Time)
                                      OBJECTION DEADLINE: April 19, 2011 at 4:00 p.m. (Eastern Time)


                    ORDERED that to the extent any conflict exists between the terms and conditions

of the Agreement and this Order, this Order shall control; and it is further

                    ORDERED that no member of the Dex-Cool Class shall have any claim against

the Debtors or Debtors’ Counsel based on implementation of the Agreement or distributions

made from cash proceeds resulting from the Total Allowed Unsecured Claim; and it is further

                    ORDERED that Co-Lead Class Counsel shall be solely responsible for costs

associated with administration and implementation of the Agreement and distribution of the cash

proceeds resulting from the Total Allowed Unsecured Claim; and it is further

                    ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, and/or enforcement of this

Order.

Dated: New York, New York
       [_________], 2011

                                                 United States Bankruptcy Judge




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                     EXHIBIT C
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               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                AT INDEPENDENCE
MICHAEL GUTZLER, et aL,                            )
                                                   )
                Plaintiffs,                        )                          r
                                                   )



                                                          Case No. 03CV208786
                                                                              k~
v.                                                 ))

GENERAL MOTORS CORPORATION,                         )     Division 2

                Defendant.                          )

  • AMENDED ORDER DECERTIFYING CLASS, GRANTING PRELINARY
   APPROVAL OF PROPOSED SETTLEMENT, PROVISIONALLY CERTHTYING
SETTLEMENT CLASS. AND DIRECTING DISSEMINATION OF NOTICE TO CLASS

         WHEREAS, under the Missouri Class Action Settlement Agreement, entered into

between the Parties, the Parties have applied for an order granting preliminary approval of a

proposed class action settlement of the above-captioned action in accordance with a Settlement
Agreement dated March 26, 2008 («Agreemeu ), which together with the Exhibits annexed
thereto sets forth the terms and conditions of a proposed settlement ("Settlement") whereby this

case will be dismissed with prejudice;

         WHEREAS the Court has read and considered the Agreement and the Exhibits annexed
thereto; and

                WHEREAS all defined terms contained and not otherwise defined herein shall

have the same meanings as set forth in the Agreement,
                NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

         1.      The Court grants preliminary approval of the Agreement and the proposed

Settlement set forth therein, subject to farther consideration at the Fairness Hearing described
below.
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       2.      Solely for settlement purposes and for purposes of the Agreement and the

proposed Settlement, the Court decertifies the existing class defined in the Court's -January 9,
2006 Order, grants Plaintiffs leave to file a Second Amended Petition and certifies the following

Settlement Class: All Consumers who purchased or leased a Covered Vehicle in the State of

Missouri (i) that has been in service in excess of seven years, measured from the Date of Initial
Vehicle Delivery, at the time of the first date ou which notice of the Settlement is disseminated
and who, at the time of the notice, had not incurred a repair expense of the type included in the

definition of Covered Repair, or (ii) who incurred an expense for a Covered Repair before the
first date on which notice of the Settlement is disseminated to the Class in accordance with the

Notice Order. Excluded from the Class are GM; any affiliate, parent, or subsidiary of GM; any

entity in which GM has a controlling interest; any officer, director, or employee of GM; any
successor or assign of GM; and the Judge to whom the Action is assigned as well as his or her

immediate family.
       3.      Pursuant to the Agreement, and under Rule 52.08, this Court finds, for purposes
of settlement only, that (a) the Class is so numerous that joinder of 'all Class Members is

impracticable; (b) there are questions of law or fact common to Class Members that predominate
over any questions affecting only individual Class Members; (c) the claims of the Named

Plaintiffs are typical of those of the Class; (d) the Plaintiff and their counsel will fairly and
adequately protect the interests of the Class; and (e) a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy, considering           (1) the Class


Members' interests in individually controlling the prosecution of separate actions, (ii) the extent

and nature of any litigation concerning the controversy -already begun by Class Members,




                                                  1)
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(iii) the desirability or undesirability of concentrating litigation of the claims in this particular

forum, and (iv) the likely difficulties in managing a class action.

        4.       To adl on behalf of the Class in connection with the Agreement and proposed

Settlement, the Court appoints the Named Plaintiffs as representatives of the Class and their

counsel of record, Shughart Thomson & Kilroy, P.C. and Girard Gibbs LLP as Co-Lead Counsel

for the Class.
        5.       If the Agreement is not approved by the Court or the Settlement is terminated or

fails to become effective in accordance with the terms of the Agreement, the Court shall recertify
the current class, Plaintiffs shall withdraw the Second Amended Petition and this conditional
certification of a settlement class shall be vacated without further order of the Court and without
prejudice to the right of any party to seek leave to amend a petition or seek or oppose class

certification for trial purposes thereafter. Otherwise, upon the Effective Date of the Settlement,
this class certification shall become unconditional for settlement purposes.

        6.       A hearing ("Fairness Hearing") shall be held before this Court on September 5,
2008 at 9.04 a.m-, in Division 2 of the Circuit Court of Jackson County, Missouri, at

Independence. 308 West Kansas Ave., Independence, Missouri 64050, to determine whether the
proposed Settlement, resolving and dismissing the Action on the terms and conditions provided
for in the Agreement, is fair, reasonable, and adequate to the Class and should be -approved by
the Court; whether a Judgment as provided in Exhibit C of the Agreement should be entered

herein; and to determine the amount of attorneys' fees and expenses that should be awarded to
Class Counsel and incentive awards that should be approved for the Representative Plaintiffs.




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       7.      The Forties have propose~th —Glass tie—giveax~zofi a ttxe pidpcss ed
Settlement by mail and publication as set forth in more detail in the memorandum filed with the
Court describing-the notice program.

       8.      The Court approves the proposed notice program, including the form and content
of the Long-Form Notice, claim, form, summary notice for publication, and the proposed method
of their dissemination, and Ends that the proposed notice program meets the requirements of due
process and Missouri law, is the best notice practicable under the circumstances, and constitutes
due and sufficient notice to all persons entitled thereto. The Court directs the Parties          to

implement the proposed notice program as set forth in the Settlement Agreement and the

memorandum describing the notice program filed with the Court.

       9.      All persons who fall within the Class definition and who do not timely and validly

exclude themselves from the Class shall be . bound by all determinations and judgments whether

favorable or unfavorable to the Class.

        10.    Persons who wish to exclude themselves from the Class shall request exclusion

within the time and in the manner set forth in the Long-Form Notice,, including mailing or

delivering a written exclusion request, such that it is received on or before August 13, 2008 at the

address set forth in the Long-Form Notice. Unless the Court orders otherwise, no request for

exclusion shall be valid unless it is made within the time and in the manner set forth in the Long-

Form Notice.

        11.    Any Class Member may enter an appearance in the Action, at the Class Member's

own expense, individually or through counsel of the Class Member's .choice. Any Class Member

who does not enter an appearance will be represented by Co-Lead. Counsel. Pending
determination of whether the Settlement should be granted final approval, neither the Nand



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Plaintiffs nor any Class Member, ei   er    ctly Tepresentat velyroJu any ytuer cap acity, shall
commence or prosecute any action or proceeding in any court or tribunal asserting any of the

claims set forth in paragraph 3.14 of the Agreement.

       12. The Court will consider any Class Member's written objections or comments on

whether the proposed Settlement should or should not be approved as fair, reasonable, and

adequate; or whether a Judgment -should or should not be entered thereon; or whether attorneys'

fees and expenses should or should not be awarded to Class Counsel; or whether incentive

awards should or should not be approved for the Representative Plaintiffs, provided the Class

Member complies with the deadline and procedure set forth in the Long Form Notice for

submitting such objections or comments, including (a) delivering, no later than August 13, 2008,

such objections or comments and any supporting paper's or briefs to the Court : either by mailing

there to: Clerk of Court, Circuit Court of Jackson County, Missouri, 308 West Kansas Avenue,

Independence, Missouri 64050 or by filing in. person at either location of the Circuit Court of

Jackson County; and (b) mailing or delivering copies of such comments or objections and

supporting papers or briefs to Co-Lead Counsel for the Class and to GM's counsel at the

addresses listed in the Notice, such that they are received no later than August 13, 2008. Unless

otherwise ordered by the Court, any. Class Member who does not make his oilier objection in the

manner required shall be deemed to have, waived such objection and shall forever be foreclosed

from making any objection to the fairness, reasonableness, or adequacy of the ' proposed

Settlement; the entry of a Judgment; any award of attorneys' fees or expenses to Class Counsel;

or any incentive award to any Representative Plaiutif An objecting Class Member may not

appeal an order approving the Settlement as fair, reasonable and adequate; entry of Judgment

that dismisses this action with prejudice and releases -the claims of Class Members - as provided




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  for in the Settlement; an award of incentive Faymens tiepesenve PiafntsTor~n _ _

  award of reasonable attorneys fees and costs to Class Counsel, unless the objecting Class

. Member appears in person, through his/her counsel or as otherwise may be permitted by the

  Court, at the Fairness Hearing, or seeks leave of Court excusing such appearance prior to the

  Fairness Hearing.

         13.     The Court will also hear any Class Member who appears at the Fairness Hearing

  and wishes to be heard on the above matters ; provided that the Class Member complies with the

  deadline and procedure set forth in-the Long-Form Notice for giving notice of his her intention to

  be appear at the Fairness Hearing, Any Class Member who does not give such notice in the

  manner required shall not be entitled to be beard at the Fairness Hearing.

          14.    All papers in support of final approval of the Settlement, or Class Counsel's
  application for attorneys' fees, reimbursement of expenses, and incentive awards for the

  Representative Plaintiffs (``Fee Application"), shall be filed and served by August 14, 2008. The

  Parties may respond to any objection to the Settlement or Fee Application, provided that any

  such responses are filed and served no later than August 28, 2008.

          15.    The ' Fee Application will be considered separately from the fairness,

  reasonableness, and adequacy of the Settlement.

          16.    All costs of giving notice to the Class and administering the Settlement shall be

  borne and paid as set forth in the Agreement.

          17.    The Court reserves the right to adjourn the date of the Fairness Hearing without

  further notice to the Class Members, and retains jurisdiction to -consider all further applications

  arising out of or in connection with the proposed Settlement. The Court may approve the
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Settlement, with such modifications as may be agree " -k "byte - ies-'astd-approval-by-#he-                _ _.
Court, if appropriate, without further notice to the Class_
        18. If the Settlement is not approved or consummated for any reason whatsoever, the
 Settlement and all proceedings had in connection therewith shall, be without prejudice to the
rights of the Parties in all of the Actions and all of the actions will return to the status quo ante as

--provided in this Order and in the Settlement Agreement.
        IT I-S SO ORDERED.


    DATED:     clod-'     / G`
                                                  iE HONORABLE                    L MANNF, S
                                                JUDGE DIVISION 2
                                                JACKSON COUNTY CIRCUIT COURT




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                                                                                    tom_ _
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                                              Pg 139 of 186




I certify a copy of the above was faxed or maiTTh       r       ay ofpEi1," 2415,

Richard M. Paul Ill, Attorney for P1aintif -fs
Fax # (816) 374-0509
Eric D. Gibbs, Attorney for Plaintiffs
Fax ; (415) 9814846

John M. Parisi, Attorney for Plaintiffs
Fax # (816) 474-00,03

David R. Smith, Attorney for Plaintiffs
Fax # (816) 753-1830

Andrew N. Friedman, Attorney for Plaintiffs
Fax # (202) 408-4699
Norman R. Siegel, Attorney for Plaintiffs
Fax # ( 816) 714-7101
Robert T. Hoffman, Attorney for Defendant
Faze # (816) 374-3300
Robert B. Ellis, Attorney for Defendant
Fax # (312) 861-2200

Sylvester James, Jr., Discovery Commissioner
Fax# (816) 472-6805
M. Brady, Law Clerk, Division 2




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                     EXHIBIT D
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                                                                          ENDORSED
      T                                                                     FKBD
                                                                       ALAMEDA COUN'I`y
      2
                                                                          MAR 2 0 2008
     3                                                            CLERK Op THE SUPERIOR COURT
                                                                        TYr   r Y ~ M. ADAMXr
     4                                                            EY                      Deputy
     5

     6                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
     7                                    FOR THE COUNTY OF ALAMEDA
     8    Coordination Proceeding                               JUDICIAL COUNCIL COORDINATION
          Special Title (Rule 1550(b))                          PROCEEDING NO. 4495
     9
          GENERAL MOTORS                                        SUPERIOR COURT OF CALIFORNIA
 10       DEX-COOL/GASKET CASES                                 COUNTY OF ALAMEDA
                                                                NO. HG03093843
 11               Included actions:
                                                                SUPERIOR COURT OF CALIFORNIA
 12 j Sadowski v. General Motors Corp.                          COUNTY OF SAN JOAQUIN
                                                                NO. CV 025 770 ,
 13
          Bertino v. General Motors Corp,                       [MO'
 14                                                             ORDER GRANTING PRELIMINARY
                                                                APPROVAL OF PROPOSED SETTLEMENT,
 15                                                             PROVISIONALLY CERTIFYING CLASS,
                                                                AND DIRECTING DISSEMINATION OF
 16.                                                            NOTICE TO CLASS
 17                                                             The Honorable Robert B. Freedman
 18                                                            Action filed: April 29, 2003
                                                               Trial date:   None set
 19
20               WHEREAS, under the Master Class Action Settlement Agreement Covering All States
21        Except the State of Missouri, entered into between the Parties, the Parties have applied for an order
22        granting preliminary approval of a proposed class action settlement of, among other Actions, the
23        above-captioned action ("Sadowski Action"), in accordance with a Settlement Agreement dated
24. March 19, 2008 ("Agreement"), which together with the Exhibits annexed thereto sets forth the

25.. terms and conditions of a proposed settlement ("Settlement") whereby the Sadowski Action, among

26        ather Actions, will be dismissed with prejudice;
27               WHEREAS the Court has read and considered the Agreement and the Exhibits annexed
28        hereto; and


                        ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT
                                             CASE NO. HG03093843
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                 WHEREAS all defined terms contained arid not otherwise defined herein shall have the same
      2 meanings as set forth in the Agreement,
   3            NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
   4             I.     The Court grants preliminary approval of the Agreement and the proposed Settlement
   5 set forth therein, subject to further consideration at the Fairness Hearing described below.
   6            2.      Solely for settlement purposes and for purposes of the Agreement and the proposed
   7 Settlement, the Court grants Plaintiffs leave to file a Fourth Amended Complaint and certifies the
         following Class: All Consumers in the United States of America (excepting those who purchased or
   9 leased a vehicle in the State of Missouri) who (i) own or lease, or who have owned or leased, a
  10 Covered Vehicle that has been in service in excess of seven years, measured from the Date of Initial
  11 Vehicle Delivery, at the time of the first date on which notice of the Settlement is disseminated and
  12 who, at the time of the notice, had not incurred a repair expense of the type included in the definition
  13 of Covered Repair, or (ii) own or lease, or who have owned or leased, a Covered Vehicle and who
  14 incurred an expense for a Covered Repair before the first date on which notice of the Settlement is
  15 disseminated to the Class in accordance with the Notice Order. Excluded from the Class are GM;
  16 any affiliate, parent, or subsidiary of GM; any entity in which GM has a controlling interest; any
 17 officer, director, or employee of GM; any successor or assign of GM; anyone employed by counsel
 18 for Representative Plaintiffs; any Judge to whom any of the Actions is assigned as well as his or her
 19 immediate family.
 20            3.      Pursuant to the Agreement, and under section 382 of the Code of Civil Procedure and
 21 section 1781 of the Civil Code, this Court finds, for purposes of settlement only, that the Class is
 22 ascertainable and that there is a well-defined community of interest in the questions of law and fact
 23 involved affecting the Class Members, and finds and concludes that (a) the Class is so numerous that
 24 joinder of all Class Members is impracticable; (b) there are questions of law or fact common to Class
 25 Members that predominate over any questions affecting only individual Class Members; (c) the
 26 Maims of the "Sadowski Plaintiffs," namely, Michael Sadowski and William Thornton, are typical of
 27 hose of the Class; (d) the Sadowski Plaintiffs and their counsel will fairly and adequately protect the
28 interests of the Class; and (e) a class action is superior to other available methods for fairly and

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         efficiently adjudicating the controversy, considering (i) the Class Members' interests in individually
         controlling the prosecution of separate actions, (ii) the extent and nature of any litigation concerning
        the controversy already begun by Class Members, (iii) the desirability or undesirability of
         concentrating litigation of the claims in this particular forum, and (iv) the likely difficulties in
        managing a class action.
                 4.      To act on behalf of the Class in connection with the Agreement and proposed
        Settlement, the Court appoints the Sadowski Plaintiffs as representatives of the Class and their
        counsel of record, Girard Gibbs LLP and Shughart Thomson & Kilroy P.C., as Co-Lead Counsel for
    9 I I the Class.
   10
 •                5.     If the Agreement is not approved by the Court or the Settlement is terminated or fails
 11 to become effective in accordance with the terms of the Agreement, Plaintiffs shall withdraw the
 12 Fourth Amended Complaint and this conditional class certification shall be vacated without further
 13 order of the Court and without prejudice to the right of any party to seek leave to amend a complaint
 14 or seek or oppose class certification for trial purposes thereafter. Otherwise, upon the Effective Date
 15 of the Settlement, this class certification shall become unconditional for settlement purposes.
 16              6.      A hearing ("Fairness Hearing") shall be held before this Court on August 29, 2008 at
 17    IL: e -m., in Department 20 of the Superior Court of California for Alameda County, County
 18 Administration Building, 1221 Oak Street, Oakland, California 94612, to determine whether the
 19 proposed Settlement, resolving and dismissing the Sadowski Action on the terms and conditions
 20 provided for in the Agreement, is fair, reasonable, and adequate to the Class and should be approved
 21 by the Court; whether a Judgment as provided in Exhibit C of the Agreement should be entered
 22 herein; and to determine the amount of attorneys' fees and expenses that should be awarded to Class
 23 Counsel and Amico/Bertino Counsel and incentive awards that should be approved for the
 24 Representative Plaintiffs.
25              7.      The Parties have proposed that the Class be given notice of the proposed Settlement
26 by mail and publication as set forth in more detail in the memorandum filed with the Court
27     describing the notice program,
28

                                                             3
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                  8.      The Court approves the proposed notice program, including the form and content of
      2 the Long-Form Notice, claim form, summary notice for publication, and the proposed method of
      3 their dissemination, and finds that the proposed notice program meets the requirements of due
   4 process and California law, is the best notice practicable under the circumstances, and constitutes
      5 due and sufficient notice to all persons entitled thereto. The Court directs the Parties to implement
   6 the proposed notice program as set forth in the Settlement Agreement and the memorandum
   7 I describing the notice program filed with the Court.
   8             9.      All persons who fall within the Class definition and who do not timely and validly
   9 I exclude themselves from the Class shall be bound by all determinations and judgments whether
  10 favorable or unfavorable to the Class.
  11             10.     Persons who wish to exclude themselves from the Class shall request exclusion
  12 within the time and in the manner set forth in the Long-Form Notice, including mailing or delivering
  13 a written exclusion request, such that it is received on or before August 13, 2008 at the address set•
  14 forth in the Long-Form Notice. Unless the Court orders otherwise, no request for exclusion shall be
  15 valid unless it is made within the time and in the manner set forth in the Long-Form Notice.
 16              11.     Any Class Member may enter an appearance in the Sadowski Action, at the Class
 17 Member's own expense, individually or through counsel of the Class Member's choice. Any Class
 18 Member who does not enter an appearance will be represented by Co-Lead Counsel. Pending
 19 determination of whether the Settlement should be granted final approval, neither the Sadowski
 20 Plaintiffs nor any Class Member, including any Representative Plaintiff in any of the Actions, either
 21 directly, representatively, or in any other capacity, shall commence or prosecute any action or
 22 proceeding in any court or tribunal asserting any of the claims set forth in paragraph 3.14 of the
 23 Agreement.
 24             12.      The Court will consider any Class Member's written objections or comments on
 25 whether the proposed Settlement should or should not be approved as fair, reasonable, and adequate;
 26 )r whether a Judgment should or should not be entered thereon; or whether attorneys' fees and
 27 ,xpenses should or should not be awarded to Class Counsel and Amico/Bertino Counsel; or whether
 28 .ncentive awards should or should not be approved for the Representative Plaintiffs, provided the

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        Class Member complies with the deadline and procedure set forth in the Long-Form Notice for
        submitting such objections or comments, including (a) delivering, no later than August 13, 2008,
       such objections or comments and any supporting papers. or briefs to the Court, either by mailing
       them. to: Clerk of Court, Superior Court of California, County of Alameda, Rene C. Davidson
       Alameda County Courthouse, 1225 Fallon Street, Oakland, California 94612, or by filing in person
       at any location of the Superior Court, County of Alameda that includes a facility for civil filings; and
   7 (b) mailing or delivering copies of such comments or objections and supporting papers or briefs to
   8 Co-Lead 'Counsel for the Class and to GM's counsel at the addresses listed in the Notice, such that
   9 they are received no llater than August 13, 2008. Unless otherwise ordered by the Court, any Class
  10 Member who does not make his or her objection in the manner required shall be deemed to have
  11 waived such objection and shall forever be foreclosed from making any objection to the fairness,
  12 reasonableness, or adequacy of the proposed Settlement; the entry of a Judgment; any award of
  13 attorneys' fees or expenses to Class Counsel; or any incentive award to any Representative Plaintiff.
  14 An objecting Class Member may not appeal an order approving the Settlement as fair, reasonable
 15 and adequate; entry of Judgment that dismisses this action with prejudice and releases the claims of
 16 Class Members as provided for in the Settlement; an award of incentive payments to the
 17 Representative Plaintiffs; or an award of reasonable attorneys fees and costs to Class Counsel, unless
 18 the objecting Class Member appears in person, through his/her counsel or as otherwise may be
 19 permitted by the Court, at the Fairness Hearing, or seeks leave of Court excusing such appearance
 20 prior to the Fairness Hearing.

 21           13.    The Court will also hear any Class Member who appears at the Fairness Hearing and
 22 wishes to be heard on the above matters, provided that the Class Member complies with the deadline
 23 and procedure set forth in the Long-Form Notice for giving notice of his her intention to be appear at
 24 the Fairness Hearing. Any Class Member who does not give such notice in the manner required
 25 shall not be entitled to be heard at the Fairness Hearing.
 26           14.    All papers in support of final approval of the Settlement, or Class Counsel's or
 27 AmicoBcrtino Counsel's application for attorneys' fees, reimbursement of expenses, and incentive
 28 awards for the Representative Plaintiffs ("Fee Application"), shall be filed and served by August 6,

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       1   2008. The Parties may respond to any objection to the Settlement or Fee Application, provided that
       2   any such responses are filed and served no later than August 20, 2008.
       3            15.     The Fee Application will be considered separately from the fairness , reasonableness,
       4   and adequacy of the Settlement.

       5           16.      All costs of giving notice to the Class and administering the Settlement shall be borne

      6-   and paid as set forth in the Agreement.
      7            17.      The Court reserves the right to adjourn the date of the Fairness Hearing without
      8    further notice to the Class Members, and retains jurisdiction to consider all further applications
      9    arising out of or in connection with the proposed Settlement. The Court may approve the
  10       Settlement, with such modifications as may be agreed to by the Parties and approved by the Court, if
  11       appropriate, without further notice to the Class.
  12               18.      If the Settlement is not approved or consummated for any reason whatsoever, the
  I3       Settlement and all proceedings had in connection therewith shall be without prejudice to the rights of
  14       the Parties in all of the Actions and all of the actions will return to the status quo ante as provided in
  15       this Order and in the Settlement Agreement.
  16              IT IS SO ORDERED.
 17
 18        DATED:            G    o~U    &0
                                                                            BERT B. FREEDMAN
 19                                                       JUDGE OF THE SUPERIOR COURT
 20
 21
 22
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                          ORDER GRANTING PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT
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                     EXHIBIT E
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                SUPERIOR COUR1 OF THE STATE OF CALIFORNIA FOR I HE Cow' ry OF ALAMEDA
                       SADow KI V. GENERAL MOTORS CORP, CAsc No HGO3091369


                          If you have ever owned or leased
               any of the General Motors vehicles listed on pages 2-3,
           please read this notice carefully, as it affects your legal rights.
                     The California Superior Court for Alameda County authorized this notice
                                      This is not a solicitation from a lawyer

      The purpose of this notice is to provide information about a class action settlement and to inform people
                           covered by the proposed Settlement of their rights and options

      • There is a proposed class action Settlement involving the GM vehicles . listed in paragraph 4 These
         vehicles were factory-equipped with Dex-Cool Dex-Cool is an engine coolant designed to protect
         vehicles engine and cooling systems
      • You are included in this proposed Settlement if you own or lease or previously owned or leased any of
         these vehicles and made repairs related to the use of Dex-Cool as outlined in paragraph 4 of this Notice
      • Repairs involving intake manifold gasket failures, engine coolant sealing issues, and sludge (a rust-like
          material) are covered by this proposed Settlement These repairs would likely. involve parts like the
          intake manifold and/or manifold gaskets, throttle body gaskets, radiator cap, heater core, water pump
          and other parts of the cooling system Sec paragraph 4 for a complete description of the spcc,ific types
          of repairs covered for each vehicle type.
      • The Court in charge of this case still has to decide whether to give final approval to the proposed
         Settlement Valid claims will be paid if the proposed Settlement is approved
      • The types of repairs covered in the proposed Settlement, how to file a claim and your legal i ights to
         participate or exclude yourself are outlined in this Notice Please read it carefully




                                     The only way to get a payment Submit your claim online or by mail
         SuBMI I A CLAIM
                                     by October 27, 2008

                                     Get no payment This is the only option that allows you to be part of
         EXCLUDE YOURSELF
                                     any other lawsuit concerning the issues being settled now

         COMM EN r ON THE             Write to the Court about why you support or oppose the proposed
         PROPOSED SETTLEM EN I        Settlement

         GO TO A HEARING              Ask to speak to the Court about the proposed Settlement

                                      Get no payment Be barred from bringing or being part of any other
         Do No t I I ING
                                      lawsuit concerning the issues being settled now




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1.      THE LITIGATION: A number of lawsuits were Fled as class actions against GM in state and federal
courts across the United States involving "Dex- Cool" extended-life engine coolant Among other things, the
lawsuits allege that (I) Dex-Cool in the vehicles listed below caused problems with the vehicles' engines or
cooling systems, and (it) that certain engine components, such as the nylon/silicone lower intake manifold
gaskets equipped in certain vehicles, were defective

2       GM's POSITION: GM denies all allegations of wrongdoing and denies liability under any claim
asserted in the lawsuits GM argued that Dex-Cool protected engines for a longer period than traditional
coolants, caused less wear on certain engine parts than traditional coolants, and provided environmental
benefits GM further argued that alleged problems with the vehicles' engines or cooling systems were caused
by owners not following the maintenance instructions for their vehicles or other factors

3.      GM's AGREEMsNT TO SETTLE: GM has agreed to a class action settlement of the lawsuits GM will
reimburse class members up to a specified amount for certain repair costs they paid during the first seven years
or 150,000 miles of vehicle ownership or lease, whichever is earlier

This notice is to inform class members of the existing lawsuits,,the major terms of the proposed Settlement,
and class members' rights and options This proposed Settlement will not become effective unless it is
approved by the Court as described below

4       CLASS COVERED BY IIIE PROPOSED SEI -ILEMENI               You are included in the class (i) if you are a
United States resident, (ii) if you own or lease, or previously owned or leased, any of the vehicles listed below,
for personal, family; or household use (as opposed to commercial or business use), and (iii) if the vehicle was
not purchased or leased in the State of Missouri, and

     (a) The vehicle has been in service for over seven years since the date the original buyer or lessee took
         delivery of the vehicle, and
     (b) As of the date of this Notice (May 30, 2008), you have not had to pay for any Covered Repair that was
         performed during the first seven years or 150,000 miles (whichever is earlier.) after the date the original
         buyer or lessee took delivery of the vehicle,
                                                           OR
     (c) Regardless of how long the vehicle has been in service, you paid out-of-pocket for a Covered Repair
         that was performed during the first seven years or 150,000 miles (whichever s earlier) after the date the
         original buyer or lessee took delivery of the. vehicle

                                              GROUP A VEHICLES

                                               Model years 1995-2003
    Equipped with 3.1-liter or 3.4-liter V6 engine, manufactured before April 10, 2003 with a nyloitlsilicone
                                           lower intake manifold gasket.
          Buick.               Century, Rendezvous
          Chevrolet            impala, Lumina, Malibu, Monte Carlo, Venture
          Oldsmobile           Mere, Cutlass, Silhouette
          Pontiac              Artek, Grand Am, Grand Prix, Montana, Trans Sport



            QUli51'IONS 7 VISIT www f)L'XGOOLSETr EMITI I COM On CALL TOLL-FRcc I (866) 245-4291
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    Note Some of these vehicles may have been offered for sale with an engine other than a 3 1-liter or 3 4 -liter
    V6 engine Any of the above models sold with an engine other than a 3 1-liter or 3 4 -liter V6 engine aic not
    included and are not eligible to make a claim

         Group A Covered Repairs : Replacement of tailed nylon/silicone lower intake manifold gasket.


                                                  GROUP B VEHICLES

                                                  Model years 1995-2004
                    Equipped with 3.8-titer V6 engine (internal GM engine designation.RPO L36).
            Buick                LeSabre, Park Avenue, Regal, Riviera
            Chevrolet               Camaro, Impala, Lunitna, Monte Carlo
            Oldsmobile              Eighty-Eight, Intrigue, LSS, Ninety-Eight
            Pontiac              Bonneville, Firebird, Grand Prix

    Note Some of these vehicles may have been offered for sale with ariengine other than a 3 8-liter V6 engine
    RPO L36 Any of the above models sold with an engine other than a 3 8-liter V6 engine RPO L36 are not
    included and are not eligible to make a claim

                   Group B Covered Repairs : Repairs necessitated by engine coolant scaling issues,
                     including replacement of throttle body gasket, upper intake manifold gasket,
                                  lower intake manifold gasket, or intake nianifold.


                                                  GROUP C VEHICLES

                                                   Model years 1995-2000
                                              Equipped with 4.3-liter V6 engine
            Chevrolet               Blazer, Chevrolet S-ID
            GMC                     Envoy, Jimmy, S-f5
            Oldsmobile              Bravada

               Group.0 Covered Repairs : Repairs necessitated by cooling-system sludge, including
      cooling=system flush, beater core repairs, water pump repairs, or radiator cap replacement "Sludge"
                                 refers to a rust=like material that can form to the
                        cooling system and whose formation is related to use of Dex-Cool.

     if you own one of the models listed above, but (l) with a different engine size than what is listed, or (ii) the
     vehicle was manufactured using a lower intake manifold gasket other than a nylon/silicone gasket, or (m) the
     vehicle is a Group A vehicle manufactured alter April 9, 2003, then you ate not covered by the settlement and
     are not eligible to the a claim


              QuES i IONS? Vlst t   .www DCXCOOLSEFI LEMEN I COM OR CALL TOLL-FREC 1 (866) 245-4291
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People who purchased or leased their GM vehicle in Missouri arc not included in this proposed Settlement
They are instead included in a separate proposed Settlement that is being submitted for approval to a Missouri
state court The settlement benefits of the proposed Missouri settlement _arc the same as the settlement benefits
of the proposed Settlement described to this notice

Also excluded from the class are GM, any affiliate, parent, or subsidiary of GM, any entity in which GM has a
controlling interest, any officer, director, or employee of -GM, any successor or assign of GM, anyone
employed by counsel for any of the named plaintiffs in the lawsuits covered by this proposed Settlement, any
judge to whom any of the lawsuits is assigned, as well as his or her immediate family, and all persons who
timely and validly request exclusion from the class (The procedure for exclusion is described below)

The Court has appointed the following lawyers as Co-Lead Counsel to represent the class for purposes of the
proposed Settlement -

        Eric H Gibbs                                 P John Brady
        Girard Gibbs LLP                             Shughart Thomson & Kilroy P C
        601 California Street, Suite 1400            Twelve Wyandotte Plaza
        San Francisco, California 94108              120 West 12th Street
                                                     Kansas City, Missouri 64105

5.      SETTLEMEN t ILI'.NEFI is: Under the proposed Settlement, GM will send cash reimbursements to class
members who paid for Covered Repairs performed within seven years or 150,000 miles (whichever is earlier)
after the original owner or lessee took delivery of the vehicle, and who submit timely and valid claims

The amount of reimbursement for which you are eligible depends on (i) when the Covered Repair was
performed and (ii) the amount you actually paid, as described below

    a For a Covered Repair made within five years after initial vehicle delivery
       You are eligible to be reimbursed the documented amount you paid out-of-pocket up to $400, if you
       were not previously fully reimbursed
        However, if you can document that the Covered Repair required you to pay over $1,500 to address an
        internal coolant leak, your reimbursement level may be different If so, you can elect to request
        reimbursement of 40°%0 of the amount you paid out-of-pocket up to $800, if you were not previously
        fully reimbursed -
        (An internal coolant leak means that coolant leaked from one vehicle component into another
        component Whereas an external coolant leak means that coolant leaked from inside a vehicle
        component to the exterior of the vehicle)
    b Fora Covered Repair made in the sixth year after initial vehicle delivery
       You are eligible to be reimbursed the documented amount you paid out-ofpocket up to $100, if you
       were not previously fully reimbursed
    c   For a Covered Repair made in theseventh year after initial vehicle delivery:
        You are eligible to be reimbursed the documented amount you paid out-of-pocket up to $50, if yott
        were not previously fully reimbursed
If you paid for more than one Covered Repair (whether on the same vehicle or on different vehicles included in
the proposed Settlement), you may make a separate ieirnbursement claim for each one




          QUESTIONS` Visi i www DhxCooLSI:I i i.LMCN I cOM OR CAF.t, TOLL-FRa 1 (866) 245-4291
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6.     How To MAKE A CLAIM, To Make a claim for a reimbursement under the proposed Settlement, you
must submit the following documents, either online or by mail If you do not submit each of the following
documents, and fully complete the claim statement, your claim may be denied.

  (a) Completed Claim Statement. A Claim Statement form is enclosed with this Notice If you need more
      forms, you can photocopy this one or download additional copies from the proposed Settlement Web
      site at www DexCoolSettlement corn You can also call the Claims Administrator toll-free at
      1 (866) 245-4291 to have more forms mailed to you
   (b) Proof of repair payment. You must provide documentation showing that you paid out-of-pocket for a
       Covered Repair, for which you were not fully reimbursed Please read the instructions on the Claim
       Statement form for more details
   (c) - Proof of ownership or tease. You must provide documentation showing that you owned or leased the
        vehicle at the tune of the Covered Repair Please read the instructions on the Claim Statement form for
        more details
  (d) If you wish to submit your claim by mail, you must mail, the above documents, postmarked no later
      than October 27, 2008, to the Claims Administrator at the address listed on the Claim Statement form
   (e) [f you wish to submit your claim online, please go to www DexCoolSettleinent coin, fill out the online
       Claim Statement form, and attach scanned versions of your required documentation before clicking the
       button to submit your claim Online claims must be submitted no Inter than midnight on October
       27,2008.
   (f) If you wish to make reimbursement claims for two or more Covered Repairs, you must submit -a
       separate set of documents (Claim Statement, proof of repair payment, and proof of ownership or lease)
       for each claim You may not combine claims for more than one Covered Repair in a single Claim
       Statement
   (g) The Claims. Administrator has the right to request additional documentation before the Clain is
       approved and paid Your claim may be denied if the Claims Administrator determines that it is invalid

7.      ATTORNEYS' FEES AND ExPENSES AND INCENTIVE AWARDS: Since this litigation started in 2003,
ovei 20 law firms have devoted more than 43,000 hours to pi osecuttiig the various lawsuits across the country
on behalf of class members purely on a contingent basis, and have icceived no compensation for their services
or reirnbursement.of their expenses As part of the pioposed Settlement, subject to Court approval, plaintiffs'
counsel will apply for attorneys' fees not to exceed $16 5 million and expenses not to exceed $1 55 million

Application will be made for incentive awards not to exceed a total amount of $140,000 for the named
plaintiffs in the lawsuits There are more-than 100 named plaintiffs in the lawsuits This is to recognize their
initiative and effort in pursuing the matter, on behalf of other vehicle owners and lessees Any amounts
approved by the Court will be paid by GM separately from and without reducing the reimbursement payments
it makes to class members under the proposed Settlement

8.      RELEASE OF CLAIMS IF CouRi Al'i'itovEs I-un PROPOSED SETT LEMEN I: If the Court approves the
proposed Settlement, it will enter a judgment that will dismiss the litigation with prejudice as to all class
members It will release all claims they may have based on any expenses they taeurred because of a Covered
Repair during the first seven years or 150,000 miles (whichever is earlier) their Group A, Group B, or Group C
vehicle was in service

This means that class members will be forever baried from bringing, continuing, or being part of any other
lawsuit against GM and its personnel,. representatives, and insurers, or GM's related companies and their
personnel, representatives, and insurers, concerning such expenses If you fall within the class definition and
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do not want to be barred from bringing, continuing, or being part of such a lawsuit, you must exclude yourself
from the class and proposed Settlement here

The release applicable to the Class if the settlement is approved provides as follows In consideration of the
benefits described above, the Representative Plaintiffs promise, covenant and agree, and each Class Member
and the Class shall be deemed to have promised, covenanted and agreed, that, upon the Effective Date of
Settlement, the Representative Plaintiffs and the Class Members, including their affiliates, subsidiaries,
associates, general or limited partners or partnerships, predecessors, successors, and/or assigns, including,
without limitation, any of their respective present or former officers, directors, trustees, employees, agents,
attorneys, representatives and/or shareholders, affiliates, associates, general or limited partners or partnerships,
heirs, executors, administrators, predecessors, successors, assigns or insurers, and anyone acting on their
behalf, by operation of the Judgment, shall have hereby released, waived and discharged GM, including its
subsidiaries, affiliates, associates, general or limited partners or partnerships, predecessors, successors, and/or
assigns, including, without limitation, any of-their respective present or former officers, directors, trustees,
employees, agents, attorneys, representatives and shareholders, affiliates, associates, general or limited partners
or partnerships, heirs, executors, administrators, predecessors, successors, assigns or insurers and anyone
acting on their behalf individually and collectively, from liability for any and all claims, demands, debts,
rights, causes of action or liabilities whatsoever, including known and unknown claims, now existing or
hereafter arising, in law, equity or otherwise, arising under state statutory or common law federal statutory or
common law, or foreign statutory or common law, to the fullest extent permitted by law, including, but not
limited to, federal or state antitrust claims, RICO claims, claims arising under state consumer protection,
consumer fraud, deceptive trade practices statutes, common law breach of contract claims, statutory or
common law fraud or misrepresentation claims, breach of fiduciary duly claims or unjust enrichment claims
 and whether possessed of asserted directly, indirectly, derivatively, representatively or in any other capacity,
 and whether or not such claims were or could have been raised or asserted in the Actions or the Amico/Bertino
 Actions, to the extent any such claims ale based upon, arise out ofor relate to, in whole or in part, any of the
allegations, acts, omissions, transactions, events, conduct, or matters arising from or related to any Repair
 Expense Claims for personal injury, and claims for lower intake manifold gasket replacements in 4 3-liter V6
engines for Class Membcis who have not submitted a Claim and received a payment tinder the settlement, are
 not released The Parties recognize and agree that this is a general release Representative Plaintiffs and the
 Class Members expressly waive and relinquish, and shall be deemed to have waived and relinquished, to the
 fullest extent permitted by law, the provisions, rights, and benefits of California Civil Code section 1542 and
 the provisions, rights, and benefits conferred by any law of the United States, any law of any State or the
 District of Columbia, or any principle of common law that is similar, comparable, or equivalent to California
Civil Code section 1542, which states, "A general release does not extend to claims which the creditor does not
 know or suspect to exist in his or her favor at the time of executing the release, which if known by him or her
 must have materially affected his or her settlement with the debtor"

 9.       YOUR OPTIONS AND DEADLINES: If you are a class member, you have the following options

      (a) Participate in the proposed Settlement by making a claim To participate in the proposed
           Settlement, you must submit a claim as described above You do not need to do anything else to
          participate if you submit a valid`claim on time, the Court approves the proposed Settlement, and the
          judgment becomes final, then a reimbursement check will be mailed to you
      (b) Request to he excluded If you wish to exclude yourself from the class, you must submit a letter or
          - postcard, such that it is received on or before August 13, 2008, stating

              • Your name, address, telephone number,
              • The year, model, and vehicle identification number of the vehicle covered by the proposed
                Settlement that you currently or previously owned or leased, and

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          • That you wish to be excluded from the class and proposed Settlement in the lawsuit Sadowski v
            General Motors Corp , Case No HG03091369 .

     You must send your exclusion request to the Claims Administrator, addressed as follows Dex Cool
     Litigation 2, cto The Garden City Group, Inc., P.O. Box 9239, Dublin, OH 43017-4639 If you
     submit a valid exclusion request on time, you cannot obtain a reimbursement payment under the
     proposed Settlement You will not be bound by the final judgment, and you will not be barred from
     bringing, continuing, or being part of another lawsuit concerning expenses you incurred because of a
     Covered Repair

     If you do not properly exclude yourself, all of your claims based on such expenses will be released, and
     you will be barred from bringing, continuing, or being part of any such lawsuit. You will be barred
     even if you do not submit a claim under this proposed Settlement In other words, if you do nothing at
     all, your claims will be released, and you will receive nothing under the proposed Settlement

 (c) Object or comment If you are a class - member and do not exclude yourself, you may object to or
     comment on all or part of the proposed Settlement This includes plaintiffs' counsel's request for
     attorneys' fees, expenses, and incentive awards for the named plaintiffs Objecting is not the same as
     excluding yourself If you object and the proposed Settlement is approved, you will still be bound by
     the final judgment and your claims will be released

     You must submit your objections or comments in writing as follows


     •    On the first page, please include a prominent reference to Sadowski v General Motors Corp , Case
          No 1-IG03091369 Your objections or comments must include .

              • Your full name, address, and telephone number,
              • The year, model,-and vehicle identification number of the vehicle covered by the proposed
                 Settlement that you currently or previously owned or leased, along with proof of a Covered
                 Repair,
              • Your signature, and
              • Any supporting papers or briefs on which your objections or comments are based

       If you also wish to speak. at the fairness hearing (described below), you must also state in your
       objections or comments that you intend to appear and speak at the hearing If you do not include this.
       statement, you will not be entitled to speak at the hearing
      You must deliver your objections or comments to the Court by filing them in person at any location of
      the Alameda County Superior Court that includes a facility for civil filings or by mailing them to Clerk
      of the Court at the address listed below, with copies to Co-Lead Counsel for the class and GM's
      counsel They must be received no later than August 13, 2008 The mailing addresses for the Clerk
      of the Court, Co-Lead Counsel, and GM's counsel are as follows

                                Co-Lead Counsel :                          Counsel for GM
     Clerk of the Court
     R ene C Davidson Alameda . Eric H Gibbs                               Robert B Ellis
      County Courthouse         Girard Gibbs LLP                           Kirkland & Ellis LLP
                                                                           200 East Randalph Drive
     1225 Fallon Street         601 Califoria Street, 14th Floor           Chicago,lllinois 60601
     Oakland, California 94612  San Francisco, California 94108

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          if you submit an objection and wish to preserve your appellate rights, you must appear in person,
          through your counsel or as otherwise permitted by the Court, at the Fairness f searing if you do not wish
          to appear in Court then you must state so in your objection

          If you do not raise your objections according to the above procedure, you will waive all objections and
          have no right to appeal any aspect of the proposed Settlement If you raise an objection according to the
          above procedure and fail to appear, you will have no right to appeal any aspect of the proposed
          Settlement This includes appealing (t) an order approving the Settlement as fair, reasonable and
          adequate, (ti) entry olJudgment that dismisses this action with prejudice and releases the claims of class
          members as provided for in the Settlement, (iii) an award of incentive payments to the Representative
          Plaintiffs, or (iv) an award of reasonable attorneys fees and costs to Class Counsel

          You can enter an appearance in the lawsuit through your own legal counsel If you do, you will be
          responsible for your own attorneys' fees and costs

    10.     FAIRNESS HEARING: On August 29, 2008 at 11:00 a.m., a hearing will be held before the
    Honorable Robert B Freedman, in Department 20 of the California Superior Court for Alameda County,
    County Administration Building, 1221 Oak Street, Oakland, California 94612 The purpose of the hearing, is
    for the Court to decide whether the proposed Settlement is fair, reasonable, and adequate and should be
    approved The Court will also decide whether a final judgment should be entered dismissing this lawsuit, and
    the amount of attorneys' fees and expenses and incentive awards to class representatives This hearing may be
    postponed without further notice to the class

    11.     AuDll IONA1, INFORMATION:      You can get more information at the proposed Settlement Web site at
    www DexCoolSettlement corn        You can also view the Settlement Agreement and download a Claim
    Statement corm on the Web site

    You can . get more inforrnation by calling the Claims Administrator toll-free at 1 (866) 245-4291., sending an
    e-mail to. Info@dexcoolsetticmentcone, or by sending a written inquiry to Co-Lead Counsel at the address in
    Section 9, above In addition, you can view the Court's docket at www alameda courts cagov/domainweb and
    inputting case number '1-I003093843 or ICCP0.04495 Otherwise, please do not direct any inquiries to the
    Court

    DAI El) M ARCII 20, 2008                      By ORDER OF 1 HE SUPERIOR COURt
                                                  OF THE STATE OF CALIFORNIA
                                                  FOR fi€E COUNTY OFALAMEDA




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                      CIRCUIT COURT OF JACKSON COUNTY, MISSOURI, AT INDEPENDENCE
                          GUTzLER v. GENERAL MOTORS CORP., CASE No. 03CV208786

                  If you ever purchased or leased in Missouri
             any of the General Motors vehicles listed on pages 2-3,
         please read this notice carefully, as it affects your legal rights.
                            T 'he Circuit Court of Jackson County authorized this. notice.
                                       This is not a solicitation from a lawyer.
The purpose of this notice is to provide information about a class action settlement and to inform people covered by
                                  the proposed Settlement of their rights and options.

   • There is a proposed class action Settlement involving the GM vehicles listed in paragraph 4. These vehicles
       were factory-equipped with Dex-Cool. Dex-Cool is an engine coolant designed to protect vehicles' engine
       and cooling systems_
   • You are included in this proposed Settlement if you purchased or leased any of these vehicles and made
      repairs related to the use of Dex-Cool as outlined in paragraph 4 of this Notice.
    • Repairs involving intake manifold gasket failures, engine coolant sealing issues, and sludge (a rust-like
       material) are covered by this proposed Settlement. These repairs would likely involve parts like the intake
       manifold and/or manifold gaskets, throttle body gaskets, radiator cap, heater core, water pump and other
       parts of the cooling system. See paragraph 4 for a complete description of the specific types of repairs
        covered for each vehicle type.
    • The Court in charge of this case still has to decide whether to give final - approval to the proposed
       Settlement. Valid claims will be paid if the proposed Settlement is approved.
    • The types of repairs covered in the proposed Settlement, how to file a claim and your legal "rights to
       participate or exclude yourself are outlined in this Notice. Please read it carefully.
    • You may have previously received notice of a class action involving GM vehicles owned or leased in
       Missouri that were factory-equipped with Dex-Cool. That class is being decertified by the Court and can no
       longer provide you with any benefits or affect your rights..- Instead, this Notice describes the- current
       proposed class action settlement that may affect your legal rights.

                         SUMMARY OF CLASS MEMBERS' RIGHTS AND OPTIONS
                               UNDER THE PROPOSED SETTLEMENT
                                      The only way to get a payment. Submit your claim online or by mail
        SUBMIT A CLAIM
                                      by October 27, 2008.

                                      Get no payment. This is the only option that allows you to be part of
        EXCLUDE YOURSELF
                                      any other lawsuit concerning the issues being settled now_           . -




        COMMENT ON TILE               Write to the Court about-why you support or oppose the proposed
        PROPOSED SETTLEMENT           Settlement.

        GO TO A HEARING               Ask to speak to the Court about the proposed Settlement.

                                      Get no payment. Be barred from bringing or being part of any other
        Do NOTHING
                                      lawsuit concerning the issues being settled now.


     QUESTIONS? VIsIT www.DExCooLSr             LEMENT_coM/MlssouRJ OR CALL TOLL :FREE 1(866) 245-4291
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1.      THE LITIGATION: A lawsuit was filed as a class action against GM in Missouri involving "Dex-Cool"
extended-life engine coolant. Among other things, the lawsuits allege that (i) Dex-Cool in the vehicles listed below
caused problems with the vehicles' engines or cooling systems, and (ii) that certain engine components, such as the
nylon/silicone lower intake manifold gaskets equipped in certain vehicles, were defective.

2.      GM's POSITION: GM denies all allegations of wrongdoing and denies liability under any claim asserted in
the lawsuit. GM argued that Dex-Cool protected engines for a longer period than traditional coolants, caused less
wear on certain engine parts than traditional coolants, and provided environmental benefits. GM further argued that
alleged problems with the vehicles' engines . or cooling systems were caused by owners n of following the
maintenance instructions for their vehicles or other factors.

3.     GM's AGREEMENT TO SETTLE: GM has agreed to a class action settlement of the lawsuit. GM will
reimburse class members up to a specified amount for certain repair costs they paid during the first seven years or
150,000 miles of vehicle ownership or lease, whichever is earlier.

This notice is to inform class members of the lawsuit, the major terms of the proposed Settlement, and class
members' rights and options. This proposed Settlement will not become effective unless it is approved by the Court
as described below.

.4.       CLASS COVEREI) BY THE PROPOSED SETTLEMENT: The class               previously defined by the Court and
contained in the notice you may have previously received is being decertified as part of this settlement agreement.
You are included in the new settlement class if you purchased or leased in the State of Missouri any of the vehicles
listed below, for personal, family, or household use (as opposed to commercial or business use), and:

      (a.) The vehicle has been in service for over seven years since the date the original buyer or lessee took delivery
           of the vehicle, and
      (b.) As of the date of this Notice (May 30, 2008), you have not had to pay for any Covered Repair that was
           performed during the first seven years or 150,000 miles (whichever is earlier) after the date the original
           buyer or lessee took delivery of the vehicle;                                                                    ~'
                                                               OR
      (c.) Regardless of how Iong the vehicle has been in service, you paid out-of-pocket for a Covered Repair that
           was performed during the first seven years or 150,000 miles (whichever is earlier) after the date the original
           buyer or lessee took delivery of the vehicle.                 .
                                                  GROUP A VEHICLES
                                                  Model years 1995-2003
      Equipped with 3.1-liter or 3.4-liter V6 engine , manufactured before April 10; 2003 with a nylon /silicone
                                              lower intake manifold gasket.
           Buick                 Century , Rendezvous , Regal, Skylark
           Chevrolet             Impala, Lumina, Malibu, Monte Carlo, Venture, Corsica,
                                 Beretta, Lumina APV
           Oldsmobile            Alero, Cutlass (Supreme and Ciera ), Silhouette
           Pontiac               Aztek, Grand Am, Grand Prix, Montana, Trans Sport

 Note: Some of these vehicles may have been offered for sale with an engine other than a 3.1-liter or 3.4 -liter V6.
 engine. Any of the above models sold with an engine other than a 3.1-liter or 3.4 -liter V6 engine are not included
 and are not eligible to make a claim.


        QUESTIONS? VISIT WW W.DEXCOOLSEULEMENT,cOM/MissoURU OR CALL TOLL-FREE 1 (866) 245-4291
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       Group A Covered Repairs : Replacement of failed nylonlsilicone lower intake manifold. gasket.


                                              GROUP B VEHICLES
                                              Model years 1995-2004
                 Equipped with 3.8-liter V6 engine (internal GM engine designation RPO L36).
       Buick                 LeSabre, Park Avenue, Regal, Riviera
       Chevrolet             Camaro, Impala, Lumina, Monte Carlo
       Oldsmobile            Eighty-Eight, Intrigue, LSS, Ninety-Eight
       Pontiac               Bonneville, Firebird, Grand Prix

Note: Some of these vehicles may have been offered for sale with an engine other than a 3.8-liter V6 engine RPO
L36. Any ofthe above models sold with an engine other than a 3.8-liter V6 engine RPO-L36.are not included and
are not eligible to make a claim.

               Group B Covered Repairs : Repairs necessitated by engine coolant sealing issues,
                  including replacement of throttle body gasket, upper intake manifold gasket,
                               lower intake manifold gasket, or intake manifold..

                                              GROUP C VEHICLES
                                              Model years 1995-2000
                                         Equipped with 4.3-liter V6 engine
        Chevrolet             Blazer, Chevrolet S-10
        GMC                   Envoy, Jimmy, S-15
        Oldsmobile            Bravada

            Group C Covered Repairs : Repairs necessitated by cooling-system sludge, including
         cooling-system flush, heater core repairs, water pump repairs, or radiator cap replacement.
                         "Sludge" refers to a rust-like material that can form in the
                      cooling system and whose formation is related to use of Dex-Cool.

If you own one of the models listed above, but (i) with a different engine size than what is listed, or (ii) the vehicle
was manufactured using a lower intake manifold gasket other than a nylon/silicone gasket, or (iii) the vehicle is a
Group A vehicle manufactured after April 9, 2003, then you are not covered by the settlement and are not eligible to
file a claim.

People who purchased or leased their GM vehicle in a state other than Missouri are not included in this proposed
settlement. They are instead included in a separate proposed Settlement that is being submitted for approval to a
California state court. The settlement benefits of the proposed settlement in states other than Missouri are the same
as the settlement benefits of the proposed Settlement described in this notice.

 Also excluded from the class are GM; any affiliate, parent, or subsidiary of GM; any entity in which GM has a
 controlling interest; any officer, director, or employee of GM; any successor or assign of GM; the judge to whom
 the lawsuit is assigned, as well as his or her immediate family; and all persons who timely and validly request
 exclusion from the class. (The procedure for exclusion is described below.)

     QUESTIONS? VISIT WWW.DEXCOOLSETTLEMENT.COMIMISSOURI OR CALL TOLL-FREE 1(866) 245-4291
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The Court has appointed the following lawyers as Co-Lead Counsel to represent the- class for purposes of the
proposed Settlement:

       Eric H. Gibbs                                  P. John Brady
       Girard Gibbs LLP                               Shughart Thomson & Kilroy P.C.
       601 California Street, Suite 1400              Twelve Wyandotte Plaza
       San Francisco, California 94108                120 West 12th Street, Suite 1700
                                                      Kansas City, Missouri 64105

5.     ' SETTLEMENT BENEFITS: Under . the proposed Settlement, GM will send cash reimbursements to class
members who paid for Covered Repairs performed within seven years or 150,000 miles (whichever is earlier) after
the original owner or lessee took delivery of the vehicle, and who submit timely and valid claims.
The amount of reimbursement for which you are eligible depends on (i) when the Covered Repair was performed'
and (ii) the amount you actually paid, as described below:

    a. For a Covered Repair made within five years after initial vehicle delivery:
       You are eligible to be reimbursed the documented amount you paid out-of-pocket up to $400, if you were
       not previously fully reimbursed.
          However, if you can document that the Covered Repair required you to pay over $1,500 to address an
          internal coolant leak, your reimbursement level may be different. If so, you can elect to request
          reimbursement of 40% of the amount you•paid out-of-pocket up to $800, if you were not previously fully
          reimbursed.
     • .(An internal coolant leak means that coolant leaked from one vehicle component into, another component.
          Whereas an external coolant leak means that coolant leaked from inside a vehicle component to the exterior
          of the vehicle.) .
      b. For a Covered Repair made in the sixth year after initial vehicle delivery:.
          You are eligible to be reimbursed the documented amount you paid out-of_pocket up to $100, if you were
           not previously fully reimbursed.
      c. For a Covered Repair made in the seventh year after initial vehicle delivery:                . .
          You are eligible to be reimbursed the documented amount you paid out-of-pocket up to $50, if you were not
           previously fully reimbursed.
 If you paid for more than one Covered Repair (whether on the same vehicle or on different vehicles included in the
 proposed Settlement), you may make a separate reimbursement claim for each one.

 6.      How To MAKE A CLAIM: To make a claim for a reimbursement under the proposed Settlement, you must
 submit the following documents, either online or by mail. If you do not submit each of the following documents,
 and fully complete the claim statement, your claim may be denied.

    (a.) Completed Claim Statement. A Claim Statement form is enclosed with this Notice. If you need more
         forms, you can photocopy this one or download additional copies from the proposed Settlement Web site at
         www.DexCoolSettlement.com/Missouri . You can also call the Claims Administrator toll-free at
         1 (866) 245-4291 to have more forms mailed to you.      .
    (b.) Proof of repair payment. You must' provide documentation -showing that you paid out-of-pocket for a
         Covered Repair, for which you were not fully reimbursed. Please read the instructions on the. Claim
         Statement form for more details.
    (c.) - Proof of ownership or lease. You must provide documentation showing that you owned or leased the
           vehicle at the time of the Covered Repair. Please read the instructions on the Claim Statement form for
           more details.

     QuEsTIoNs? Visrr www.DEXCOOLSETTLEmEW.coM/MiSSOURI OR CALL TOLL-FREE 1 866 245-4291
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         (d.) If you wish to submit your claim by mail, you must mail the above documents, postmarked no later than
              October 27, 2008, to the Claims Administrator at the address listed on the_Claim Statement form_
         (e.) If you wish to submit your claim online, please go to www.DexCoolSettlement.comMlissouri, fill out the
              online Claim Statement form, and attach scanned versions of your required documentation before clicking
              the button to submit your claim. Online claims must be submitted no later than midnight on October 27,
             2008.
         (f.) If you wish to make reimbursement claims for two or more Covered Repairs, you must submit a separate set
              of documents (Claim Statement, proof of repair payment, and proof of ownership or lease) for each claim.
              You may not combine claims for more than one Covered Repair in a single Claim Statement.
         (g.) The Claims Administrator has the right to request additional documentation before the Claim is approved
              and paid. Your claim may be denied if the Claims Administrator determines that it is invalid.

    7.        ATTORNEYS' FEES AND EXPENSES AND INCENTIVE AWARDS: Since this litigation started in 2003, over 20
    law firms have devoted more than 43,000 hours to prosecuting various lawsuits across the country on behalf of class
    members purely on a contingent basis, and have .received no compensation for their services or reimbursement of
    their expenses. As part of the proposed Settlement, subject to Court approval, plaintiffs' counsel will apply for
    attorneys' fees not to exceed $7.5 million and expenses not to exceed $1.25 million.

     Application will be made for incentive awards not to. exceed a total amount of $60,000 for the named plaintiffs in
     the lawsuit_ There are three named plaintiffs in the lawsuit. This is to recognize their initiative and effort in
     pursuing the matter on behalf of other vehicle owners and lessees. Any amounts approved by the Court will be paid
     by GM separately from and without reducing the reimbursement payments it makes to class members under the
     proposed Settlement. .

     8.       RELEASE OF CLAIMS IF COURT APPROVES TEE PROPOSED SETTLEMENT: If the Court approves the
     proposed Settlement, it will enter a judgment that will dismiss the litigation with prejudice as to all class members_
     It will release all claims they may have based on any.expenses they incurred because of a Covered Repair during            .-
     the first seven years -or 150,000 miles (whichever is earlier) their Group A, Group B, or Group C vehicle was
     service.

     This means that class members will be forever barred from bringing, continuing, or being part of any other lawsuit
     against GM and its personnel, representatives, and insurers, or GM's related companies and. their personnel,
     representatives, and insurers, concerning such expenses. If you fall within the class definition and do not want to be
     barred from bringing, continuing, or being part of such a lawsuit, you must. exclude yourself from the class and
     proposed Settlement here.

      The release applicable to the Class if the settlement is approved provides as follows: In consideration of the
      benefits described above, the Representative Plaintiffs promise, covenant and agree, and each Class. Member and
      the Class shall be deemed to have promised, covenanted and agreed, that, upon the Effective Date of Settlement, the
      Representative Plaintiffs and the Class Members, including their affiliates, subsidiaries, associates, general or
      limited partners or partnerships, predecessors, successors, and/or assigns, including, without limitation, any of their
• respective present or former officers, directors, trustees, employees, ' agents, attorneys, representatives and/or
      shareholders, affiliates, associates, general or limited partners or partnerships, heirs, executors, administrators,
      predecessors, successors, assigns or insurers, and anyone acting on their behalf, by operation of the Judgment, shall
      have hereby released, waived and discharged GM, including its subsidiaries, affiliates, associates, general or limited
      partners or partnerships, predecessors, successors, and/or assigns, including, without Iimitation, any of their
      respective present or former officers, directors, trustees, employees, agents, attorneys, representatives and
      shareholders, affiliates, associates, general or limited partners or partnerships, heirs, executors, administrators,
      predecessors, successors, assigns or insurers and anyone acting on their behalf, individually and collectively, from
       liability for any and all claims, demands, debts, rights, causes of action or liabilities whatsoever, including known
       and unknown claims, now existing or hereafter arising, in law, equity or otherwise, arising under state statutory or
            QUESTIONS? Visa wwW.DEXCOOLSETmEMENT.coM/MISSOU 1 OR -CALL TOLL-FREE 1 (866) 245-4291
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common law federal statutory or common law, or foreign statutory or common law, to the fullest extent permitted
by law, including, but not limited to, federal or state antitrust claims, RICO claims, claims arising under state         .~
consumer protection, consumer fraud, deceptive trade practices statutes, common law breach of contract claims,
statutory or common law fraud or misrepresentation claims, breach of fiduciary duty claims or unjust enrichment
claims and whether possessed or asserted directly, indirectly, derivatively, representatively or in any other capacity,
and whether or not such claims were or could have been raised or asserted in the Action, to the extent any such
claims are based upon, arise out of or relate to, in whole or in part, any of the allegations, acts, omissions,
transactions, events, conduct, or matters arising from or related to any Repair Expense. Claims for personal injury
are not released. The Parties recognize and agree that this is a general release. Representative Plaintiffs and the
Class Members expressly waive and relinquish, and shall be deemed to have waived and relinquished, to the fullest
extent permitted by law, the provisions, rights, and benefits of California Civil Code section 1542      •     and the
provisions, rights, and benefits conferred by any law of the United States, any law of any State or the District of
Columbia, or any principle, of common law that is similar, comparable, or equivalent to . California Civil Code
section 1542, which states, "A general release does not extend to claims which the creditor does not know or
suspect to exist in his or her favor at the time of executing the release, which if known by him or her must have
materially affected his or her settlement with the debtor."

9.       YOUR OPTIONS AND DEADLINES: If you are a class member, you have the following options:

     (a.). Participate. in the proposed Settlement by making a claim_ To participate in the proposed Settlement,
           you must submit a claim as described above. You do not need to do anything else to participate. If you
           submit a valid claim on time, the Court approves the proposed Settlement, and the judgment becomes fmal,
           then a reimbursement check will be mailed to you.
     (b.) Request, to be excluded. If you wish to exclude yourself from the class, you must submit a letter or
          postcard, such that it is received on or before August 13, 2008, stating:

              • Your name, address, telephone number;
              • The- year, model, and vehicle identification number of the vehicle covered by the proposed
                Settlement that you currently or previously owned or leased; and - .
              • That you wish to be excluded from the class and proposed Settlement in the lawsuit Gutzler v.
                General Motors Corp., Case No. 03cv208786.

          You must send your exclusion request to the Claims Administrator, addressed as ,follows: Dex Cool
          Litigation, c/o The Garden City Group, Inc., P.O. Box 9239, Dublin, OH 43017.4639. If you
          submit a valid exclusion request on time, you cannot obtain a reimbursement payment under the proposed
          Settlement. You will not be bound by the final judgment, and you will not be barred from bringing,
          continuing, or being part of another lawsuit concerning expenses you incurred because of a Covered Repair.

          If you do not properly exclude yourself,'all ofyour.claims.based on such expenses will be released, and you
 •        will be barred from bringing, continuing, or being part of any such lawsuit. You will be barred even if you
          do not submit a claim under this proposed Settlement. In other words, if you do nothing at all, your claims,
          will be released, and you will receive nothing under the proposed Settlement.

     (c.) Object or comment. If you are a class member and do not exclude yourself,, you may object to or comment
          on all or part of the proposed Settlement. This includes plaintiffs' counsel's request for attorneys' fees,.
          expenses, and incentive awards for the named plaintiffs. Objecting is not the same as excluding yourself. If
          you object and the proposed Settlement is approved, you will still be bound by the final judgment and your
          claims will be released. -




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 You most submit your objections or comments in writing as follows:

 • On the first page, please include a prominent reference to Gutzler v_ General Motors Corp_, Case
    No. 03CV208786. Your objections or comments must include:

         • Your full name, address, and telephone number;
        • The year, model, and vehicle identification number of the vehicle covered by the proposed
            Settlement that you currently or previously owned or leased, along with proof of a Covered
            Repair;
         • Your signature; and
         • Any supporting papers or briefs on which your objections or comments are based.

  If you also wish to speak at the fairness hearing (described below), you must also state in your objections
  or comments that you intend to appear and speak at the hearing. If you do not include this statement, you
  will not be entitled to speak at the hearing.

 You must deliver your objections or comments to the Court by filing them in person at any location of the
 Jackson County Circuit Court that includes a facility for civil filings or by mailing.them to Clerk of the
 Court at the address listed below, with copies to Co-Lead Counsel for the class and GM's counsel_ They
 must be received no later than August 13, 2008. The mailing addresses for the Clerk of the Court, Co-
 Lead Counsel, and GM's counsel are as follows:

  Clerk of the Court                Co-Lead Counsel :                     Counsel for GM :
  Jackson County Courthouse
  308. West Kansas                  P. John Brady                    Robert B. Ellis
  Independence, Missouri 64050      Shughart Thomson & Kilroy, P.C. Kirkland & Ellis LLP
                                    120 West 12th Street, Suite 1700 200 East Randolph Drive
                                                                     Chicago, Illinois 60601
                                    Kansas City, Missouri 64.105



 I€ you submit an objection and wish to preserve your appellate rights, you must appear in person, through
 your counsel or as otherwise permitted by the Court, at the Fairness Hearing. If you do not wish to appear in
 Court then you must state so in your objection..

 If you do not raise your objections according to the above procedure, you will waive all objections and have
 no right to appeal any aspect of the proposed Settlement. If you raise an objection. according to the above
 procedure and fail to appear, you will have no right to appeal any aspect of the proposed Settlement. This
 includes appealing .(i) an order approving. the - Settlement as fair, reasonable and adequate; (ii) entry of
 Judgment that dismisses this action with prejudice and releases the claims of class members as provided for
 in the Settlement; (iii) an award of incentive payments to the Representative Plaintiffs; or (iv) an award of
 reasonable attorneys fees and costs to Class Counsel.

 You can enter an appearance in the Iawsuit through your -own legal counsel. If you do, you will be
 responsible for your own attorneys' fees and costs.




QuEsnoNs? Visa www. DExCooLSETTLEMENT .com/IVIIssouRi OR CALL TOLL-FREE 1 (866) 245-4291
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10.    FAIRNEss HEARING: On September 5, 2008, a hearing will be held before the Honorable Michael
Manners, in Division 2 of the Jackson County Circuit Court at Independence, 308 West Kansas, Independence,
Missouri 64050.The purpose of the hearing is for the Court to decide whether the proposed Settlement is fair,
reasonable, and adequate and should be approved. The Court will also decide whether a final judgment should be
entered dismissing this lawsuit; and the amount of attorneys' fees and expenses and incentive awards to class
representatives. This hearing may be postponed without further notice to the class.

11.    ADDrI'IONAL INFORMATION: You can get more information at the proposed Settlement Web, site at
www.DexCoolSettlement.com/Missouri . You can also view the Settlement Agreement and download a Claim
Statement form on the Web site.

You can get more information by calling the Claims Administrator toll-free at 1 (866) 245-4291; sending an e-mail
to info@dexcoolsettlement.com ; or by sending a written inquiry to Co-Lead Counsel at the address in paragraph 9,
above. In addition, you can view the Court's docket at http://www.I6thcircuit.org/ and inputting case number
03cv208786. Otherwise, please do not direct any inquiries to the Court.

DATED: MARCH 28, 2008                        'BY ORDER OF TILE CIRCUIT COURT
                                              OF JACKSON COUNTY, MISSOURI




      QUESTIONS? VISIT W W W.DEX000LSETrLEMENT.com/MissouRi OR CALL TOLL-FREE 1( (866) 245-4291
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                                                                               ALiLMFDA COUNTY
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     6                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
     7                                   FOR THE COUNTY OF ALAMEDA
     8 Coordination Proceeding                                  JUDICIAL COUNCIL COORDINATION
        Special Title (Rule 1550(b))                            PROCEEDING NO. 4495
     9
         GENERAL MOTORS                                         SUPERIOR COURT OF CALIFORNIA
    10 . BEX- COOL/GASKET CASES                                 COUNTY OF ALAMEDA
                                                                NO. 11G03093843
    1l           Included actions
                                                                SUPERIOR COURT OF CALIFORNIA..
    12 Sadowski v General Motors Corp.                          COUNTY OF SAN JOAQUIN
                                                                NO. CV 025 770
    13
          Bertirio v General Motors Corp                        JUDGMENT AND ORDER OF DISMISSAL
    14                                                          WITH PREJUDICE
    15                                                          The Honorable Robert B Freedman
    .16                                                         Action filed. April 29, 2003.
                                                                Trial date      None set
    17
                 This matter came before the Court for hearing pursuant to the Order Granting Preliminary
   . 18
          Approval Of Proposed Settlement, Provisionally Certifying Class, And Directing Dissemination Of
    19
          Notice To Class, dated March 20, 2008 ("Notice Order"), on the application of the Parties for
    20
          approval of the settlement set forth in the Settlement Agreement, dated March 19, 2008
    21
          ("Agreement") Due and adequate notice having been given of the settlement set forth in the
    22
          Agreement ("Settlement") as required by the Notice Order, and the Court having considered and
    23
          reviewed all papers filed and proceedings had herein, including the timely objections to the proposed
    24
          settlement submitted by class members, approximately 80 of which were submitted by individuals
    25
          themselves and 5 by counsel on.behalfof 6 individuals,, as well as the responses filed by Plaintiffs
    26
          and GM to the objections, and otherwise being fully informed in the premises and good cause
    27
          appearing therefor, IT iS HEREBY ORDERED, ADJUDGED AND DECREED that
    28


                                  UDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE
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              l            1.     This Judgment incorporates by reference the definitions in the Agreement and Notice
              2 Order, and all defined terms used herein shall have the same meanings set forth in the Agreement

              3 and Notice Order

              4           2       This Court has jurisdiction over the subject matter of the Sadowski Action, the
              5 Sadowski Parties, and all members of the settlement Class defined as follows•
              6           All Consumers in the United States of America, excepting those who purchased or
              7           leased their vehicles in the State of Missouri, who (i) own or lease, or who have
                          owned or leased, a Covered Vehicle that has been in service in excess of seven years,
              $           measured from the Date of Initial Vehicle Delivery, at the time of the first date on
              9           which notice of the Settlement is disseminated and who, at the time of the notice, had
             10.          not incurred a repair expense of the type included in the definition of Covered Repair,
                          or (it) own or lease, or who have owned or leased, a Covered Vehicle and who
             11
                          incurred an expense for a Covered Repair before the first date on which notice of the
             12           Settlement is disseminated to the Class in accordance with the Notice Order
.   j                     Excluded from the Class. are GM, any affiliate, parent, or subsidiary of GM, any entity in
             13
              14   which GM has,a controlling interest, any officer, director, or employee of GM, any successor or

             15    assign of GM, anyone employed by counsel for Representative Plaintiffs, any Judge to whom any of
             16    the Actions is assigned as well as his or her immediate family; any and all persons who timelyand
             17
                   validly request exclusion from the Class pursuant to the notice disseminated in accordance with the
             18
                   Notice Order
             19
             20           3       This Court hereby finds that for settlement purposes, and for purposes of the

             21    Agreement and the Settlement, the Sadowsld Action and the Class meet the requirements for the

             22    bringing and maintenance of a class action set forth in section 382 of the Code of Civil Procedure
                   and section.      of the Civil Code
             23
             24           4       This Court hereby finds that the Agreement and Settlement are, in all respects, fair,

             25    reasonable, and adequate, and in the best interests of the Class; overrules the timely objections
                   submitted ; grants final approval of the Agreement and Settlement, and directs the Parties to perform
             26

             27    the terms of the Agreement

             28


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      1           5       This Court hereby dismisses the Sadowski Action with prejudice and without costs,
      2   I except. as otherwise provided in the Agreement
      3           6       Upon the Effective Date of the Settlement, the Representative Plaintiffs and the Class
      4 Members, including their affiliates, subsidiaries, associates, general or limited partners or

      5 partnerships, predecessors,. successors, and/or assigns, including, without limitation, any of their
      6 respective present or former officers, directors, trustees, employees, agents, attorneys,
      7 representatives and/or shareholders, affiliates, associates, general or limited partners or partnerships,
      8 heirs, executors, administrators, predecessors, successors, assigns or insurers, and anyone acting on
      9 their behalf, by operation of this Judgment, shall have hereby-released, waived and discharged GM,
     10 including its subsidiaries, affiliates, associates, general or limited partners or partnerships,
     11 predecessors, successors, and/or assigns, including, without limitation, any of their respective
     12 present or former officers, directors, trustees, employees, agents, attorneys, representatives and
     13 shareholders, affiliates, associates, general or limited partners or partnerships, heirs, executors,
     14 administrators, predecessors, successors, assigns or insurers and anyone acting on their behalf,
     15 individually and collectively, from liability for any and all claims,. demands, debts, rights, causes of
     16 action or liabilities whatsoever, including known and unknown claims, now existing or hereafter
     17 arising in law, equity or otherwise, arising under state statutory or common law federal statutory or
     18 common law, or foreign statutory or common law, to the tidiest extent permitted by law, including,
     19 but not Limited to, federal or state antitrust claims, RICO claims, claims arising under state consumer
     20 protection, consumer fraud, deceptive trade practices statutes, common law breach of contract

     21 claims, statutory or common law fraud or misrepresentation claims, breach of fiduciary duty claims
     22 or unjust enrichment claims and whether possessed or asserted directly, indirectly, derivatively,
     23 representatively or in any other capacity, and whether or not such claims were or could have been
     24 raised or asserted in the Actions or the AmicoBertino Actions, to the extent any such claims are

     25 based upon, arise out of or relate to, in whole or in part, any of the allegations, acts, omissions,

     26 transactions, events, conduct, or matters arising from or related to any Repair Expense Claims for

     27 personal injury, and claims for lower intake manifold gasket replacements in 4 3-liter V6 engines for

     28   I Class Members who have not submitted a Claim and received a payment under the settlement, are

                                   JDGMENT AND ORDER OF DISMISSAL. WITH PREJUDICE
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jt
           I   not released The Parties recognize. and agree that this is a general release Representative Plaintiffs
          2    and the Class Members expressly waive and relinquish, and shall be deemed tQ hi3ve waived and
          3    relinquished, to the fullest extent permitted by law, the provisions, rights, and benefits of California
           4   Civil Code section 1542 and the provisions, rights, and benefits conferred by any law of the United
e                                                 _
           5   States, any law of any State or the District of Columbia, or any principle of common law that is .
          6    similar, comparable, or equivalent to California Civil Code section 1542, which states, "A general
          7    release does not extend to claims which the creditor does not know or suspect to exist in his or her
           8 . favor at.the time of executing the release, which if known by him or her must have materially
           9   affected his or her settlement with the debtor
          10           7       Upon the Effective Date of the Settlement, GM and its past or present officers,
          II   directors, employees, agents, attorneys, predecessors, successors, affiliates, subsidiaries, divisions,
          12   and assigns, shall be deemed to have, and by operation of this Judgment shall have, released,
          13   waived, and discharged any and all claims or causes of action of any nature whatsoever, Including
          14   but not limited to any claim for violations of federal, state, or other law (whether in contract, tort, or
          IS   otherwise, including statutory, common law, property, and equitable claims), whether known or
          16   unknown, that have been or could have been asserted against any Representative Plaintiff, counsel
          17   for any Representative Plaintiff, or any Class Member, in the Actions or in any other complaint,
          18   action, or litigation in any other court or forum arising from, based on, or related to the initiation,
          19   prosecution, or resolution of the Actions to the extent any such claims are based upon, arise out of or
         20    relate to, in whole or in part, any of the allegations, acts, omissions, transactions, events, conduct, or
         21    matters arising from or related to any Repair Expense. The Parties recognize and agree that this is a
         22    general release, and shall have expressly waived and relinquished, to the fullest extent permitted by
         23    law, the provisions, rights, and benefits of California Civil Code section 1542 and the provisions,,

         24    rights, and benefits conferred by any law of the United States, any law of any State or the District of
         25    Columbia, or any principle of common law that is similar, comparable, or equivalent to California
         26    Civil Code section 1542, which states, "A general release does not extend to claims which the
         27    creditor does not know or suspect to exist in his or her favor at the time of executing the release,
         28    which if known by him or her must have materially affected his or her settlement with the debtor"


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          1            8         Under the circumstances, the notice of this Settlement provided to the Class Members
          2 in accordance with the Notice Order was the best notice practicable of the proceedings and matters
          3 set forth therein, including the proposed Settlement, to all persons entitled to such notice, and said
          4 notice fully satisfied the requirements of due process and California law
          5        -   9         Neither the Fee Application nor any order entered by this Court thereon shall in any
          6 way disturb or affect this Judgment, and all such matters shall be considered separate from this
          7 Judgment The Court will not award more than (i) $140,000 in incentive payments to Representative
          8 Plaintiffs; (ii) $16 5 million in attorneys' fees, and (iii) $1 55 million in documented costs.
          9            10        Within forty-five (45) days after entry of this Judgment, Co-Lead Counsel shall, with
         10 the agreement of GM, file a listing of each person who submitted a valid and timely request for
         11 exclusion from the Class The persons so identified shall neither share in the benefits of the
         12 Settlement nor be bound by this Judgment All persons who meet the Class definition and have not
         13 submitted such an exclusion request shall be bound by this Judgment
         14            11        Neither the Agreement nor the Settlement nor any act performed or document
         15 executed pursuant to or in furtherance of the Agreement or the Settlement (a) is or may be deemed to
         16 be or may be used as an admission of, or evidence of, the validity of any claim asserted against GM
         17 in the Actions, or of any wrongdoing or 1lability of GM, or of an admission by General Motors that
         18 the claims that were the subject of this action were appropriate for class certification for purposes of
         19 trial or for any other purpose other than for purposes of this Setttement'Agreeinent, or (b) is or may
         20 be deemed to. be or may be used as an admission of, or evidence of, any fault or omission of GM in
         21. any civil, criminal, or administrative proceeding in any court, administrative agency, or other
         22 tribunal, or (c) is or may be deemed to interfere with, prohibit or bar a Class Member from
         23 cooperating with or assisting an extended commercial warranty provider or other third party to bring
         24 subrogation claims against GM related to Covered Repairs GM may file the Agreement, this
         25 Judgment, or both in any other action that may be brought against it in order to support a defense or
         26 counterclaim based on principles of res judicata, collateral estoppel, release, good-faith settlement,
         27 judgment bar or reduction, or any theory of claim preclusion or issue preclusion or similar defense or
         28 counterclaim

              11                                                    5
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I                                       JUDGMENT AND ORDER OF DISMISSAL' WITH PREJUDICE
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                      12     Consistent with the express terms of the Settlement Agreement, subrogation claims
          2   are not being released as part of this Judgment The rights of extended commercial warranty
          3   providers or other third parties to bring subrogation claims against GM related to Covered Repairs in
          4   a separate action are not barred by the Settlement


I         5

          6

          7
                     13      Without affecting the finality of this Judgment in any way, this Court hereby retains
              continuing jurisdiction, pursuant to California Rule of Court 3 769(h), over (a) implementation of the
              Settlement, (b) payment of Class Members' claims under the Settlement; (c) further proceedings, if
          8   necessary, on applications for attorneys' fees, expenses, or costs in connection with the Sadowski
          9   Action or the Settlement, and (d) the Patties for purposes of construing, enforcing, or administering
         10   the Agreement If any Party fails to fulfill its obligations completely, the Court retains the power to
         11   issue such orders to enforce this Judgment and the Settlement as it deems appropriate after noticed
         12   hearing.
         13          14      If the Settlement does not become effective in accordance with the terms of the
         14   Agreement, then this Judgment shall be rendered null and void to the extent provided by and to
         15   accordance with the Agreement and shall be vacated and, in such event, all orders entered and
         16   releases delivered in connection herewith shall be null and void to the extent provided by and in.
         17   accordance with the Agreement

         18          15      A Compliance Hearing is hereby set for February 27, 2009 at 10 00 am in
         19   Department 20 If a final report and accounting satisfactory to the Court regarding the administration
         20   of the Settlement is submitted at least 5 court days prior to the Compliance Hearing, no appearances
         21   will be required
         22          IT IS SO ORDERED.
         23
         24   DATED. _                           1c        4        THEHONO LE RQ H,~RT B. FREEDMAN
         25                                                         JUDGE OF THE S UPERIOR COURT
         26
         27
         28


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                     EXHIBIT H
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         IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                          AT INDEPENDENCE

MICHAEL GUTZLER, et al.,

              Plaintiffs,                        )

•V.                                              )      Case No. 03CV208786
                                                 )


GENERAL MOTORS CORPORATION, )                           Division 2

              Defendant.                         )

                 FINAL JUDGMENT AND ORDER OF DISMISSAL

       This matter came before the Court for hearing pursuant to the Amended Order

 Decertifying Class, Granting Preliminary Approval of Proposed Settlement, Provisionally

Certifying Settlement Class, And Directing Dissemination of Notice To Class, dated

 April 14,, 2008
             . ("Notice. Order"), on the application of the Parties for approval of the

 settlement set forth in the Settlement Agreement, dated March 26, 2008 ("Agreement")_

 Due and adequate notice having been given . , of the settlement set forth in the Agreement

 ("Settlement") as required by the Notice Order, and the Court having considered all

 papers filed and proceedings had herein and otherwise being fully informed in the

 premises and good cause appearing therefor., IT 1S HEREBY ORDERED, ADJUDGED

 AND DECREED that:

        1.     This Judgment incorporates by reference the definitions in the Agreement

 and Notice Order, and all defined terms used. herein shall have the same meanings set

 forth in the Agreement and Notice Order.
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        2.     This Court hereby decertifies the class defined in the Court's Order dated

January 9, 2006.

        3.     This Court has jurisdiction over the subject matter of the Action, the

Parties, and all members of the settlement Class defined as follows:

        All Consumers who purchased or leased a Covered Vehicle in the State of
        Missouri (i) that has.been in service in excess of seven years, measured from the
        Date of Initial Vehicle Delivery, at the time of the first date on which ii6tice of the
        Settlement is disseminated and who, at the time of the notice, had not incurred a
        repair expense of the type included in the definition of. Covered Repair, or (ii)
        who incurred an expense for a Covered Repair before the first date, on which
        notice of the Settlement is disseminated to the Class in accordance with the
        Notice Order. Excluded from the Class are GM; any affiliate, parent, or
        subsidiary of GM; any entity in which GM has a controlling interest; any officer,
        director, or employee of GM; any successor or assign of GM; and the Judge to
        whom the Action is assigned as well as his or her immediate family_


             4_ This Court hereby finds that for settlement purposes, and for purposes of

    the Agreement and the Settlement, the Action and the Class meet the requirements for
    the bringing and maintenance of a class action set forth in Rule 52.08.
             5. This Court hereby finds that the Agreement and Settlement 'are, in all
    respects, fair, reasonable, and adequate, and in the best interests of the Class; grants
    final approval of the Agreement and Settlement; and directs the Parties to perform the
    terms of the Agreement.

             6. This Court hereby dismisses the Action with prejudice and without costs,

    except as otherwise provided in the Agreement.
             7. Upon the Effective Date of the Settlement, the Representative Plaintiffs and

    the Class Members, including their affiliates, subsidiaries, associates, general or

    limited partners or partnerships, predecessors, successors, and/or assigns, including,

    without limitation, any of their respective present or former officers, directors,

    trustees, employees, agents, attorneys, representatives and/or shareholders, affiliates,

    associates, general or limited partners or partnerships, heirs; executors, administrators,


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   predecessors, successors, assigns or insurers, and anyone acting on their behalf, by
   operation of the Judgment, shall have hereby released, waived and discharged GM,
   including its subsidiaries, affiliates, associates, general or limited partners or
   partnerships, predecessors, successors, and/or assigns, including, without limitation,
   any of their respective present or former officers, directors, trustees, employees,
   agents, attorneys, representatives and shareholders, affiliates, associates, general or
   limited partners or partnerships, heirs, executors, administrators, predecessors,
   successors ; assigns or insurers and anyone acting on their behalf, individually and
   collectively, from liability for any and all claims, demands, debts, rights, causes of
   action or liabilities whatsoever, including known and unknown claims, now existing
   or hereafter arising, in law, equity or otherwise, arising under state statutory or
    common law federal statutory or common law, or foreign statutory or common law, to
    the fullest extent permitted by law, including, but not limited to, federal or state
    antitrust claims. RICO claims, claims arising under state consumer protection,
    consumer fraud, deceptive trade practices statutes, common law breach of contract
    claims, statutory or common law fraud or misrepresentation claims, breach of
    fiduciary duty claims or unjust enrichment claims and whether possessed or asserted
    directly, indirectly, derivatively, representatively or in any other capacity, and
    whether or not such claims were or could have been raised or asserted in the Action,
    to the extent any such claims are based upon, arise out of or relate to, in whole or in
    part, any of the allegations, acts, omissions, transactions, events, conduct, or matters
    arising from or related to any Repair Expense. Claims for personal injury are not
    released. The Parties recognize and agree that this is a general release. Representative
    Plaintiffs and the Class Members expressly waive and relinquish, and shall be deemed
    to have waived and relinquished, to the fullest extent permitted by law, the provisions,
    rights, and benefits of California Civil Code section 1542 and the provisions, rights,
    and benefits conferred by any law of the United States, any law of any State or the

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   District of Columbia, or any principle of common law that is similar, comparable, or
   equivalent to California Civil Code section 1542, which states, "A general release
   does not extend to claims which the creditor does not know or suspect to exist in his
   or her favor at the time of executing the release, which if known by him or her must
   have materially affected his or her settlement with the debtor."
              7. Upon the Effective Date of the Settlement, GM and its past or present.
   officers, directors, employees, agents, attorneys, predecessors, successors, affiliates,
    subsidiaries, divisions, and assigns, shall be deemed to have, and by operation of the
    Judgment shall have, released, waived, and discharged any and all claims or causes of
    action of any nature whatsoever, including but not limited to any claim for violations
    of federal, state, or other law (whether in contract, tort, -or otherwise, including
    statutory, common law, property, and equitable claims), whether known or unknown,
    that have been or could have been asserted against. any Representative Plaintiff,
    counsel for any Representative Plaintiff, or any Class Member, in thc.Action or in any
 - - other complaint, action; or litigation in any other court or forum arising from, based
    on or related to the initiation, prosecution, or resolution of the Action to the extent
    any such claims are based upon, arise out of or relate to, in whole or in part, any of the
    allegations, acts, omissions, transactions, events, conduct, or matters arising from or
    related to any Repair Expense. The Parties recognize and agree that this is a general•
    release, and shall have expressly waived and- relinquished, to the fullest extent
    permitted by law, the provisions, rights, and benefits of California Civil Code section
     1542 and the provisions, rights, -and benefits conferred by any law of the United
     States, any law of any State or the District of Columbia, or any principle of common
    law that is similar, comparable, or equivalent to California Civil Code section 1542,
     which states, "A general release does not extend to claims which the creditor does not
     know or suspect to exist in his or her favor at the time of executing the release, which
     if known by hire or her must have materially affected his or her .settlement with the


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  debtor.".
             8. Under the circumstances, the notice of this Settlement provided to the Class
  Members in accordance with the Notice Order was the best notice practicable of the
   proceedings and matters set forth therein, including the proposed Settlement, to all
  persons entitled to such notice, and said notice fully satisfied the requirements of due
   process and Missouri law.
             9. Neither the Fee Application nor any order entered by this Court thereon
   shall in any way disturb or affect this Judgment, and all such matters shall be
   considered separate from this Judgment. The Court will not award more than (i)
   $60,000 in incentive payments to Representative Plaintiffs; (ii) $7.25 million in
   attorneys' fees; and (iii) $1.25 million in documented costs.
             10. Within forty-five (45) days after entry of this Judgment, Co-Lead Counsel
   shall, with the agreement of GM, file a -listing of each person who submitted -a valid
    and- timely request for exclusion from the Class. The persons so identified shall
    neither , share in the benefits of the Settlement nor be .bound by-this Judgment. All
    persons who -meet the Class definition and have not submitted . such an exclusion
    request shall be bound by this Judgment.
              I L Neither the Agreement nor the Settlement nor any act performed or
    document executed pursuant'to. or in furtherance of the Agreement or the Settlement
    (a) is or may be deemed to be or may be used as an admission of, or evidence of; the
    validity of any claim asserted against GM in the Action, or. of any wrongdoing or
    liability of GM, or of an admission by General Motors that the claims that were the
    subject of this action were appropriate for class certification for purposes of trial or
    for any other purpose other than for purposes of this Settlement Agreement; or (b) is
    or may be deemed to be or may be used as an admission of, or evidence of, any fault
    or omission of GM in any civil, criminal, or administrative proceeding in any court,
    administrative agency, or other tribunal. GM may file the Agreement, this Judgment,


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   or both in any other action that may be brought against it in order to support a defense
    or counterclaim based on principles of res judicata, collateral estoppel, release, good-
    faith settlement, judgment bar or reduction, or any. theory of claim preclusion or issue
    preclusion or similar defense or counterclaim. .
               12. Without affecting the, finality of this Judgment in any way, this Court
    hereby retains continuing jurisdiction over (a) implementation of the Settlement;
    (b) payment of Class Members' claims under the Settlement; (c) further proceedings,
    if necessary, on applications for attorneys' fees, expenses, or costs in connection with
    the Action or the Settlement; and (d) the Parties for purposes of construing, enforcing,
    or administering the Agreement. If any Party fails to fulfill its obligations completely,
    the Court retains the power to issue such orders to enforce this Judgment and the
     Settlement as it deems appropriate after noticed hearing.
               13.- If the Settlement does not become effective in accordance with the terms of
     the Agreement, then this Judgment shall be rendered null and void to the extent
     provided by and in accordance with the Agreement and shall be vacated and, in such
     event; all orders entered and releases delivered in connection herewith shall be null
     and void to the extent provided by and in accordance with the Agreement.
           IT IS SO ORDERED.
                         —5 2008
     DATED: SEP
                                              THE HONORABLE MICHAEL MANNERS
                                              JUDGE OF THE CIRCUIT COURT

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x

In re                                                                Chapter 11 Case No.

MOTORS LIQUIDATION COMPANY, et al.,                                  09-50026 (REG)
        f/k/a General Motors Corp., et al.

                                     Debtors.                        (Jointly Administered)

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    STIPULATION AND ORDER BETWEEN THE DEBTORS AND THE HOLDERS
   OF UNLIQUIDATED DEX-COOL AND ANDERSON CLAIMS TO ALLOW CLASS
    PROOFS OF CLAIM FOR DEX-COOL AND ANDERSON CLASS CLAIMANTS


                     Motors Liquidation Company (f/Ida General Motors Corporation) ("MLC") and

certain of its subsidiaries, as debtors and debtors in possession in the above-captioned chapter 11

cases (collectively, the "Debtors" or "MLC"), and the holders of Unliquidated Dex-Cool Claims

(as defined below), and the holders of Unliquidated Anderson. Claims (as defined below), by and

through their respective undersigned counsel, hereby enter into this Stipulation and Agreed

Order (this "Stipulation") and stipulate as follows:

                                                    RECITALS

     A.              On June 1, 2009 (the "Commencement Date "), the Debtors commenced with this

Court voluntary cases (the "Chapter 11 Cases") under chapter 11 of title 11 of the United States

Code (the `Bankruptcy Code"). The Debtors are authorized to continue to operate their

businesses and manage their properties as debtors in possession pursuant to sections 1.107(a) and

1108 of the Bankruptcy Code. No trustee or examiner has been appointed. On or about June 3,

2009, an Official Committee of Unsecured Creditors (the "Committee") was appointed in the

Chapter 11 Cases. The Chapter 11 Cases are being jointly administered pursuant to Rule



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1015(b) of the Bankruptcy Rules.

    B.           On September 16, 2009, the Court entered an order (the "Bar Date Order")

establishing November 30, 2009 at 5:00 p.m. (Eastern Time) (the "General Bar Date ") as the

deadline for each person or entity (including without limitation, each individual, partnership,

joint venture, corporation, estate, or trust) to file a proof of claim   (a "Proof of Claim ") against
any Debtor to assert any claim (as defined in section 101(5) of the Bankruptcy Code) (a

"Claim") that arose prior to the Commencement Date.

    C.           On April 29, 2003 certain consumers filed class actions against MLC in the 16th

Judicial Circuit Court (Jackson County) of the State of Missouri (the "Gutzler Class Action")

and in the Superior Court of the State of California for the County of Alameda (the "Sadowski

Class. Action" and together with the Gutzler Class Action, the "Dex-Cool Class Actions"). In

both the Gutzler Class Action and the Sadowski Class Action, the parties entered into a

settlement agreement approved by each court (collectively, the "Dex-Cool Settlement

Agreement"). Prior to the Commencement Date, the administration of the Dex-Cool Settlement

Agreement had been substantially completed. However, certain claims in connection with the

Dex-Cool Class Actions had not yet been liquidated pursuant to the terms of the Dex-Cool

Settlement Agreement (the "Unliquidated Dex-Cool Claims")

    D.           On May 18, .2004 certain consumers filed a class action against MLC in the

Superior Court of the State of California for the County of Los Angeles, Central Civil. West

Courthouse (the "Anderson Class Action"), In the Anderson Class Action, the parties entered

into a settlement agreement approved by the court (the "Anderson Settlement Agreement ").

Prior to the Commencement Date, the administration of the Anderson Settlement Agreement had

been initiated. However, certain claims in connection with the Anderson Class Action had not




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yet been liquidated pursuant to the terms of the Anderson Settlement Agreement (the

"Unliquidated Anderson CIaims").

                   NOW, THEREFORE, in consideration of the mutual covenants and agreements

set forth in this Stipulation, it is agreed as follows:

                                            AGREEMENT

         1.        On behalf of the holders of Unliquidated Dex-Cool Claims, undersigned class

counsel may file a Class Proof of Claim aggregating the holders' respective claims against

Debtors, and the Debtors agree that the undersigned class counsel has authority under Fed. R.

Banks. P. 3001 and the Bankruptcy Code to execute and file such claim on behalf of the holders

of the Unliquidated Dex-Cool Claims.

         2.        On behalf of the holders of Unliquidated Anderson Claims, undersigned class

counsel may file a Class Proof of Claim aggregating the holders' respective claims against

Debtors and the Debtors agrees that undersigned class counsel has authority under Fed. R.

Bankr. P. 3001 and the Bankruptcy Code to execute and file such, claim on behalf of the holders

of the Unliquidated Anderson Claims.

         3.        The undersigned class counsel, by filing the Class Proofs of Claim in respect of

the Unliquidated Dex-Cool Claims and the Unliquidated Anderson Claims, consents to and

hereby is deemed to be the claimant for the purpose of receiving notices and distributions, if

any, except as otherwise provided in a confirmation order related to a chapter 11 plan filed in

the Chapter 11 Cases, and may (but shall not be required to) respond to any objections

interposed 'as to any claims asserted in each applicable Class Proof of Claim. Notice to the

undersigned class counsel shall be, and shall be deemed to be, sufficient notice to all class

members in the Dex-Cool Class Action and the Anderson Class Action.




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         4.        The Debtors' agreement herein to permit the filing by the undersigned class

counsel of each Class Proof of Claim is intended solely for the purpose of administrative

convenience and neither this Stipulation and Order nor the filing of any Class Proof of Claim

shall in any way prejudice the right of any Debtor or any other party in interest to object to the

allowance of any Class Proof of Claim.

         5.         This Court shall retain jurisdiction to resolve any disputes or controversies

arising from or relating to this Stipulation and Order and to the filing of the Class Proofs of

Claim pursuant to this Stipulation.

          6.        This Stipulation is subject to the approval of this Court and shall become

effective upon the entry of an order by the Court approving this Stipulation. if this Stipulation

is not approved by the Court, then this Stipulation shall be deemed null and void, and shall not

be referred to or used for any purpose by any of the parties hereto (the "Parties ") in either the

Chapter 11 Cases or in any other forum.

          7.        This Stipulation sets forth the entire understanding of the Parties with respect to

the matters addressed herein and is intended to be the complete and exclusive statement of the

terms thereof. and may not be modified or amended except by a writing signed by the Parties

and/or their counsel, which shall be so-ordered by the Court. Accordingly, the Parties have

independently verified all facts and/or conditions of facts that they have determined are

necessary to their decision to enter into this Stipulation, and they have not relied upon any

representations, written or oral, express or implied, of any other person in verifying and

satisfying themselves as to such facts and/or condition of facts.

          8.        The Parties represent and warrant to each other that the signatories to this

Stipulation have full power and authority to enter into this Stipulation.



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         9.        This Stipulation may be executed in multiple counterparts, each of which shall

be deemed an original but all of which together shall constitute one and the same instrument.

Delivery of signed counterparts of this Stipulation by facsimile transmission or as PDF

attachment to an email message shall have the same effect as the manual delivery of an original

signed counterpart of this Stipulation, and all signatures on such counterpart will be deemed to

be as valid as an original signature whether or not a Party delivers manually an original signed

counterpart of this Stipulation, although it is the Parties' intention to deliver an original signed

counterpart after any facsimile or email delivery.



DATED: November , 2009                                 Respectfully submitted,




GIRARD GIBBS LLP                                     POLSINELLI SHUGHART P.C.



By: /sl A. J. de Bartolomeo                          By: P. John Brad
A. J. De Bartolomeo                                  P. John Brady

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San Francisco, California 94108                      Facsimile: (816) 374-0509
Telephone: (415) 981-4800
Facsimile: (415) 981-4846                            Court-Appointed Class Counsel in Dex-Cool

Court-Appointed Class Counsel in Dex-Cool
Class Action and Anderson




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WEIL, GOTSHAL & MANGES LLP




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Attorneys for the Debtors and Debtors in
Possession




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                                            ORDER APPROVING STIPULATION

                         Based on the foregoing stipulation of the parties, the Court finding that good

cause exists to approve the Stipulation as an order of the Court, that adequate notice of the

Stipulation has been provided, and that no further notice is required,

                         IT IS HEREBY ORDERED that the foregoing stipulation is approved and

incorporated by reference and made a part of this Order.

                         IT IS FURTHER ORDERED that this Court will retain jurisdiction to

adjudicate any disputes arising in connection with this Order.



Date: December 1, 2009
       New York, New York

                                                        s/Robert E. Gerber
                                                        UNITED STATES BANKRUPTCY JUDGE




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